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                 ORAL ARGUMENT NOT YET SCHEDULED
                                  No. 22-7063
                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT
            AMERICAN SOCIETY FOR TESTING AND MATERIALS, et al.,
                               Appellants
                                   v.
                       PUBLIC.RESOURCE.ORG, INC.,
                                Appellee

                  Appeal from the United States District Court
                          for the District of Columbia
                 Hon. Tanya S. Chutkan, No. 1:13-cv-1215-TSC

                       APPELLANTS’ REPLY BRIEF

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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

         Pursuant to Circuit Rule 28(a)(1), Appellants certify as follows:

         A.    Parties and amici

         Appellants are American Society for Testing and Materials d/b/a ASTM

International (“ASTM”), National Fire Protection Association, Inc. (“NFPA”), and

American Society of Heating, Refrigerating, and Air Conditioning Engineers, Inc.

(“ASHRAE”), which were the Plaintiffs/Counter-Defendants in the district court.

Appellee is Public.Resource.Org, which was the Defendant/Counter-Plaintiff in the

district court.

         The following individuals/entities submitted amicus briefs to the district

court:

    Ann Bartow

    American Insurance Association

    American Library Association

    American National Standards Institute, Incorporated

    American Property Casualty Insurance Association

    American Society of Safety Engineers

    Brian L. Frye

    David Ardia

    Elizabeth Townsend Gard


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    Institute of Electrical and Electronic Engineers, Incorporated

    International Association of Plumbing & Mechanical Officials

    International Code Council, Inc.

    James Gibson

    Jessica Silbey

    Jennifer Urban

    Jonathan Zittrain

    Knowledge Ecology International

    National Electrical Manufacturers Association

    North American Energy Standards Board

    Pamela Samuelson

    Public Knowledge

    Rebecca Tushnet

    Reporters Committee for Freedom of the Press

    Sina Bahram

    Stacey Dogan

    Stacey M. Lantagne

    Underwriters Laboratories Inc.

   The following individuals/entities submitted amicus briefs to this Court:

    Aaron Perzanowski

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    American Dental Association

    American Federation of State, County and Municipal Employees

    American Hospital Association

    American Medical Association

    American National Standards Institute, Inc.

    American Society of Civil Engineers

    The American Society of Magazine Editors

    Atlantic Monthly Group LLC

    Authors Alliance

    Christine Farley

    The Copyright Alliance

    County of Sonoma

    EveryLibrary Institute

    Freedom of the Press Foundation

    Institute of Electrical and Electronics Engineers, Inc.

    International Code Council

    Investigative Reporting Workshop

    James Gibson

    Jamie Boyle


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    Jessica Silbey

    Joshua Sarnoff

    Julie Cohen

    Lawrence Lessig

    Library Futures Institute

    Mark Lemley

    Matthew Sag

    Media Institute

    Michael A. Carrier

    Michael Carroll

    National Association for the Advancement of Colored People

    National Electrical Manufacturers Association

    National Press Photographers Association

    The News Leaders Association

    North American Energy Standards Board

    Pamela Samuelson

    Peter Jaszi

    Prime Access Consulting, Inc.

    Pro Publica, Inc.

    Public Knowledge

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    Radio Television Digital News Association

    Raymond A. Mosley

    Reporters Committee for Freedom of the Press

    Robert C. Tapella

    Society of Environmental Journalists

    Shubha Ghosh

    Tully Center for Free Speech

    ULSE Incorporated

    Victoria Phillips

    Xiyin Tang

    Yvette Joy Liebesman

    Zoe Lofgren

      B.    Rulings under review

      References to the rulings under review appear in Appellants’ Brief.

      C.    Related cases

      A statement of related cases appears in Appellants’ Brief.




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                       GLOSSARY OF ABBREVIATIONS

 ASHRAE             American Society of Heating, Refrigerating, and Air
                    Conditioning Engineers

 ASTM               American Society for Testing and Materials

 IBR                Incorporation by Reference

 NFPA               National Fire Protection Association

 OFR                Office of Federal Register

 SMF                Plaintiffs’ Statement of Material Facts in Support of Their
                    Motion for Summary Judgment

 Supp. SMF          Plaintiffs’ Supplemental Statement of Material Facts in Support
                    of Their Motion for Summary Judgment and in Opposition to
                    Defendant’s Motion for Summary Judgment

 2d. Supp. SMF      Plaintiffs’ Second Supplemental Statement of Material Facts in
                    Support of Their Second Motion for Summary Judgment




 * Authorities upon which Plaintiffs principally rely are marked with asterisks.
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                        STATUTES AND REGULATIONS

       Except for the following, all applicable statutes, rules, regulations, etc. are

 contained in Appellants’ Brief or Appellee’s Brief.

     Office of Management and Budget Circular A-119 (2016)

     Incorporation by Reference, 79 Fed. Reg. 66,267 (Nov. 7, 2014)

     H.R. Rep. 94-1476 (1976)

     H.R. Rep. 113-152 (2013)

       Excerpts of or a complete version of the above-listed sources are set forth in

 the Addendum to this brief.




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                            SUMMARY OF ARGUMENT

         Public.Resource.Org cannot square the district court’s decision with this

 Court’s fair use guidance in American Society for Testing & Materials v.

 Public.Resource.Org, Inc., 896 F.3d 437 (D.C. Cir. 2018) (“ASTM II”).

 Public.Resource.Org ignores this Court’s direction in favor of cherry-picked

 quotations from an Office of the Federal Register (“OFR”) Handbook and an OFR

 official’s   three-line   email   response       to   Public.Resource.Org.      Although

 Public.Resource.Org has the burden, Plaintiffs’ undisputed expert economic

 evidence establishes the consequences to Plaintiffs’ markets if its conduct were to

 become widespread. Public.Resource.Org’s mass copying and distribution is not

 fair.

         Public.Resource.Org alternatively makes a sweeping and meritless argument

 that incorporation by reference (“IBR”) strips the Works of copyright. Copyright

 protection is instant and automatic for privately-authored works, like Plaintiffs’. No

 government official writes any Works verbatim into statute or regulation through

 IBR, and Plaintiffs’ copyrights are not divested by subsequent IBR. To argue

 otherwise, Public.Resource.Org must contort the Supreme Court’s “straightforward

 rule” for whether a work is a government edict which turns “on the identity of the

 author.” Georgia v. Public.Resource.Org, Inc., 140 S. Ct. 1498, 1506 (2020). Nor

 does the Constitution require vitiating Plaintiffs’ copyrights. All the Works are



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 “reasonably available,” 5 U.S.C. § 552(a): Plaintiffs post them online for anyone to

 read for free.   This Court, like all other appellate courts to consider similar

 arguments, previously declined the extreme result Public.Resource.Org advocates.

 It should do so again—such a result lacks legal basis, and would thwart Congress’

 will and undermine the self-funded process necessary to create independent

 voluntary-consensus standards.

       Finally, Public.Resource.Org’s unlawful copying and distribution of non-

 IBR’d Works warrants a permanent injunction.

       The judgment should be vacated and remanded for the proper application of

 ASTM II, and the denial of injunctive relief reversed.

                                    ARGUMENT

 I.    Public.Resource.Org’s Request For A Broad Constitutional Ruling Is
       Legally and Factually Unsupported.

       Swinging for the fences, Public.Resource.Org and its chorus of amici argue

 that the Constitution commands that Plaintiffs’ copyrights be vitiated so “the law”

 may be set free. The various incantations of this argument ignore that Plaintiffs’

 Works are already available on their websites without charge; no one has been

 deprived of the ability to read, comment on, or criticize them. Congress and the

 Executive Branch have balanced the need to incentivize the creation of standards

 with the public’s right to know what they say. There is no cause to upset that balance

 when there is no evidence anyone has been unable to access Plaintiffs’ Works.


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           A.   No one has been unable to access the Works.

       Public.Resource.Org and its amici say that allowing the copyrights to stand

 imperils the public’s right to “[a]ccess, [a]nalyze, and [c]riticize the law,” Appellee’s

 Br. 24; forces citizens and government enforcers “to pay [Plaintiffs] to find out what

 [the law] says,” Sonoma County Br. 6; and makes “access to the law” turn on one’s

 “resources,” AFSCME Br. 10.

       This dramatic rhetoric has no support. No one has to pay a penny to read the

 Works.     JA ___ (2d. Supp. SMF ¶85).          After a decade of litigation, neither

 Public.Resource.Org nor its amici cited a single instance in which anyone who

 wanted to access, discuss, or comment on any Work was unable to do so for free.

 JA ___, ___ (SMF ¶¶168, 275).

       Public.Resource.Org’s extra-record anecdotes provide no support. Bellwether

 Properties, LLC v. Duke Energy Indiana, Inc., 87 N.E.3d 462, 468 (Ind. 2017),

 Appellee’s Br. 8-9, 16, 54, involved a non-Plaintiff organization’s standard. Getty

 Petroleum Marketing, Inc. v. Capital Terminal Co., 391 F.3d 312, 320 (1st Cir.

 2004), Appellee’s Br. 9, 38, involved a standard also not in issue.1



       1
           Plaintiffs did not move for summary judgment on ASHRAE’s “1993
 Handbook,” Appellee’s Br. 41, and that work is not before this Court. The graduate
 student who contacted ASTM, id. 41-42, did not claim to be unable to access any
 ASTM standard and was seeking permission to post online two standards, not Works
 in suit, for non-educational purposes, JA ___ (Dkt. 212-1 ¶106); JA ___ (Dkt. 122-
 7, Ex. 117).


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       Public.Resource.Org also mischaracterizes Public.Resource.Org Inc. v. Cal.

 Office of Administrative Law, No. 24-2021-80003612 (Cal. Super. Ct. filed Mar. 17,

 2021), Appellee’s Br. 22. Public.Resource.Org challenged the denial of its request

 for an electronic copy of an NFPA Work under the California Public Records Act.

 That denial was no different from the numerous federal denials of

 Public.Resource.Org’s similar requests. JA ___ (SMF ¶¶176-77). Again, no one

 has been unable to access the IBR’d standard. JA ___ (Dkt. 204-42, Marvelli Dep.

 179:10-14).

       Public.Resource.Org says the access Plaintiffs provide is not free because

 online users must register or agree to terms of service. Appellee’s Br. 10. Such

 terms are ubiquitous and do not show lack of access. The Internet Archive, where

 Public.Resource.Org posts Plaintiffs’ Works, has terms of service. See Internet

 Archive’s Terms of Use, Privacy Policy, and Copyright Policy, https://archive.org/

 about/terms.php (Dec. 31, 2014). PACER requires registration and consent to

 monitoring. See Registration, https://pacer.psc.uscourts.gov/pscof/registration.jsf

 (accessed Jan. 13, 2023); Manage My Account, https://pacer.psc.uscourts.gov/pscof/

 login.xhtml (accessed Jan. 13, 2023).

       Public.Resource.Org, moreover, lacks standing to bring a due process claim.

 It does not claim to be subject to enforcement arising out of any IBR’d Work and

 cannot satisfy the exacting requirements for third-party standing. See Sessions v.



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 Morales-Santana, 137 S. Ct. 1678, 1689 (2017).                Public.Resource.Org’s

 constitutional arguments fail in this case, with these parties, and these Works.

         B.    Eliminating Plaintiffs’ copyrights in IBR’d Works would exact
               significant and needless costs from Plaintiffs and the public.

       Contrary to Public.Resource.Org’s misleading characterization that Plaintiffs

 merely “convene volunteers,” Appellee’s Br. 3, 45, Plaintiffs develop their Works

 through a robust voluntary consensus process that requires millions of dollars of

 annual investment from each organization, JA ___, ___-___, ___, ___, ___-___, ___

 (SMF ¶¶6-8, 28-37, 43-44, 104-05, 109-19, 135-41, 152). Plaintiffs depend on sales

 of their Works to self-fund standards development. JA ___, ___-___, ___-___ (SMF

 ¶¶45-46, 106, 153-54). Without copyright protection, Plaintiffs would lose a crucial

 funding stream necessary to support their work, JA ___-___, ___-___, ___-___, ___-

 ___ (Jarosz Report ¶¶80-83, 90-91, 97-98, 131-38); JA ___-___ (2d. Supp. SMF

 ¶¶77-84), and the public would lose the benefits of an important private-public

 partnership that enhances safety without burdening taxpayers, JA ___-___ (SMF

 ¶¶265-71; JA ___-___ (Dkt. 118-9 ¶¶11-14); JA ___-___ (Dkt. 118-6 ¶¶22-24).

 While purporting to express gratitude for the work Plaintiffs do, JA ___-___ (Dkt.

 118-12, Ex. 2 (C. Malamud Dep. 306:03-308:04)); Sonoma County Br. 11,

 Public.Resource.Org and its amici offer no viable solution for how Plaintiffs can

 continue that work without the protection of their copyrights.




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       ASTM II recognized the importance of Plaintiffs’ Works and declined to

 consider Public.Resource.Org’s “bright-line rule” eliminating copyright because of,

 inter alia, “the economic consequences that might result from [Plaintiffs] losing

 copyright.” 896 F.3d at 446-47. The same reasoning applies now. Every other

 appellate court has declined to accept the sort of all-or-nothing framework

 Public.Resource.Org presses.

       The Second and Ninth Circuits reaffirmed copyright protection for IBR’d

 standards, rejecting the plea to “vitiate copyright,” noting that it could “prove

 destructive of the copyright interest in encouraging creativity,” by depriving private

 entities of an “economic incentive[]” to develop their work. CCC Info. Servs., Inc.

 v. Maclean Hunter Mkt. Reports, Inc., 44 F.3d 61, 65, 73-74 n.30 (2d Cir. 1994)

 (quoting Nimmer on Copyright § 5.06[C] at 5-60); Practice Mgmt. Info. Corp. v.

 American Med. Ass’n, 121 F.3d 516, 518 (9th Cir. 1997).

       Public.Resource.Org’s attempted distinction of CCC and Practice

 Management, as involving mere “citations to reference works,” Appellee’s Br. 23,

 is wrong.   In Practice Management, a party that wanted to obtain Medicaid

 reimbursement had to utilize codes the medical association created. 121 F.3d at 518.

 Under this Court’s articulation, the association’s work was “legally binding.” ASTM

 II, 896 F.3d at 443. In CCC, the publisher’s car-valuation book had been adopted as

 one means of complying with a binding legal requirement, 44 F.3d at 73, and thus



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 told “the regulated entity how it” could satisfy “codified requirements,” ASTM II,

 896 F.3d at 443.

       Veeck v. Southern Building Code Congress International, Inc., 293 F.3d 791

 (5th Cir. 2002), and Building Officials & Code Administrators v. Code Technology,

 Inc., 628 F.2d 730 (1st Cir. 1980) (“BOCA”), likewise refrained from adopting the

 uncompromising position Public.Resource.Org advances. Veeck, responding to an

 amicus brief filed by NFPA and others, said its holding did not apply to “references

 to extrinsic standards,” and so would not result in organizations’ copyrights “be[ing]

 vitiated simply by the common practice of governmental entities’ incorporating their

 standards in laws and regulations.” 293 F.3d at 803-04.2 BOCA declined to “rule

 finally on the question,” recognizing the potential need “to accommodate modern

 realities” and the “important public function” served by standards development

 organizations. 628 F.2d at 735-36. This reasoning is even more true today given

 Public.Resource.Org’s ambition of copying and distributing all of Plaintiffs’ IBR’d



       2
          The Solicitor General’s brief that Public.Resource.Org cites is not a
 precedential court decision. That brief limited its discussion to the particular
 circumstances of Veeck and said mere IBR of a work might not allow the public to
 “copy it freely.” U.S. Br. 15, 18-19, Veeck, No. 02-355 (U.S. May 2003). This is
 consistent with the Solicitor General’s position in Practice Management that
 “[n]othing in the Copyright Act . . . would permit a termination of copyright
 protection in these circumstances.” U.S. Br. 7, Practice Mgmt., No. 97-1254 (U.S.
 Aug. 1998). Regardless, interpreting Veeck to strip copyright from privately-
 authored works that later become “the law” is inconsistent with the Supreme Court’s
 holding in Georgia. See infra, II.


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 Works, Appellee’s Br. 58; the emergence of for-profit companies copying

 Public.Resource.Org, Nat’l Fire Protection Ass’n, Inc. v. UpCodes, Inc., Case No.

 21-5262 (C.D. Cal., filed June 29, 2021); and the political branches’ reaffirmation

 of the importance of respecting copyright in IBR’d standards, see Appellants’ Br. 6-

 8; infra, I.C., II.

          C.      Congress balanced the public’s entirely compatible interests in
                  access to IBR’d standards and allowing copyright to support the
                  independent creation of those standards.

        Congress addressed Public.Resource.Org’s concerns through 5 U.S.C.

 § 552(a), which requires that any standard to be IBR’d be “reasonably available to

 the class of persons affected thereby.” Under this provision, agencies “work with

 the relevant standards developer to promote the availability of [their] materials,”

 while “respecting the copyright owner’s interest in protecting its intellectual

 property.”     Office of Management and Budget Circular A-119, at 21 (2016)

 (emphasis added).

        Public.Resource.Org and amicus Congresswoman Lofgren have urged

 Congress and the Executive Branch to reconsider that balance, but were rejected. In

 2012, Public.Resource.Org’s founder (and others) petitioned OFR to vitiate

 copyright and make material IBR’d available for free online; that proposal was

 rejected. 79 Fed. Reg. 66,267, 66,268 (Nov. 7, 2014). In 2018, Congresswoman

 Lofgren co-sponsored a bill to end copyright protection for IBR’d standards. H.R.



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 5305, 115th Cong. (2018). That bill did not become law. Public.Resource.Org and

 amici may ask Congress to rethink its judgment but provide no cause for this Court

 to upset it. Georgia, 140 S. Ct. at 1511 (“[I]t is generally for Congress, not the

 courts, to decide how best to pursue the Copyright Clause’s objectives.”) (quoting

 Eldred v. Ashcroft, 537 U.S. 186, 212 (2003)).

       Congress also “balance[d] … the First Amendment and the Copyright Act”

 through the fair use defense. Harper & Row Publishers, Inc. v. Nation Enterprises,

 471 U.S. 539, 556 (1985); see also Golan v. Holder, 565 U.S. 302, 328 (2012) (fair

 use is a “built-in First Amendment accommodation”).3 ASTM II provides that fair

 use may permit limited copying of IBR’d material essential to complying with a

 legal duty, but otherwise protects Plaintiffs’ copyrights. See infra, III. While




       3
          First Amendment protections are also built into the Copyright Act’s
 distinction between copyrightable expression and uncopyrightable ideas. Golan,
 565 U.S. at 328. Public.Resource.Org argues that Plaintiffs’ Works are
 uncopyrightable. Appellee’s Br. 27-28, 44-45. Copyrightability is gauged at the
 time of creation. Oracle Am., Inc. v. Google Inc., 750 F.3d 1339, 1361 (Fed. Cir.
 2014); U.S. Br. at 14-15, Google LLC v. Oracle Am., Inc., No. 18-956 (Sept. 2019).
 At the time Plaintiffs created the Works, they were copyrightable: they had not been
 IBR’d and were original expressions of ideas that can be expressed in multiple ways
 (as evidenced by the fact that standards development organizations write standards
 on similar subjects in different ways). JA ___ (SMF ¶38).
       Separately, by failing to cross-appeal on its copyrightability or constitutional
 arguments, Public.Resource.Org has waived these arguments to the extent they
 would expand the judgment below. See Jennings v. Stephens, 574 U.S. 271, 276
 (2015).


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 Plaintiffs disagree that Public.Resource.Org satisfied its burden of proving fair use,

 the defense exists and fully addresses the claimed First Amendment concerns.

 II.   The Government Edicts Doctrine Is Inapplicable To Plaintiffs’ Works.

       Public.Resource.Org wrongly argues the Georgia decision “[n]aturally

 [e]xtends” to Plaintiffs’ Works. Appellee’s Br. 19. The district court properly

 rejected this argument. JA ___-___ (Memorandum Opinion 19-20).

       Georgia held the government edicts doctrine imposes a “straightforward

 rule,” which turns “on the identity of the author.” 140 S. Ct. at 1506. If the author

 is an “official[] empowered to speak with the force of law,” they are not a copyright

 “author” if they “create[d the work] in the course of their official duties.” Id. at

 1504. But the doctrine “does not apply” to works authored by “private parties[] who

 lack the authority to make or interpret the law.” Id. at 1507 (emphasis added). Thus:

          Instead of examining whether given material carries “the force of
          law,” we ask only whether the author of the work is a judge or a
          legislator. If so, then whatever work that judge or legislator
          produces in the course of his judicial or legislative duties is not
          copyrightable. That is the framework our precedents long ago
          established, and we adhere to those precedents today.

 Id. at 1513. Following the Supreme Court’s “straightforward rule,” the government

 edicts doctrine does not apply to Plaintiffs’ privately authored Works. Id. at 1506.

       Public.Resource.Org’s argument that government officials authored the

 Works because some government employees participate on Plaintiffs’ technical

 committees, Appellee’s Br. 20, mischaracterizes the process as government-driven


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 (it is not) and re-litigate the authorship question this Court rejected. ASTM II, 896

 F.3d at 446 (claim of government authorship “forfeited” and “meritless”). That

 ruling is law of the case as to the ten Works previously at issue. See LaShawn A. v.

 Barry, 87 F. 3d 1389, 1393 (D.C. Cir. 1996). As to the remaining Works, the district

 court correctly found that Public.Resource.Org “proffered no evidence” of

 government authorship. JA ___ (Memorandum Opinion 19). Public.Resource.Org,

 Appellee’s Br. 20, does not identify a single word of any Work that a government

 official supposedly wrote.

       Public.Resource.Org’s argument for an extension of Georgia would stretch

 the government edicts doctrine beyond recognition. Public.Resource.Org argues

 that IBR should be treated as if the agency “pasted [the standard] word-for-word into

 a regulation,” i.e., the same as a legislature writing into the statute books words

 drafted by lobbyists. Id. 20-22. That is not IBR. The specific text of the regulation

 or statute authored by the government that effectuates the IBR is a government edict,

 not the Works themselves. The Works are referenced and never written word-for-

 word into any regulation, statute, or other “law.”

       Beyond that fundamental and dispositive distinction, Public.Resource.Org’s

 contentions are wrong for multiple additional reasons.

       First, IBR’ing a preexisting standard is fundamentally different from the

 legislature enacting language that a lobbyist created for the sole purpose of inclusion



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 in a statute. Plaintiffs generally do not “lobby” for their standards to be IBR’d. JA

 ___ (SMF ¶56). Unlike lobbyists, standards development organizations do not

 develop standards solely for the purpose of government incorporation; standards

 have a range of uses, including by industry, insurance companies, and others. JA

 ___, ___, ___ (SMF ¶¶54, 90, 134); JA ___ (Dkt. 118-11, ¶16); JA ___(Dkt. 118-4

 ¶20); JA ___ (Dkt. 118-8 ¶10); JA ___-___ (Dkt. 118-10 ¶3); JA ___ (Memorandum

 Opinion 1). Unlike lobbyists, Plaintiffs make their standards available for IBR

 subject to copyright protection.4 See, e.g., JA ___ (Dkt. 199-27, Ex. P at NFPA-

 PR0098063) (explaining, as for all NFPA Works, that “[b]y making these documents

 available for use and adoption by public authorities . . . NFPA does not waive any

 rights in copyright”); JA ___ (2d. Supp. SMF ¶8) (standards bear copyright notice

 in favor of Plaintiff); JA ___ (Dkt. 122-8, Ex. 139) (same). And again—unlike

 lobbyist-drafted legislation—the text of the standards is not copied word-for-word

 into the statute books or regulations.5



       4
         Public.Resource.Org is wrong to dismiss the constitutional issues under the
 Takings Clause if IBR were deemed to eviscerate copyright protection. Appellees’
 Br. 29. The current public-private partnership in IBR turns on copyright being
 protected and a contrary ruling would raise precisely those concerns. CCC, 44
 F.3d at 74.
       5
        Public.Resource.Org tries to confuse the issue by speculating that someone
 who drafted a bill for a legislator could try to enforce copyright in an enacted statute.
 Appellee’s Br. 20-21. There is no evidence anyone has ever made such a claim. If
 someone did, a court could address that without undermining IBR. See Seshadri v.
 Kasraian, 130 F.3d 798, 805 (7th Cir. 1997) (“Authorizing another to publish under

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       Second, Public.Resource.Org’s equating IBR with lobbyist-drafted bills

 ignores Congress’ and the Executive Branch’s decades-long treatment of IBR.

 When Congress enacted the Copyright Act of 1976, IBR was an established practice

 of federal agencies. See Act of June 5, 1967, Pub. L. No. 90-23, § 552, 81 Stat. 54,

 54 (specifically authorizing agencies to IBR). Neither Public.Resource.Org, nor

 others advancing similar arguments, can identify any “provision of the Copyright

 Act that would terminate existing copyright protection in a work merely because the

 work was subsequently incorporated by reference.” See CPSC Br., Milice v.

 Consumer Product Safety Commission, 2 F.4th 994 (D.C. Cir. 2020) (No. 21-1071),

 2020 WL 8641276, at *29. The House Report underlying the Copyright Act shows

 that Congress did not intend IBR to divest copyright. See H.R. Rep. 94-1476, at 60

 (1976) (“[P]ublication or other use by the Government of a private work would not

 affect its copyright protection in any way”).

       Congress expressed a clear preference for federal agencies to use privately-

 developed standards, whenever possible, in the 1995 National Technology Transfer

 and Advancement Act. Appellants’ Br. 6. That Act was based on a congressionally-

 authorized study recognizing that organizations “offset expenses and generate

 income through sales of standards documents, to which they hold the copyright.”



 his sole name would amount to a public disclaimer of authorship”); 3 Nimmer on
 Copyright § 10.03[A][7] (implied license).


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 National Research Council, Standards, Conformity Assessment, and Trade: Into the

 21st Century 32 (1995) (emphasis added). It would have been illogical for Congress

 to direct agencies to IBR standards if doing so would destroy copyright and

 standards development organizations’ ability to fund the creation of standards in the

 first place. See also H.R. Rep. 113-152, at 3 (2013) (standards development

 organizations’ “business model[s] could be jeopardized” by allowing third parties to

 provide free internet access to standards).

       Likewise, numerous agencies have taken positions demonstrating IBR is

 intended to and does preserve copyright. See Appellants’ Br. 7-8; JA ___ (SMF

 ¶¶175, 177); JA ___-___ (Dkt. 118-12, Ex. 3 (C. Malamud Dep. 232:14-234:08));

 JA ___ (Dkt. 118-12, Ex. 10); supra, 8 (Office of Management and Budget Circular).

 Public.Resource.Org is wrong that “the bulk of the Code of Federal Regulations” is

 the reason agencies IBR.      Appellee’s Br. 5.     The Consumer Product Safety

 Commission “chose to utilize [IBR] procedures” given “ASTM’s copyright in its

 voluntary consensus standard,” while ensuring there were “means of reasonable

 access.” CPSC Br., 2020 WL 8641276, at *22-23. The practice of IBR is reserved

 for privately-authored works, and agency materials are “inappropriate for IBR.” 79

 Fed. Reg. at 66,268.

       Third, Public.Resource.Org would have judges engage in the vexing exercise

 of “attempting to catalog the materials that constitute ‘the law,’” beyond the more



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 straightforward determination of authorship. Georgia, 140 S. Ct. at 1507. Does the

 purely informational History and Development of the National Electrical Code,

 which appears in each edition of NFPA 70, become a non-copyrightable government

 edict because the standard has been IBR’d? JA ___ (Dkt. 199-27, Ex. P at NFPA-

 PR0098064); JA ___ (2d. Supp. SMF ¶63 (listing similar histories in each NFPA

 standard)); JA ___ (Dkt. 198-50 ¶28.b). What about the text of non-IBR’d standards

 or other works that are referenced as requirements within an IBR’d standard, e.g.,

 Merriam-Webster’s Collegiate Dictionary, 11th edition? JA ___ (Dkt. 199-33, Ex.

 V at NFPA-PR0020217). What about law review articles that set forth the legal

 standard later adopted by a court? E.g., Campbell v. Acuff-Rose Music, Inc., 510

 U.S. 569, 579 (1994) (relying on Leval, Toward a Fair Use Standard, 103 Harv. L.

 Rev. 1105 (1990), for “transformative” test of fair use).                    Although

 Public.Resource.Org identifies no limiting principle to prevent its government-

 edicts theory from unsettling the copyright status of an untold number of privately-

 authored works, the Supreme Court’s authorship-based analysis properly answers

 each of these questions: no.

 III.   Public.Resource.Org Fails To Satisfy Its Burden To Show That Its
        Wholesale Appropriation Of Plaintiffs’ Works Is Fair Use.

        In ASTM II, this Court said that fair use had to be analyzed “standard by

 standard” and “use by use,” according to the guidance this Court set forth for

 applying each of the four fair use factors. 896 F.3d at 451. Ignoring this instruction,


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 Public.Resource.Org asserts that whenever a governmental entity IBR’s a standard,

 it is per se fair for any party in Public.Resource.Org’s position to copy and distribute

 that standard without restriction. Public.Resource.Org’s overbroad conception of

 fair use sidesteps the careful inquiry this Court mandated and well-established fair

 use principles.      The Court should reject Public.Resource.Org’s dramatic

 restructuring of fair use.

         A.     Factor 1: Public.Resource.Org fails to show that its use of
                Plaintiffs’ Works is transformative.

              1.     Public.Resource.Org copies portions that are not essential
                     to complying with legal duties.

       This Court said “distributing copies of the law” to facilitate public access

 could be a transformative use. But it made clear “the law” is not co-extensive with

 all parts of an IBR’d standard. ASTM II, 896 F.3d at 450. The Court differentiated

 between portions of Plaintiffs’ Works critical to complying with the law (suggesting

 transformativeness), and portions that are not (cutting against transformativeness).

       Plaintiffs’ opening brief reviewed substantial evidence showing that large

 portions of the copied Works are not “essential to understanding one’s legal

 obligations,” id. at 453. Appellants’ Br. 19-23. But Public.Resource.Org barely

 tries to defend the district court’s failure to analyze the standards as this Court

 directed. Public.Resource.Org claims the district court did not have to do this work,

 because federal agencies already did the work for it. Under this view, whenever a



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 federal agency IBR’s a standard without an express limitation, the agency has

 decided the entire standard is essential to complying with the law. See Appellee’s

 Br. 32-35. In Public.Resource.Org’s view, when the Department of Veterans Affairs

 referred to NFPA 101 without expressly limiting its IBR to the portions of that Work

 dealing with veterans cemeteries, everything—414 pages, cover-to-cover, JA ___-

 ___ (Dkt. 199-31, Ex. T at NFPA-PR0019355-NFPA-PR0019768)—in that Work

 as a matter of law became essential to comprehending the requirements for such

 cemeteries, including material designated for “informational purposes only,” and

 sections that relate to one- and two-family dwellings and day-care occupancies.6

        No authority supports Public.Resource.Org’s radical theory. The statute

 authorizing federal agencies to IBR does not say anything that supports

 Public.Resource.Org’s theory. 5 U.S.C. § 552(a). Nor do OFR’s regulations on

 IBR. Those regulations state agencies should identify standards “precise[ly] [and]

 complete[ly],” 1 C.F.R. 51.9(a), but they also say language is “precise and complete

 if it,” inter alia, “[s]tates the title, date, edition, author, publisher, and identification




        6
          Public.Resource.Org also refuses the logical consequence of its argument—
 that when an agency has specified particular sections of a standard or a specific
 edition of a standard only those sections impose a legal obligation. See, e.g.,
 Appellants’ Br. 28-29. Public.Resource.Org asks the Court to simply excuse as “best
 efforts” its copying and distributing in full Works where the incorporating regulation
 identifies particular sections or a different edition. Appellee’s Br. 39 (contending
 that “differences are largely immaterial”).


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 number of the publication,” and “[i]nforms the user that the incorporated publication

 is a requirement,” id. § 51.9(b)(2)-(3) (emphases added). The regulation does not

 state that the agency has to expressly specify by section number or heading the

 portion of the publication that is incorporated or essential to understanding any legal

 requirements.

       Public.Resource.Org relies instead on what it calls OFR’s “clear guidance”

 and “interpretation” of the regulations, to which this Court supposedly owes

 “substantial deference.” Appellee’s Br. 32-33 & n.8. But these sources consist only

 of a Document Drafting Handbook and IBR Handbook, and a hearsay email

 statement. Id. 6, 33. Public.Resource.Org fails to cite the controlling authority on

 deference to an agency’s interpretation of its regulations, Kisor v. Wilkie, 139 S. Ct.

 2400 (2019), much less show that such deference applies, which “it often doesn’t,”

 id. at 2418.

       First, the relevant regulation, 1 C.F.R. 51.9(b), is not “genuinely ambiguous.”

 Kisor, 139 S. Ct. at 2415. The regulation requires the agency to state identifying

 information for “the publication” as a whole and the fact “the publication”

 establishes a “requirement.” Nothing in the regulation is susceptible to the reading

 Public.Resource.Org tries to wring out of it.

       Second, the sources Public.Resource.Org cite do not meet the requirements

 for deference. Id. at 2416-18; National Lifeline Ass’n v. FCC, 983 F.3d 498, 507



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 (D.C. Cir. 2020). None of them purports to construe 1 C.F.R. 51.9(b), much less

 reflects any “fair and considered judgment” of how to construe that regulation.

 Kisor, 139 S. Ct. at 2417 (citation omitted). The cited sources are not “authoritative”

 or an “official position” on §51.9(b), Kisor, 139 S. Ct. at 2416 (citations omitted),

 because they do not show OFR taking a position on Public.Resource.Org’s proffered

 interpretation. The Handbooks are simply practical guidance manuals to agencies.

 The email is just an informal response to Public.Resource.Org’s founder.

       Agency and OFR practice undercuts Public.Resource.Org’s construction of

 §51.9(b). As Plaintiffs demonstrated, numerous IBR’d Works contain sections

 expressly stating that they are not legally-binding requirements. Appellants’ Br. 22;

 see also, e.g., JA ___ (2d. Supp. SMF ¶64); JA ___ (Dkt. 155-6, Ex. A at NFPA-

 PR0017561); JA ___-___ (2d. Supp. SMF ¶67); JA ___ (Dkt. 199-17, Ex. F at

 NFPA-PR0014507); JA ___ (2d. Supp. SMF ¶71); JA ___ (Dkt. 199-34, Ex. 1 at 6).

 Other Works are IBR’d by regulations whose plain language makes clear that the

 standards are incorporated as reference procedures. Appellants’ Br. 21. Still other

 Works have sections that are obviously not essential to understanding any legal

 duty—because, for example, those sections address a completely different topic than

 the regulation, or on their face provide optional or explanatory material. See id. 19-

 23; see also, e.g., JA ___ (Dkt. 213-1 ¶8); JA ___ (Dkt. 199-15); JA ___ (2d. Supp.

 SMF ¶75); JA ___ (Dkt. 199-34, Ex. 1 at 146-67). In these instances, the agency



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 did not limit its IBR to only mandatory provisions of the Work, yet it could not

 rationally have determined the entire standard was necessary to comply with legal

 duties. Despite the agencies not having followed Public.Resource.Org’s claimed

 interpretation of the regulation, OFR approved the IBR, thus demonstrating that

 OFR does not read the regulation Public.Resource.Org’s way. See 1 C.F.R. 51.3(b).

       Finally, if Public.Resource.Org’s citations require deference, then so too do

 the statements in the IBR Handbook that express OFR’s position that agencies must

 respect organizations’ copyrights. Office of the Federal Register, IBR Handbook at

 8-9 (July 2018) (recognizing the need to balance copyright interests and that one

 way of doing so is to “[m]ake the incorporated material publicly available in read-

 only form on the copyright owner’s website”). Indeed, OFR has consistently taken

 this position. See Letter from Raymond Mosley, Director of the Federal Register, to

 Carl Malamud, at 2 (Aug. 3, 2009), https://law.resource.org/pub/us/case/govdocs/

 gov.nara.fedreg_20090803_from.pdf       (explaining    that   “some      documents

 incorporated by reference do or may have copyright protection”); see generally

 Mosley and Tapella Br. (declining to endorse Public.Resource.Org’s interpretation

 of regulations).

       Public.Resource.Org’s backup argument fights this Court’s test. It argues that

 copying IBR’d content that is merely “help[ful]” to understanding legal duties is

 transformative. ASTM II, 896 F.3d at 450; Appellee’s Br. 31, 35-36, 39. This Court



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 said that “where knowing the content of an incorporated standard might help inform

 one’s understanding of the law but is not essential to complying with any legal duty,

 the nature of PRO’s use might be less transformative and its wholesale copying, in

 turn, less justified.” ASTM II, 896 F.3d at 450. A rule that draws the line at “helpful”

 has no limiting principle, encompassing Plaintiffs’ “explanatory material” that might

 be found in introductions, annexes, notes, trainings, and handbooks. NAACP Br.

 19-20.

       Public.Resource.Org misstates Plaintiffs’ argument as one that would require

 “a sentence-by-sentence analysis.” Appellee’s Br. 32. That is not Plaintiffs’

 argument. Appellants’ Br. 30-31. Following this Court’s direction, Plaintiffs

 proposed different ways of grouping the Works. Id. 31; see JA ___ -___ (Dkt. 199-

 1 at 17-24) (grouping (1) standards not IBR’d by Public.Resource.Org’s identified

 reference; (2) optional standards or reference procedures; (3) standards with no

 direct legal effect on private party conduct; (4) standards posted wholesale when

 only a portion was IBR’d; and (5) merely informational portions or background

 text). The district court ignored those groupings. Its analysis of the remanded

 questions the Court asked it to answer was perfunctory, incomplete, and in many

 cases demonstrably wrong. Appellants’ Br. 24-30.

       In sum, Public.Resource.Org fails to justify the district court’s factor one

 errors.



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              2.     Public.Resource.Org’s purpose overlaps with Plaintiffs’ and
                     is non-transformative.

       Public.Resource.Org has not “add[ed] something new, with a further purpose

 or different character,” beyond what Plaintiffs already do. Campbell, 510 U.S. at

 579. Public.Resource.Org argues that its mission of making “the law” publicly

 available is different from Plaintiffs’ public-service missions, such as promoting

 health and safety. But Plaintiffs share this purpose. They put the Works online so

 members of the public have access to them. JA ___ , ___, ___ (SMF ¶¶63-67, 100,

 161); JA ___ (Supp. SMF ¶¶23-24); JA ___ (2d. Supp. SMF ¶¶85-87).

       Public.Resource.Org and its amici also contend that its use is transformative

 because it makes the Works more “user-friendly” and “genuinely accessible,” and

 provides an “archive.”7 Appellee’s Br. 37-38, 40, 46; Sonoma County Br. 5;

 NAACP Br. 20. But this Court already rejected these and similar arguments. ASTM

 II, 896 F.3d at 450 (rejecting transformative claims based on “converting the works

 into a format more accessible for the visually impaired or . . . producing a centralized

 database of all incorporated standards”).


       7
          Public.Resource.Org speculates that its “archive” might be used by others
 for transformative uses, such as research or machine learning, Appellants’ Br. 37,
 41, but transformativeness is assessed on a “case by case” basis, Campbell, 510 U.S.
 at 581. Whether a hypothetical researcher’s copying, or amicus the National
 Association for the Advancement of Colored People’s copying, might be fair is
 legally irrelevant to Public.Resource.Org’s fair use defense. Congress has imposed
 substantial limitations on archiving that Public.Resource.Org’s model would
 undermine. See 17 U.S.C. § 108.


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       There is no record evidence that low-income communities or print-disabled

 users, represented by amici, are unable to access the Works through Plaintiffs’ sites.

 The evidence shows Plaintiffs regularly grant requests to use the Works for limited,

 non-commercial purposes without charge or at lower cost, and provide

 accommodations to users with disabilities. JA ___, ___ (Dkt. 118-7 ¶¶13, 65); JA

 ___ (Dkt. 118-3 ¶10); JA ___-___ (Dkt. 118-10 ¶¶18-20); JA ___ (Dkt. 118-12, Ex.

 8 (Comstock Dep. 106:19-22)); JA ___ (Dkt. 155-7, ¶17); JA ___ (Dkt. 155-6, ¶¶4-

 7); JA ___-___ (Dkt. 155-5 ¶¶4-6).

       “[A] simple assertion of a subjectively different purpose, by itself, does not

 necessarily create” transformative use; what matters “is how the work in question

 appears to the reasonable observer.” Brammer v. Violent Hues Prods., LLC, 922

 F.3d 255, 263 & n.3 (4th Cir. 2019) (citations and quotation marks omitted).

 Public.Resource.Org provides a substitute for Plaintiffs’ Works. Swatch Group

 Management Servs. Ltd. v. Bloomberg L.P., 756 F.3d 73 (2d Cir. 2014), is

 inapposite. The court described Bloomberg’s use as “arguably transformative”

 because it made a company’s earning call publicly available while the underlying

 company intended “to restrict the information” to “a relatively small group of




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 analysts.” Id. at 85. Here, Plaintiffs and Public.Resource.Org both do the same

 thing: they make the Works accessible for free online.8

           B.   Factors 2 and 3: Public.Resource.Org fails to show that the
                nature of Plaintiffs’ Works, and the amount and substantiality
                of its copying, favor fair use.

       Each of these factors “demands an individual appraisal of each standard and

 its incorporation” and “is ill-suited to wholesale resolution.” ASTM II, 896 F.3d at

 451-52. Plaintiffs showed that, despite a lengthy appendix, the district court did not

 give individual consideration to the vast majority of Works. Appellants’ Br. 34-37.




       8
         Although Public.Resource.Org is a non-profit, Plaintiffs maintain that its use
 is commercial because it fundraised by promising to copy and distribute Plaintiffs’
 Works. JA ___-___ (SMF ¶¶227-29); see also $10 million for Project 10^100
 winners, Google Blog (Sept. 24, 2010) https://googleblog.blogspot.com/2010/09/
 10-million-for-project-10100-winners.html.


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       Public.Resource.Org’s primary response is to repeat its argument that IBR’ing

 makes the entire standard “essential.”9 Appellee’s Br. 42-43, 46. As demonstrated,

 that argument fails. See supra, III.A.1.10

           C.    Factor 4: Public.Resource.Org failed to meet its burden to show
                 a lack of market harm.

                1.   The district court erred in shifting to Plaintiffs
                     Public.Resource.Org’s affirmative-defense burden.

       Public.Resource.Org fails to rebut Plaintiffs’ showing that Campbell and

 cases following it place the burden on Public.Resource.Org, the proponent of the

 affirmative defense of fair use. Appellants’ Br. 40-42.




       9
           Plaintiffs pointed out that the district court held that the regulation
 incorporating ASTM D2036 (1998) supported posting only certain test procedures—
 but that for other Works IBR’d by the same regulatory language (ASTM D1688
 (1995) and ASTM D512 1989 (1999)), Public.Resource.Org was not limited to
 copying test procedures, but could also copy background sections and appendices.
 Appellants’ Br. 37-38. Public.Resource.Org argues that the district court treated
 ASTM D2036 differently because “it found that only two of the four testing methods
 described in that standard had been incorporated,” while all the test procedures in
 the other standards were IBR’d. Appellee’s Br. 47. That distinction would explain
 why Public.Resource.Org could copy half the test procedures in ASTM D2036 and
 all the test procedures in the other standards. But it does not explain the district
 court’s holding that Public.Resource.Org could copy material other than test
 procedures for ASTM D1688 and ASTM D512.
       10
           Public.Resource.Org’s assertion that partially incorporated standards are
 “inherently bound together” with the “uncopyrightable idea” of the agencies’
 “decisions” to IBR, Appellee’s Br. 45 (citation omitted), is specious. The “fact” or
 “idea” of any agency IBR’ing all or part of a Work can be expressed in a sentence
 stating that fact; it does not justify copying it.


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       Princeton Univ. Press v. Mich. Doc. Servs., Inc., 99 F.3d 1381, 1385 (6th Cir.

 1996), Appellee’s Br. 49, does not change this. The court not only found the

 defendant’s use was commercial, but it explained that market harm was obvious

 because if others “were to start doing what the defendants have been doing here,”

 the plaintiffs’ “revenue stream would shrivel and the potential value of the

 copyrighted works” would drop. Princeton, 99 F.3d at 1387. The same is true here.

              2.        The uncontroverted evidence shows that
                        Public.Resource.Org’s copying causes market harm.

       The pivotal question is “whether Defendants’ use—taking into account the

 damage that might occur if ‘everybody did it’—would cause substantial economic

 harm.” Cambridge Univ. Press v. Patton, 769 F.3d 1232, 1276 (11th Cir. 2014)

 (emphasis added). The answer is clear: if everyone could copy and distribute any

 Work IBR’d anywhere, that would cause Plaintiffs substantial economic harm. “The

 threat of market substitution here is great and thus the fourth factor looms large in

 the overall fair use analysis.” Id. at 1275. Even if some copying of limited portions

 were permissible fair use, Public.Resource.Org’s wholesale copying and distribution

 cannot be justified.

       Public.Resource.Org argues there was no harm because witnesses said it was

 difficult to quantify precisely how many sales Plaintiffs had lost because of

 Public.Resource.Org’s conduct. Appellee’s Br. 49-50. This argument improperly

 conflates the fact of harm to potential markets (which is all that needs to exist) with


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 the precise quantification of harm. McGucken v. Pub Ocean Limited, 42 F.4th 1149,

 1163 (9th Cir. 2022) (“an infringing use would destroy a derivative market when the

 infringing work is of the same type as existing works by licensed users.”); see also

 Soc’y of Holy Transfiguration Monastery, Inc. v. Gregory, 689 F.3d 29, 64 (1st Cir.

 2012) (rejecting argument that plaintiff had “not shown specific lost sales or profits”

 because “inquiry cannot be reduced to strictly monetary terms”).            The cited

 testimony, Appellee’s Br. 49-50, actually explained that Public.Resource.Org’s

 copying and distribution “caused a drag on [ASTM’s] revenue,” even if the amount

 was not easily quantified, JA ___ (Dkt. 204-51, Grove Dep. 145:07-12). The

 evidence further showed that Public.Resource.Org took users who would otherwise

 have gone to Plaintiffs’ free-access sites and may have purchased Plaintiffs’ Works,

 JA ___-___, ___ (2d. Supp. SMF ¶¶97-99, 102); infra, 30; and that Plaintiffs’

 licenses would have less value if licensees could obtain the Works from

 Public.Resource.Org, JA ___, ___ (2d. Supp. SMF ¶¶82, 101); JA ___ (Dkt. 198-50

 ¶36).

         The record includes an unrebutted expert economist opining on the fact of

 economic harm and the consequences of Public.Resource.Org’s conduct if

 unaddressed. That evidence analyzed the specific numbers of views and downloads

 of the Works through Public.Resource.Org (as of 2014) and estimated that, in light

 of an NFPA study showing a ten percent decrease in downloads of NFPA 70 due to



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 numerous online postings of NFPA standards, NFPA was experiencing an equal or

 greater impact after Public.Resource.Org’s postings. JA ___-___ (Jarosz Report

 ¶133).     It also included the economic consequences if Public.Resource.Org’s

 conduct—which currently covers a small fraction of Plaintiffs’ standards—were not

 stopped: “virtually all of the [] revenues”—

                       —“could be lost.” JA ___-___, ___ (Jarosz Report ¶¶134-35,

 Tab 5). And it highlighted that many of Plaintiffs’ current most important standards,

 which are not at issue here, have been IBR’d, meaning that giving

 Public.Resource.Org free rein to continue would lead to a substantial impact on

 Plaintiffs’ standards. JA ___-___ (Jarosz Report ¶135)

          The record also contains abundant evidence that market harm will only grow

 if Public.Resource.Org and everyone else can wholesale copy and distribute the

 Works. Plaintiffs sell copies of their Works to the industries and professionals that

 use them in their jobs. JA ___-___ (2d. Supp. SMF ¶¶77-80); JA ___, ___ (Dkt.

 198-50, ¶¶34, 43); JA ___ (Dkt. 118-10, ¶¶17-18); JA ___ (Dkt. 198-49 ¶14).

 Public.Resource.Org’s copying naturally leads to at least some of those industry

 professionals using its unlicensed copies instead of purchasing Plaintiffs’ Works.

 JA ___ (2d. Supp. SMF ¶¶94-95); JA ___ (Dkt. 198-50 ¶35); JA ___ (Dkt. 199-34

 ¶5); JA ___ (Dkt. 198-49 ¶16); see also AFSCME Br. 7. An engineering firm

 reached out to Public.Resource.Org asking “How might we access the documents



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 you offer?” and another engineer asked, after this Court’s prior remand, “Does

 Friday’s decision mean you can update the site?” JA ___-___ (2d. Supp. SMF ¶93);

 JA ___, ___ (Dkt. 198-48, Ex. 173 at PRO_00267293, PRO_00267241).

         The fact of “everyone doing” what Public.Resource.Org has done is not

 theoretical. UpCodes obtained venture-capital funding for its for-profit business,

 which entices paying subscribers with unrestricted access to NFPA and ASHRAE

 Works. See UpCodes, Inc., No. 21-5262 (C.D. Cal.). Amicus American Federation

 of State, County, and Municipal Employees argues that union members and

 management should be able to obtain the Works for free instead of paying for them.

 AFSCME Br. 3-4.

               3.    Public.Resource.Org’s truncated responses to this Court’s
                     questions further confirm market harm.

         The Court asked the district court and parties to attend to three market-harm

 questions on remand. ASTM II, 896 F.3d at 453. Public.Resource.Org devotes 12

 lines to these questions. Appellee’s Br. 51. Public.Resource.Org tries to minimize

 these questions because the record does not support its fleeting attempt to answer

 them.

         First, Public.Resource.Org says Plaintiffs are like “[p]ublishers of public

 domain works,” id., but that is not true. A public-domain publisher pays distribution,

 not content-creation, costs. Plaintiffs, in contrast, incur millions of dollars annually

 to develop and update their Works. See supra 5.


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       Second, Plaintiffs’ read-only access—as compared to Public.Resource.Org’s

 unauthorized wholesale distribution—brings individuals and professionals to

 Plaintiffs’ websites, where they may buy a copy, subscribe, or purchase a training or

 other resource. JA ___-___, ___ (2d. Supp. SMF ¶¶88-90, 94); JA ___-___ (Dkt.

 198-50, ¶45); JA ___ (Dkt. 199-34 ¶4); JA ___ (Dkt. 198-49, ¶15).

 Public.Resource.Org siphons those potential customers away.

       Third, Public.Resource.Org says it “seeks” to post only “the law,” Appellee’s

 Br. 51, but as demonstrated in Section III.A, it posts more than that.

       Fourth, contrary to Public.Resource.Org’s unsubstantiated statement that

 “superseded” versions have “minimal” commercial value, Public.Resource.Org

 admits that they are often perfect substitutes for later editions. Appellee’s Br. 50;

 id. 39 (admitting “post[ing] . . . an identical reissue of the incorporated standard”);

 JA ___ (2d. Supp. SMF ¶96); JA ___ (Dkt. 198-49 ¶17).

              4.     At a minimum, there is a disputed fact issue on factor four.

       Plaintiffs should prevail as a matter of law on factor four, but if not, the

 question should be remanded.       Drawing all reasonable inferences in favor of

 Plaintiffs, there is at least a disputed fact question on market harm. JA ___-___ (Dkt.

 212-1 ¶¶133-65).

       Echoing the district court’s erroneous conclusion, Public.Resource.Org says

 Plaintiffs failed to show market harm for several years before that court’s order.



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 Appellee’s Br. 48. But this ignores that Public.Resource.Org, at the district court’s

 request, stopped posting Plaintiffs’ Works from November 2015 until at least July

 2018. JA ___ (SMF ¶¶185-86); JA ___ (2d. Supp. SMF ¶¶11-12). Courts exclude

 that time from the calculus. See Suntrust Bank v. Houghton Mifflin Co., 268 F.3d

 1257, 1275 n.32 (11th Cir. 2001) (relevant period for assessing harm was after the

 court “lifted the injunction”). From July 2018 through present, Public.Resource.Org

 almost entirely refrained from posting the most updated versions of IBR’d Works,

 further masking the effect of unrestrained infringement. Starting in January 2019,

 Public.Resource.Org posted a single more-current standard, the then-most-recent

 edition (2017) of NFPA’s National Electrical Code. JA ___ (2d. Supp. SMF ¶110);

 JA ___ (Dkt. 198-50, ¶30); JA ___ (Dkt. 198-48, Ex. 167 at 6). Discovery was open

 for only six months after that. See Order, Feb. 26, 2019 (reopening case) and Order

 May 22, 2019 (fact discovery closed Sept. 9, 2019).11

       This Court said Plaintiffs “are right to suggest that there may be some adverse

 impact on the market for the copyrighted works [Public.Resource.Org] reproduced




       11
            In that time period, NFPA 70 (2017) was accessed through
 Public.Resource.Org 5,320 times, JA ___ (Dkt. 198-48, Ex. 167 at 6), and NFPA’s
 overall sales, largely driven by sales from its flagship standard, NFPA 70, had also
 been decreasing, including through this time period. JA ___ (Dkt. 198-50, ¶38).
 The most recent access count for NFPA 70 through Public.Resource.Org has now
 increased seven times.         See Internet Archives, https://archive.org/details/
 gov.law.nfpa.nec.2017/gov.law.nfpa.nec.2017/ (accessed Jan. 13, 2023).


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 on its website,” and simply noted that “it remains unclear from this record just how

 serious that impact is.” ASTM II, 896 F.3d at 453. The district court previously

 recognized that “the only logical conclusion” is that “where consumers in the online

 marketplace are currently presented with the option to purchase a PDF or hard copy

 version of Plaintiffs’ standards directly from them, or may download a PDF of an

 identical standard for no cost,” “this choice negatively impacts the potential market

 for Plaintiffs’ standards.” JA ___ (Dkt. 175 at 39); McGucken, 42 F.4th at 1164

 (potential market harm when infringing work was a “ready market substitute”). At

 a minimum there is a genuine dispute of fact that if Public.Resource.Org’s conduct

 became unrestricted and widespread, it would adversely impact the market for the

 Works and the market for derivative works.

       In addition to the evidence cited above, judicially-noticeable evidence shows

 that, since the summary judgment record closed, NFPA’s revenue has gone down

 cycle-over-cycle following the lifting of the district court’s injunction. Between

 2016 (a year in which a new version of the National Electrical Code was released

 and no version of the Code was available through Public.Resource.Org) and 2019

 (the next year in which a new version of the Code was released but

 Public.Resource.Org had posted prior versions of the Code), NFPA’s publication




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 revenue was down $5.6 million.12 These figures were not available when the district

 court considered the evidence and show that NFPA’s revenue decreased after

 Public.Resource.Org resumed distribution of NFPA’s standards.

              5.    The claimed “public benefits” from Public.Resource.Org’s
                    unrestricted copying are illusory.

       Public.Resource.Org argues that Google LLC v. Oracle Am., Inc., 141 S. Ct.

 1183 (2021), requires the Court to factor into the fourth factor “the public benefits

 the copying will likely produce,” id. at 1206. Appellee’s Br. 48, 53-55. But Google

 said this was relevant because of the unique context—computer program application

 programming interfaces—where enforcement of the copyright risked public harm

 because programmers faced potentially prohibitive switching costs that could deter

 new creativity. 141 S. Ct. at 1206, 1208.

       No similar concerns exist here. Plaintiffs provide online access to the Works,

 JA ___ (2d. Supp. SMF ¶85), so anyone who wants to know what they say does not

 have to buy a copy. This case involves the “normal[] conflict” between “potential

 or presumed losses to the copyright owner” and “copyright’s basic objective:

 providing authors with exclusive rights that will spur creative expression.” Google,


       12
           NFPA’s tax filings are available at https://projects.propublica.org/
 nonprofits/organizations/41653090. Its expenses and revenues are typically in the
 tens of millions. Publication revenue was $48 million in 2016 and $42.4 million in
 2019, with increased expenses. Compare Form 990s, Part III.4a. This Court can
 take judicial notice of information in tax filings. See MidCap Media Finance, LLC
 v. Pathway Data, Inc., 929 F.3d 310, 315 (5th Cir. 2019).


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 141 S. Ct. at 1206; see also Dr. Seuss Enters., L.P. v. ComicMix LLC, 983 F.3d 443,

 461 (9th Cir. 2020) (same).

       Public.Resource.Org claims that even absent copyright protection, Plaintiffs

 would have incentives to develop standards. Appellee’s Br. 52-53. But Plaintiffs

 would not have the means that copyright provides to act on those incentives. JA

 ___, ___-___, ___-___, ___-___, ___-___ (Jarosz Report ¶¶80, 82-83, 90-91, 97-98,

 131-38); JA ___, ___-___, ___, ___-___(SMF ¶¶45-48, 51-52, 106-108, 152-156);

 JA ___-___ (2d. Supp. SMF ¶¶77-84)            If copying like Public.Resource.Org’s

 becomes pervasive, the public-private partnership in standards that has served the

 public well for decades may cease to exist.

 IV.   Public.Resource.Org’s Arguments Do Not Change The District Court’s
       Abuse Of Discretion In Refusing To Enjoin The Infringement It Found.

       The district court, after rejecting the fair use defense and finding

 Public.Resource.Org infringed 32 Works, JA ___ (Memorandum Opinion 36),

 found:

        Plaintiffs suffered at least a threshold amount of irreparable harm. JA___-

          ___ (Memorandum Opinion 45-47).

        Monetary relief is inadequate, as Public.Resource.Org does not have the

          financial means to satisfy any judgment. JA ___ (Memorandum Opinion

          46); JA ___-___, ___ (SMF ¶¶241-44, 272-73); JA ___, ___ (2d. Supp.

          SMF ¶¶92, 111).


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        The balance of hardships “weighs strongly in favor of an injunction,” and

          an injunction serves the “policy interests that underlie the Copyright Act”

          by preserving the necessary financial incentives to “ensure continued

          development of technical standards.” JA ___ (Memorandum Opinion 47).

 Given these findings, it was an abuse of discretion to allow Public.Resource.Org to

 continue its infringement unabated. Public.Resource.Org’s contrary arguments fail.

       First, Public.Resource.Org’s argument that Plaintiffs have not proven

 ownership of the 32 works, Appellee’s Br. 56, is specious, see supra, II.

       Second, Public.Resource.Org is wrong that Plaintiffs suffered no economic

 harm. Appellee’s Br. 56. Plaintiffs demonstrated several forms of harm; their

 showing was not “meager.” JA ___ (Memorandum Opinion 31); see Appellants’

 Br. 50-55; supra, III.C.2

       Third, Plaintiffs’ future harm is not speculative.        Following remand,

 Public.Resource.Org reposted the 32 Works, notwithstanding the lack of IBR.

 JA___ (Memorandum Opinion 36). Copies of these Works were viewed and

 downloaded over 42,000 times. See JA ___-___ (2d. Supp. SMF ¶98) (views and

 downloads of the 32 Works).

       Fourth, Public.Resource.Org’s track record makes the likelihood of future

 infringement manifest. Appellants’ Br. 54.




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       Fifth, Public.Resource.Org is wrong that “‘harm to the exclusivity of

 [Plaintiffs’] rights’ is irrelevant under eBay [Inc. v. Mercexchange, LLC].”

 Appellee’s Br. 57.     An invasion of exclusive rights alone may not create a

 presumption of irreparable harm, but it is not irrelevant. See, e.g., Metro. Reg’l Info.

 Sys., Inc. v. Am. Home Realty Network, Inc., 888 F. Supp. 2d 691, 712 (D. Md. 2012)

 (plaintiff “demonstrated that its loss of exclusive control over its copyrighted content

 is likely to lead to irreparable harm”), aff’d, 722 F.3d 591 (4th Cir. 2013). Injunctive

 relief is necessary here because everyone who has downloaded (or will download) a

 copy from Public.Resource.Org can become an entirely new engine of unrestricted

 distribution. See Metro-Goldwyn-Mayer Studios, Inc. v. Grokster, Ltd., 518 F. Supp.

 2d 1197, 1218 (C.D. Cal. 2007) (“virtually unstoppable” threat of future copyright

 infringement for downloaded works (citation omitted)).

       Sixth, Public.Resource.Org is wrong that “reputational injury” is categorically

 irrelevant to the copyright irreparable harm inquiry.             Appellee’s Br. 58.

 Public.Resource.Org misreads Garcia v. Google, Inc., 786 F.3d 733, 744 (9th Cir.

 2015) (en banc),13 which said that “harm must stem from copyright—namely, harm

 to [the] legal interests as an author.” Id. (citing Salinger v. Colting, 607 F.3d 68, 81



       13
           In Garcia, the Ninth Circuit did not “foreclose” any argument for
 reputational injury. 786 F.3d at 746. It found that the particular harm plaintiff
 sought to prevent, including death threats and reputational injury, were too
 attenuated.


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 & n.9 (2d Cir. 2010)). Public.Resource.Org caused reputational harm here by

 introducing errors that sometimes significantly alter the meaning of Plaintiffs’

 Works.    See, e.g., JA ___ (SMF ¶219).          The risk that, notwithstanding the

 disclaimers, a reader will misattribute these errors to Plaintiffs poses a significant

 reputational risk derived from Plaintiffs’ legal interests as the author of the original

 works. See Nintendo of Am. Inc. v. Lewis Galoob Toys Inc., No. 90-15936, 1991

 WL 5171 (9th Cir. Jan. 24, 1991) (recognizing irreparable harm based on

 impairment to plaintiff’s reputation); Metro. Reg’l, 888 F. Supp. 2d at 712 (finding

 irreparable harm where defendant’s inaccuracies were “likely to affect the credibility

 and integrity of the content published and disseminated by MRIS, and as a result,

 MRIS’s reputation”).

       The balance of hardships and public interest favor Plaintiffs.           JA ___

 (Memorandum Opinion 47). Public.Resource.Org essentially admits that it intends

 to post the entirety of any of the 32 Works if some portion of that work is ever IBR’d.

 Appellee’s Br. 58. As Public.Resource.Org concedes, if circumstances change that

 merit modification of an injunction, Public.Resource.Org can seek such

 modification, see id., and it has admitted it will face no financial harm in the

 meantime, JA ___, (SMF ¶277). See Stormans, Inc. v. Selecky, 586 F.3d 1109, 1139

 (9th Cir. 2009) (court must weigh “likely consequences of the injunction” which

 cannot be “insubstantial” and “must be supported by evidence”).



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                                     CONCLUSION

       The Court should vacate and remand the district court’s decision in part and

 reverse in part.




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 Dated January 13, 2023               Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

       This brief complies with the type-volume limitation of Rule 32(a)(7)(B). As

 measured by the word-processing system used to prepare this brief, there are 8,499

 words in the brief excluding the parts of the brief exempted by Fed. R. App. P. 32(f)

 and D.C. Cir. Rule 32(e)(1).

       This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5)

 and the type-style requirements of Fed. R. App. P. 32(a)(6) because it has been

 prepared in a proportionally spaced typeface in 14 point font.

 Dated: January 13, 2023                       /s/ J. Kevin Fee
                                               J. Kevin Fee




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                             CERTIFICATE OF SERVICE

          I certify that on January 13, 2023, a true and correct copy of this Appellants’

 Brief was filed via the Court’s electronic filing system, which will forward a copy

 to all counsel of record. I certify that all participants in this case are registered

 CM/ECF users.

 Dated: January 13, 2023                         /s/ J. Kevin Fee
                                                 J. Kevin Fee




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EXECUTIVE OFFICE OF THE PRESIDENT
Office of Management and Budget

OMB Circular A-119: Federal Participation in the Development and Use of Voluntary Consensus
Standards and in Conformity Assessment Activities

AGENCY: Office of Management and Budget, Executive Office of the President

ACTION: Final Revision of OMB Circular A-119

SUMMARY: The Office of Management and Budget (OMB) has revised Circular A-119, "Federal
Participation in the Development and Use of Voluntary Consensus Standards and in Conformity
Assessment Activities" (hereinafter, Circular A-119, or, the Circular) in light of developments in
regulation, standards, and conformity assessment since the Circular was last revised in 1998.

DATES: Effective upon publication

ADDRESSES: Direct any comments or inquiries to the Office of Information and Regulatory
Affairs, Office of Management and Budget at CircularA-119@omb.eop.gov.

SUPPLEMENTARY INFORMATION:
  I.   Existing OMB Circular A-119
  II.  Discussion and Responses to Significant Comments
  III. Section-by-Section Discussion

Existing OMB Circular A-119. The vibrancy and effectiveness of the U.S. standards system in
enabling innovation depends on continued private sector leadership and engagement. Our
approach—reliance on private sector leadership, supplemented by Federal government contributions
to discrete standardization processes as outlined in OMB Circular A-119—remains the primary
strategy for government engagement in standards development.

The policies of Circular A-119 are intended to encourage Federal agencies to benefit from the
expertise of the private sector, promote Federal agency participation in standards bodies to support
the creation of standards that are useable by Federal agencies, and minimize reliance on
government-unique standards where an existing standard would meet the Federal government’s
objective.

The National Technology Transfer and Advancement Act of 1995 (Public Law 104-113; hereinafter
known as “the NTTAA”) codified pre-existing policies on the development and use of voluntary
consensus standards in OMB Circular A-119, established additional reporting requirements for
agencies, and authorized the Department of Commerce’s National Institute of Standards and
Technology (NIST) to coordinate conformity assessment activities.

Revision of OMB Circular A-119. OMB is revising this Circular in light of developments in
regulation, standards, and conformity assessment since the Circular was last revised in 1998. These
revisions reflect the experience gained by U.S. agencies in implementing the Circular since 1998,
and concluding and implementing U.S. trade agreements, as well as developments in domestic and
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international regulatory, standards, and conformity assessment policies.

The revised Circular reflects and supports the regulatory policies and principles set out in relevant
executive orders. OMB notes, in particular, the requirements of four executive orders, three of
which were issued after 1998:

      Executive Order 12866 (“Regulatory Planning and Review”) states that regulations must be
       consistent with law; regulations must identify the nature and significance of the problem;
       agencies must identify and assess alternatives to address the problem along with the costs
       and benefits of each alternative; and the approach selected should maximize net benefits to
       society;

      Executive Order 13563 (“Improving Regulation and Regulatory Review”) emphasizes that
       the U.S. regulatory system “must protect public health, welfare, safety, and [the]
       environment while promoting economic growth, innovation, competitiveness, and job
       creation,” and stresses the importance of public participation and careful consideration of
       both benefits and costs;

      Executive Order 13609 (“Promoting International Regulatory Cooperation”) directs Federal
       agencies to better coordinate U.S. priorities and positions with respect to international
       regulatory cooperation efforts across U.S. Federal agencies. This includes promoting good
       regulatory practices both in the United States and internationally, as appropriate, and
       considering reforms that address unnecessary differences in regulatory requirements
       between the United States and its major trading partners; and

      Executive Order 13610 (“Identifying and Reducing Regulatory Burdens”) institutionalizes
       the retrospective review mechanism set out in Executive Order 13563 and calls on agencies
       to reduce the cumulative effects, including the cumulative burdens, of regulation.

In addition to the above Executive Orders, on January 17, 2012, OMB’s Office of Information and
Regulatory Affairs (OIRA), the Office of Science and Technology Policy (OSTP), and the Office of
the United States Trade Representative (USTR) released a Memorandum to Federal agencies on
“Principles for Federal Engagement in Standards Activities to Address National Priorities” (see
http://www.whitehouse.gov/sites/default/files/omb/memoranda/2012/m-12-08).

The revisions to Circular A-119 inform agencies of their statutory obligations in standards-setting
activities. Specifically, 19 U.S.C. § 2532 provides that “[n]o Federal agency may engage in any
standards-related activity that creates unnecessary obstacles to the foreign commerce of the United
States” and specifies four requirements for agencies’ standards-related activities:

   1. Ensuring that imported products are not treated less favorably than like domestic products or
      imported products from other countries;
   2. Taking into consideration international standards – and basing standards upon them if
      appropriate;
   3. Developing standards based on performance criteria rather than design criteria when
      appropriate; and
   4. Ensuring foreign suppliers have access to conformity assessment procedures on the same
                                                 2

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        basis as other domestic and foreign suppliers of like products.

In order to gather relevant information for this revision, OMB published a Request for
Information (RFI) in the Federal Register on March 30, 2012 (77 Fed. Reg. 19357) on “whether and
how to supplement Circular A-119.” The notice also announced OMB would be holding a public
workshop at NIST on May 15, 2012.

The RFI and public workshop allowed interested stakeholders to provide valuable input to OMB,
NIST, Federal regulators, and other relevant agencies on how the Federal government should
address regulatory, standards, and conformity assessment issues that have emerged or moved to the
forefront since the Circular was last promulgated in 1998. OMB received approximately 70
comments from a wide range of stakeholders, including companies, trade associations, academics,
public interest groups, standards developing bodies, conformity assessment bodies, and private
citizens.1

In response to those comments from 2012, OMB issued a Request for Comment on a Proposed
Revision of OMB Circular A-119, “Federal Participation in the Development and Use of Voluntary
Consensus Standards and in Conformity Assessment Activities,” on February 11, 2014 (79 Fed.
Reg. 8207). OMB received over 80 comments from a wide range of stakeholders including
companies and trade associations, academics, public interest groups, standards development bodies,
conformity assessment bodies, and private citizens.2

Discussion and Responses to Significant Comments

Although some commenters were critical of specific aspects of the proposed revision, the majority
of commenters expressed support for the overall revisions to the Circular and the approaches taken.
The more substantive comments are summarized below, along with OMB’s responses.

While OMB carefully considered the proposals and concerns of all commenters, many comments
were not germane, given the scope of the Circular. The purpose of the Circular is only to provide
guidance on agency use of standards at a level that is practical and useable for all agencies.

For example, OMB received particularly detailed or individualized comments regarding conformity
assessment requirements (OMB defers to NIST and its anticipated revisions to its Guidance on
Federal Conformity Assessment), country-specific standards policy (OMB defers to USTR), and the
publishing requirements for guidance and regulations for agencies (OMB defers to the Office of the
Federal Register). The most current version of NIST’s conformity assessment guidance is available
at http://www.nist.gov/standardsgov/.

Based on OMB’s consideration and responses to these public comments, as well as developments in
regulatory, standards, conformity assessment, and trade policy described above, the revised Circular
A-119:


1
  Public comments submitted in response to OMB’s RFI can be found at
http://www.regulations.gov/#!documentDetail;D=OMB-2012-0003-0001.
2
  Public comments submitted in response to the Proposed Revisions can be found at
http://www.regulations.gov/#!documentDetail;D=OMB-2014-0001-0001.
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     provides additional guidance for agency participation in standards development activities,
      including with respect to serving on standards technical committees as well as the boards of
      standards developing bodies;

     provides factors for agencies to consider when evaluating whether to use a standard to meet
      agency needs;

     strengthens the role of agency Standards Executives to encourage better internal
      coordination and training on standards;

     updates the provisions on how the U.S. Government manages and reports on the
      development and use of standards;

     sets out factors for agencies to consider when assessing the effectiveness of conformity
      assessment options and determining the type(s) of conformity assessment program(s) to
      employ;

     provides guidance to agencies on how they should implement provisions of the Circular in
      their rulemakings and guidance documents;

     encourages each agency to alert the public through the Federal Register or the agency’s
      webpage when the agency is considering whether to participate in the standards
      development process of a particular body. Such notification would give the public notice
      that the agency may use the resulting standard in support of significant regulatory action,
      international regulatory cooperation activities or to otherwise address issues of national
      priority;

     provides guidance to agencies on what factors to consider when incorporating standards by
      reference in regulation;

     requires agencies to utilize the retrospective review mechanism set out in Executive Orders
      13563 and 13610, to ensure, among other things, that regulations incorporating standards by
      reference are updated on a timely basis;

     encourages agencies to work together to reference the same version of standards in
      regulation and procurements and coordinate on conformity assessment requirements, where
      feasible;

     incorporates references to trade-related statutory obligations on standards-related measures
      and directs Federal agencies to consult with USTR on how to comply with international
      obligations with regard to standards, technical regulations, and conformity assessment; and

     maintains a strong preference for using voluntary consensus standards over government-
      unique standards in Federal regulation and procurement.


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The Circular does not preclude the use of standards other than voluntary consensus standards in
rulemaking, procurement or other program activities in cases where: voluntary consensus standards
do not exist or where use of existing voluntary consensus standards would be inconsistent with law
or otherwise impractical, including where use of a voluntary consensus standard would not be as
effective at meeting the agency’s regulatory, procurement, or program needs. The Circular also
recommends that the agency consider allowing the use of other standards as alternative means for
complying with agency regulatory, procurement, or program requirements based on voluntary
consensus standards where such other standards are also found to be suitable under the agency’s
analysis.

Promoting Voluntary Consensus Standards: Comments received overwhelmingly supported a
continued preference for Federal agencies’ use of voluntary consensus standards in lieu of
developing their own standards, in line with the existing Circular and the requirements of Section
12(d) of the NTTAA.

There was also significant support among the commenters for providing Federal agencies the
flexibility to choose among standards developed in the private sector, particularly standards
developed for emerging technologies that may or may not precisely follow the traditional voluntary
consensus standards development process. As such, and in order for agencies to choose the best
standards for their mission needs, this policy maintains flexibility for agencies to use standards
developed in the private sector that best meet agencies’ regulatory, procurement, or program needs,
whether or not those standards are developed by voluntary consensus standards bodies. To assist
agencies in deciding which standards to use, the Circular identifies factors to consider including,
among others, the effectiveness and suitability of the standard for meeting agency regulatory,
procurement, or program needs, the extent to which a standard meets the definition of a “voluntary
consensus standard,” and whether the standard is reasonably available.

Along these lines, many respondents provided valuable comments regarding the revised definitions
in the Circular. The revised Circular incorporates a number of these suggestions intended to clarify
the qualifications for a voluntary consensus standards development process.

Several commenters asked for clarification on how the Circular addresses “leadership standards” (a
term used to describe standards that exceed minimum threshold requirements). The Circular does
not view leadership standards as different from other types of standards. As always, the Circular
will indicate a preference for voluntary consensus standards over government-unique standards, and
agencies may build on those standards as necessary to fulfill their obligations.

In addition, the Circular does not indicate a preference for one type of conformity assessment
procedure (e.g., supplier’s declaration of conformity, third-party certification) over others.
Agencies must have flexibility to determine the most appropriate conformity assessment program to
meet agency needs, consistent with law (see Section 7 of the Circular).

OMB further notes the Circular serves as a floor—not a ceiling—for when and how an agency
should use standards. Agencies can, and in many cases will, have additional guidance for agency
components or programs based on mission needs and other factors.

Updating Considerations for Conformity Assessment: Commenters who addressed this issue
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expressed moderate to very strong support for OMB providing guidance to agencies with respect to
conformity assessment. Commenters recommended that the Circular encourage agencies to rely on
private sector conformity assessment activities; provide criteria for agencies to utilize when
determining how to best meet their needs; and help agencies comply with relevant international
obligations regarding conformity assessment. Since the Circular was last published in 1998, the
evolution of an increasingly globalized marketplace has induced growth in the scope and
importance of conformity assessment. Global supply and distribution chains may mean a greater
number of variables for agencies to assess and more complex logistics to account for when
conducting assessments of conformity. Accordingly, the revised Circular encourages agencies to
consider leveraging existing private sector conformity assessment activities wherever consistent
with law and mission.

Ensuring Compliance with International Obligations: Numerous commenters on the RFI and
the Proposed Revision support OMB guidance to agencies on how to comply with relevant
international obligations, including the WTO Agreement on Technical Barriers to Trade and other
trade agreements. Accordingly, OMB in coordination with USTR, which has statutory authority in
this area pursuant to 19 U.S.C. § § 2171 & 2541, has updated the Circular to reflect this need.

The Circular directs Federal agencies to consult with USTR on how to comply with international
trade obligations relating to standards, technical regulations and conformity assessment, including
those codified at 19 U.S.C. § 2531. In addition, the revisions direct Federal agencies to consult with
the State Department, to the extent international obligations other than trade obligations may be
implicated. With respect to the Federal government’s formulation of international policies on
standards and conformity assessment, regulation, and trade, the revisions would encourage,
consistent with Executive Order 13609, greater coordination between the Interagency Committee on
Standards Policy, the Regulatory Working Group, the Trade Policy Staff Committee and its
subcommittees, and any other relevant interagency groups or committees.

Several commenters to the Proposed Revision voiced concerns over specific issues regarding
reciprocity of standards use or recognition by other countries or trade unions. Since these
comments fall outside the Circular’s scope of providing guidance to agencies about the Federal
government’s use of standards, OMB encourages parties to address such concerns directly with
USTR.

Agency Considerations for Incorporation By Reference: A wide variety of commenters
representing public interest groups, individuals, citizens, standards development organizations
(SDOs), and companies provided comment on the question of incorporation by reference. Some
comments advocated for the maintenance of current law and policy, noting many SDOs already
freely publish their standards online in read-only formats, while others urged all standards
incorporated by reference be made freely available on the Internet.

The majority of these comments turned on particular interpretations of the “reasonably available”
requirement in the Freedom of Information Act (FOIA), which requires that standards incorporated
into regulation by reference be made reasonably available to the “class of persons affected.” As
noted in the Draft Revision, it is not within the purview of the Circular to define reasonable
availability. Rather, it is by statute the responsibility of the Office of the Federal Register (OFR) to

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address this issue.3 OFR revised its regulations on incorporation by reference in a final rule
published November 7, 2014 at 79 Fed. Reg 66267. In that rule, OFR balanced its statutory
obligations regarding reasonable availability of the standards with: (1) U.S. copyright law, (2) U.S.
international trade obligations, and (3) agencies' ability to substantively regulate under their
authorizing statutes. To address all of these obligations, the OFR rule required that agencies discuss
how materials incorporated by reference were made available to parties (and where those materials
are located) and to provide a summary of those materials in the preambles of their rulemaking
documents. These requirements oblige agencies to provide more information on how they make
material incorporated by reference available and a summary of the material, so readers can, if they
like, find and review the standards.

The revised Circular provides a non-exclusive set of factors to help agencies assess the availability
of specific standards for particular regulatory contexts. These considerations may therefore inform
the larger agency decision of whether to request approval for incorporation of those standards in
regulation. As explained in the revised Circular, the basis of these factors for consideration is the
Administrative Conference of the United States (ACUS) Recommendation 2011-5, Incorporation
by Reference, 77 Fed. Reg. 2257 (January 17, 2012).4 ACUS adopted the Recommendation through
a consensus process in which a broad array of stakeholders participated, including standards
developing bodies, academics, public interest groups, regulators, and industry. Based on the
comments, the revised Circular bases its policy on the ACUS Recommendation, modified to
enhance clarity.

In general, the factors based on the ACUS Recommendation were well received, particularly the
provision by SDOs of read-only access to their standards. OMB received numerous comments from
SDOs highlighting the widespread existence of such a practice. In response to comments, OMB
amended the Circular to recommend that agencies also consider the ease of access, registration, and
navigation on those sites. OMB also received many comments on the option to provide a “freely
available, non-technical summary.” Some commenters expressed the need for greater clarity as to
what this might entail. Other commenters questioned the feasibility or utility of a non-technical
summary for lengthy, complex, and/or highly technical standards. To clarify, OMB modified this
factor to encourage agency discretion and collaboration with SDOs to enhance practical, impactful
improvements to availability on a case-by-case basis.

Additionally, OMB made clarifications emphasizing that: (1) the absence of one or more of such
factors should not prevent an agency from using a particular standard; (2) agencies should work
closely with SDOs to determine appropriate access to the standards for stakeholders; and (3)
agencies should explain the reasoning for their choice of standard, including an explanation of how
that standard may be accessed by stakeholders.

Strengthening Guidance for Agency Participation in the Standards Development Process and
the Role of Agency Standards Executives: Commenters expressed wide support for increased
guidance for agency participation, including in standards development voting and standards body
governance. As a floor, the revised Circular encourages agencies to participate fully in the
standards development process—through voting as well as standards body governance—as equal

3
    See 5 U.S.C. §552(a)(1).
4
    See http://www.gpo.gov/fdsys/pkg/FR-2012-01-17/html/2012-621.htm.
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parties. OMB, however, defers to individual agencies on their policies for determining to what
extent and under what circumstances agency representatives are authorized to engage in
particular activities, based on agency requirements and priorities. Additionally, the Circular
encourages strong coordination by Agency Standards Executives (ASEs) to allow for effective
use of agency resources in the standards development process.

In response to requests for greater notice by agencies of their involvement in the standards
development process, the revised Circular provides guidance to agencies on how they should
discuss implementation of the Circular in their rulemakings and guidance documents. The
revised Circular also encourages each agency to alert the public through the Federal Register
and/or its webpage when the agency is considering whether to participate in the standards
development process of a particular body, with the intention of using the resulting standard to
support significant regulatory action, promote international regulatory cooperation activities, or
address issues of national priority. Many of the comments regarding agency participation
included agency-specific details that are beyond the scope of the Circular. OMB encourages
commenters to contact agencies directly with feedback regarding their voting, travel, or any other
policies.

Ensuring the Timely Updating of Regulations and Other Agency Materials Incorporating
Standards: Many commenters expressed views on whether the most current version of a standard
should always be the one used by an agency. OMB recognizes that agencies may have good
reasons for not using the most recent version of a standard. For example, if use of a revised
standard significantly increases compliance costs that are not justified by the benefits of using the
standard, the agency should be free to decline to adopt it.

To ensure the timely updating of standards, the revised Circular requires agencies to utilize the
retrospective review mechanism set out in Executive Orders 13563 and 13610. Many commenters
voiced strong support for such periodic review, with many agreeing with the suggested three-to-five
year review timeframe. OMB believes the use of retrospective review, as outlined by Executive
Orders 13563 and 13610, can help ensure (1) the optimal version of a standard is being used by
agencies; (2) agencies minimize the impact of conflicting requirements on their shared regulated
entities due to references to different versions of standards; and (3), more broadly, the need for the
standard and the regulation referencing it still exists.

Additionally, in response to comments, OMB encourages agencies to work closely with SDOs to
ensure agencies are aware of, and thus able to consider, updates and alternatives to existing
standards. OMB also encourages agencies to work together to reference the same version of
standards in regulation and procurements, consistent with statute and agency mission and
objectives.

OMB also received comments on specific provisions of the Proposed Circular. Below are the
significant comments OMB received and our responses.

Section-by-Section Discussion

Proposed Section 3e—Definition of Voluntary Consensus Standard. Final Section 2d.

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       Several clarifications have been made to the definition to increase its technical accuracy (no
       substantive changes are intended). A commenter suggested that the definition, which states
       that a voluntary consensus standard needs to be either developed or adopted by a voluntary
       consensus standards body, be clarified to make clear that the standard at issue was developed
       or adopted through the use of a voluntary consensus standards development process. OMB
       agrees and has clarified the final Circular accordingly.

       Several other clarifications have been made. We have clarified that it is the voluntary
       consensus standard bodies, not the standards, which have intellectual property policies. We
       have also clarified that the Reasonable and Non-discriminatory (RAND) license obligations
       extend to “implementers of the standard” (this replaces the term “all interested parties,”
       which is a term of art in the rulemaking context).

       Lastly, the Federal government does not make a distinction between standards bodies based
       on where they are domiciled, but rather with respect to the attributes that characterize their
       processes for standards development. Thus, we have deleted the phrase “both domestic and
       international.” This edit is not intended to make a change in terms of coverage (the Circular
       includes a discussion of “international standards” at Section 5h and 5i).

Proposed Section 3f(i)—Definition of Openness. Final Section 2e(i).

       Many commenters expressed concern with the potential burden of the “at all stages” part of
       the clause requiring SDOs to provide meaningful opportunities to participate. Several
       commenters noted that, as a practical matter, this need is already covered by the
       requirements for transparent procedures or processes and for due process. In response,
       OMB modified the final Circular to omit the reference to “at all stages” and clarify that
       opportunities to participate in standards development be on a non-discriminatory basis.

Proposed Section 3f(ii)—Definition of Balance of Representation. Final Section 2e(ii)—Definition
of Balance.

       Several commenters questioned the utility of changing this element from “balance of
       interest,” found in the current version of Circular A-119 as well as the American National
       Standards Institute’s (ANSI) Essential Requirements, to “balance of representation.” OMB
       intended for the definition to be consistent with the concepts of both those documents and
       has simplified the term to “balance” to avoid confusion and to allow for flexibility in how
       balance is determined during the consensus phase of the development or adoption of the
       standard.

       Additionally, some commenters expressed concern with the ambiguity of “sectors” in this
       definition. Others commented that a key objective of “balance” is preventing a single
       interest from dominating the decision-making process. OMB agrees and modified the final
       Circular, adapting suggested insertions to the text of the definition.

Proposed Section 3f(iii)—Definition of Due Process. Final Section 2e(iii).


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       Several commenters expressed concern with the burden and practicality of requiring “full
       access” to the views and objections of other participants in standards development.
       Commenters noted the risks of micromanagement and unnecessary overreach. OMB’s
       intention is to ensure an adequate record of proceedings for the purpose of resolving
       objections and appeals, so we have modified the final Circular to reflect this intent.

Proposed Section 6e—When deciding to use a standard, what are some of the factors my agency
should consider? Final Section 5a.

       Several commenters expressed a desire for greater clarity in the relationship between agency
       missions and the preference for voluntary consensus standards over government-unique
       standards. OMB agrees, and therefore the Circular maintains the preference for voluntary
       consensus standards, per the NTTAA, while still maintaining flexibility for agencies to best
       meet their missions.

       Additionally, some commenters highlighted the utility of considering the extent to which a
       standard is already used by a Federal agency, by State and local governments, as well as the
       prevalence of the standard in the national and international marketplace. These are
       important considerations precisely aligned with Executive Orders 13563, 13609, and 13610,
       discussed above. Accordingly, OMB agrees, and modified the Circular to include these
       considerations.

Proposed Section 4g—How should my agency determine whether a voluntary standard is
“reasonably available” in a regulatory or non-regulatory context? Final Section 5f -- What factors
should my agency consider to aid the determination of whether a standard is “reasonably
available” in a regulatory or non-regulatory context?

       In general, the factors based on the ACUS Recommendation were well received, particularly
       SDO provision of read-only access to standards. OMB received numerous comments from
       SDOs noting they already provide such access. One commenter, however, brought to
       OMB’s attention the disparate capabilities and requirements of various read-only standards
       websites. OMB agrees that this should be a consideration, and has amended the text to
       recommend agencies also consider the ease of access, registration, and navigation on those
       websites.

       As referenced above, OMB also received many comments on the option to provide a “freely
       available, non-technical summary.” Some commenters expressed the need for greater clarity
       as to what this might entail. Other commenters questioned the feasibility or utility of
       providing a non-technical summary for lengthy, complex, and highly technical standards.
       To clarify, OMB modified this factor and potential option to encourage agency discretion
       and cooperation with SDOs to enhance practical, impactful improvements to availability on
       a case-by-case basis.

       Additionally, in response to several comments asking for greater agency consideration of the
       accessibility of standards incorporated by reference, OMB revised the Circular to
       recommend that agencies provide, in the preamble of a Notice of Proposed Rulemaking
       (NPRM) or final rule or guidance document, an explanation of the incorporated materials;
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        how such incorporated standards may be accessed; and how the agency’s incorporation by
        reference of the standard would further the agency’s regulatory objective.

Proposed Section 7—What is the Policy for Federal Participation in Voluntary Standards Bodies?
Final Section 6 -- What is the Policy for Federal participation in Voluntary Consensus Standards
Bodies?

        Several commenters questioned the reformatting of this section from the existing Circular,
        specifically the absence of explicit authorization to provide “direct financial support” to
        standards development activities. Many agencies do so, consistent with applicable law, and
        here OMB defers to agency policy. To provide agencies with flexibility to meet their
        missions, the Circular maintains the existing language.

Proposed Section 8a—What considerations should my agency make when it is determining the type
of conformity assessment procedure(s) to use? Final Section 7a—What considerations should my
agency make when it is addressing the need for conformity assessment?

        In response to comments, OMB simplified this section. OMB has incorporated the previous
        Section 8a, “Should my agency consider relying on private sector conformity assessment
        activities in conjunction with, or where appropriate, in lieu of governmental conformity
        assessment?” into one question which is now Section 7a, “What considerations should my
        agency make when it is addressing the need for conformity assessment?”

        Additionally several commenters expressed concern over the apparent distinction between
        using “international conformity assessment schemes” or “private sector conformity
        assessment activities” as was phrased in the proposed revision. OMB agrees that such
        international conformity assessment schemes are just one example of private sector
        conformity assessment activity, and modified the Circular accordingly.

Accordingly, OMB Circular A-119 is revised as set forth below.

Howard Shelanski

Administrator, Office of Information and Regulatory Affairs

EXECUTIVE OFFICE OF THE PRESIDENT
Office of Management and Budget

Washington D.C. 20503

[insert date]

Circular No. A-119

Revised



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                            CIR CULA R NO. A - 1 19, R evi sed




TO THE HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES

SUBJECT: Federal Participation in the Development and Use of Voluntary Consensus Standards
and in Conformity Assessment Activities

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   d. What if no voluntary consensus standard exists?
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   l. What factors should my agency consider when determining whether to allow the use of more
      than one standard?
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      updated on a timely basis?


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6. What is the Policy for Federal Participation in Standards Bodies?

   a. Must agency participants be authorized?
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      development activities that could be used as a basis for rulemaking or other mission-related
      activities?
   f. What if a voluntary consensus standards body is likely to publish a suitable standard in time
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 1. What is the Purpose of this Circular?

 This Circular establishes policies to improve the internal management of the Executive Branch
 with respect to the U.S. Government’s role in the development and use of standards and
 conformity assessment. Consistent with section 12(d) of P.L. 104-113, the “National Technology
 Transfer and Advancement Act of 1995,” as amended (hereinafter “the NTTAA”), and U.S.
 Government executive orders, this Circular directs agencies to use standards developed or adopted
 by voluntary consensus standards bodies rather than government-unique standards, except where
 inconsistent with applicable law or otherwise impractical. The policies in this Circular are
 intended to facilitate agencies’ compliance with obligations under U.S. trade statutes and trade
 agreements. U.S. Federal law (19 U.S.C. § 2532) specifically prohibits any U.S. Government
 agency from engaging in standards-related activities that create unnecessary obstacles to the
 foreign commerce of the United States.

This Circular provides guidance for agencies participating in the work of voluntary consensus
standards bodies and describes procedures for satisfying the reporting requirements of the NTTAA.
The policies in this Circular are intended to minimize the reliance by agencies on government-
unique standards. The Circular also provides policy guidance to agencies on the use of conformity
assessment in procurement, regulatory, and program activities. This Circular replaces Office of
Management and Budget (OMB) Circular No. A-119, dated February 10, 1998.

Many voluntary consensus standards are appropriate or adaptable for the Federal government's
purposes. The use of such standards, whenever practicable and appropriate, is intended to achieve
the following goals:

       (i)   eliminating the cost to the Federal government of developing its own standards
             and decreasing the cost of goods procured and the burden of complying with
             agency regulation;
       (ii) providing incentives and opportunities to establish standards that serve national
             needs, encouraging long-term growth for U.S. enterprises and promoting
             efficiency, economic competition, and trade; and
       (iii) furthering the reliance upon private sector expertise to supply the Federal
             government with cost-efficient goods and services.

This Circular will also help agencies meet the five fundamental strategic objectives for Federal
engagement in standards activities set out in Memorandum M-12-08, “Principles for Federal
Engagement in Standards Activities to Address National Priorities”
(http://www.whitehouse.gov/sites/default/files/omb/memoranda/2012/m-12-08_1.pdf), which was
issued on January 17, 2012.

While M-12-08 applies to Federal engagement in standards activities in those exceptional
circumstances where the U.S. Government is playing a leading or convening role, OMB believes
that the objectives are generally applicable to Federal engagement in standards and conformity
assessment activities, absent contrary statutory requirements.
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In addition, the Circular seeks to support efforts by the Federal government to ensure that:

   a. the benefits of regulations justify their costs, consistent with Executive Orders
      12866, “Regulatory Planning and Review,” and 13563, “Improving Regulation and
      Regulatory Review,” and OMB Circular A-4, “Regulatory Analysis”;

   b. agencies modify, streamline, expand, or repeal regulations that may be outmoded,
      ineffective, insufficient, or excessively burdensome through the retrospective review
      process, consistent with Executive Orders 13563 and 13610, “Identifying and Reducing
      Regulatory Burdens”;

   c. agencies work with their regulatory counterparts in other countries to address common
      health, safety, labor, security, or environmental issues, as well as unnecessary differences
      between the regulatory approaches of U.S. agencies and those of their foreign counterparts
      that may impair economic growth, innovation, competitiveness, and job creation, consistent
      with Executive Order 13609, “Promoting International Regulatory Cooperation”; and

   d. agencies consider the cumulative effects, including the cumulative burdens, of regulation,
      consistent with Executive Order 13610.


DEFINITIONS


 2. What is a Standard?

   a. The term “standard,” or “technical standard,” (hereinafter “standard”) as cited in the
      NTTAA, includes all of the following:

       (i)   common and repeated use of rules, conditions, guidelines or characteristics for
             products or related processes and production methods, and related management
             systems practices;
       (ii) the definition of terms; classification of components; delineation of procedures;
             specification of dimensions, materials, performance, designs, or operations;
             measurement of quality and quantity in describing materials, processes, products,
             systems, services, or practices; test methods and sampling procedures; formats for
             information and communication exchange; or descriptions of fit and measurements
             of size or strength; and
       (iii) terminology, symbols, packaging, marking or labeling requirements as they apply
             to a product, process, or production method.

   b. The term "standard" does not include the following:

       (i)    professional standards of personal conduct; or
       (ii)   institutional codes of ethics.

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  c. “Government-unique standard” is a standard developed by and for use by the Federal
     government in its regulations, procurements, or other program areas specifically for
     government use (i.e., it is not generally used by the private sector unless required by
     regulation, procurement, or program participation). The standard was not developed as a
     voluntary consensus standard as described in Sections 2d and 2e.

  d. “Voluntary consensus standard” is a type of standard developed or adopted by voluntary
     consensus standards bodies, through the use of a voluntary consensus standards
     development process as described in Section 2e. These bodies often have
     intellectual property rights (IPR) policies that include provisions requiring that
     owners of relevant patented technology incorporated into a standard make that
     intellectual property available to implementers of the standard on non-
     discriminatory and royalty-free or reasonable royalty terms (and to bind subsequent
     owners of standards essential patents to the same terms). In order to qualify as a
     “voluntary consensus standard” for the purposes of this Circular, a standard that includes
     patented technology needs to be governed by such policies, which should be easily
     accessible, set out clear rules governing the disclosure and licensing of the relevant
     intellectual property, and take into account the interests of all stakeholders, including the
     IPR holders and those seeking to implement the standard.

  e. “Voluntary consensus standards body” is a type of association, organization, or technical
     society that plans, develops, establishes, or coordinates voluntary consensus standards
     using a voluntary consensus standards development process that includes the following
     attributes or elements:

      (i)   Openness: The procedures or processes used are open to interested parties. Such
            parties are provided meaningful opportunities to participate in standards
            development on a non-discriminatory basis. The procedures or processes for
            participating in standards development and for developing the standard are
            transparent.
      (ii) Balance: The standards development process should be balanced. Specifically,
            there should be meaningful involvement from a broad range of parties, with no
            single interest dominating the decision-making.
      (iii) Due process: Due process shall include documented and publically available
            policies and procedures, adequate notice of meetings and standards development,
            sufficient time to review drafts and prepare views and objections, access to views
            and objections of other participants, and a fair and impartial process for resolving
            conflicting views.
      (iv) Appeals process: An appeals process shall be available for the impartial handling
            of procedural appeals.
      (v) Consensus: Consensus is defined as general agreement, but not necessarily
            unanimity. During the development of consensus, comments and objections are
            considered using fair, impartial, open, and transparent processes.

See Section 5h of this Circular for a discussion of “international standards.”


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 3. What is Conformity Assessment?

 Conformity assessment” is a demonstration, whether directly or indirectly, that specified
 requirements relating to a product, process, system, person, or body are fulfilled. Conformity
 assessment includes sampling and testing, inspection, supplier’s declaration of conformity,
 certification, and management system assessment and registration. Conformity assessment also
 includes accreditation of the competence of those activities.


POLICY


4. To Whom Does This Policy Apply?

This Circular applies to all agencies and agency representatives who use standards or conformity
assessment and/or participate in the development of standards. “Agency” means any executive
department, independent commission, board, bureau, office, government-owned or controlled
corporation, or other establishment of the Federal government. It also includes any regulatory
commission or board, except for independent regulatory commissions insofar as they are subject to
separate statutory requirements regarding the use of voluntary consensus standards. It does not
include the Legislative or Judicial branches of the Federal government.

 5. What is the Policy for Federal Use of Standards?

 Consistent with Section 12 (d)(1) of the NTTAA, all Federal agencies must use voluntary
 consensus standards in lieu of government-unique standards in their procurement and regulatory
 activities, except where inconsistent with law or otherwise impractical. In these circumstances,
 your agency must submit a report describing the reason(s) for its use of government-unique
 standards in lieu of voluntary consensus standards as explained in Sections 9-11.

  a. When deciding to use a standard, what are some of the factors my agency should
     consider?


       (i)   In evaluating whether to use a standard, which should be done on a case-by-case basis,
             an agency should consider the following factors, where applicable:

             (1) Whether the standard is effective and otherwise suitable for meeting agency
                 regulatory, procurement, or program needs, including as applicable:

                (a) the nature of the agency’s statutory mandate and the consistency of the
                    standard with that mandate;
                (b) the level of protection the standard provides or is expected to provide for public
                    health, welfare, safety, and the environment;
                (c) the clarity and detail of the standard's language, as the wording of a standard
                    may contain too much detail as well as too little;

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               (d) the costs and benefits of implementing other available standards that may also
                   meet the agency’s needs;
               (e) the costs and benefits to the Federal government and the regulated public of the
                   agency developing its own standard;
               (f) the ongoing use of the standard by other agencies for the same or a similar
                   requirement, the use of which in a particular instance would increase
                   consistency across the Federal government;
               (g) the ongoing use of the standard by State and local governments for the same or
                   a similar requirement, the use of which in a particular instance would increase
                   consistency across jurisdictions;
               (h) the prevalence of the use of the standard in the national and international
                   marketplaces;
               (i) the problems addressed by the standard and changes in the state of knowledge
                   and technology since the standard was prepared or last revised;
               (j) the extent to which the standard establishes performance rather than design
                   criteria, where feasible;
               (k) the ability of small- and medium-sized enterprises (SMEs) to comply with the
                   standard; and
               (l) the agency’s ability to use, and enforce compliance with, the standard in its
                   regulatory process.

            (2) The extent to which, when preparing the standard, the standards body reflected the
                attributes of a voluntary consensus standards body set out in Section 2e of the
                Circular. The procedures related to these attributes (e.g., openness, balance, due
                process, appeals process, and consensus) should be easily accessible, clear and
                unambiguous.

            (3) The extent to which the standard is an international standard (see Section 5h).

            (4) Any barriers to membership and participation in the standards development
                process, given that fee structures, modes of participation, and other factors can
                impact the ability of SMEs, public interest groups, and the general public to
                participate.

            (5) Whether the standard is “reasonably available.” See Section 5f of the Circular for
                additional information.

            (6) The standards maintenance process used by the relevant standards developing body
                or bodies.

     (ii)   If an agency is proposing to use a standard in a proposed or final rulemaking, the
            agency must comply with the "Principles of Regulation" (enumerated in Section 1(b)
            of Executive Order 12866, “Regulatory Planning and Review”), the analytical
            requirements of other relevant executive orders, and other documents as applicable,
            including those described in Section 1 of the Circular.

    (iii)   As a general matter, standards being considered for use in regulation that specify
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            nomenclature, basic reference units, or methods of measurement or testing, and that
            are primarily empirical in their formulation, will ordinarily warrant less scrutiny by an
            agency than standards that embody factors that are less objective.

     (iv)   An agency should, to the extent permitted by law, take account of the effect of using
            the standard on the economy, and of applicable Federal laws and policies, including
            laws and regulations relating to antitrust, national security, small business, product
            safety, environment, metrication, technology development, international trade,
            intellectual property and copyright, privacy and security, and conflicts of interest.

     (v)    An agency should take into consideration the standards developer’s intellectual
            property rights (IPR) policies. Many standards developing bodies have policies
            requiring participating IPR holders to commit to license any relevant patented
            technology incorporated into a standard on non-discriminatory and royalty-free or
            reasonable royalty terms and to bind subsequent owners of standards-essential patents
            to the same terms. Such policies should be easily accessible, set out clear rules
            governing the disclosure and licensing of the relevant IPR, and take into account the
            interests of all stakeholders, including the IPR holders and those seeking to implement
            the standard.

  b. Does this policy establish a preference between voluntary consensus standards and
     other types of standards? Consistent with Section 12(d)(1) of the NTTAA, this policy
     establishes a preference for the use of voluntary consensus standards in lieu of government-
     unique standards. The Circular does not preclude the use of other standards in rulemaking,
     procurement, or other program activities in cases where voluntary consensus standards do not
     exist or use of existing voluntary consensus standards would be inconsistent with law or
     otherwise impractical, including where use of a voluntary consensus standard would not be as
     effective at meeting the agency’s regulatory, procurement or program needs. The Circular
     also recommends that the agency consider allowing the use of other standards as alternative
     means for complying with agency regulatory, procurement, or program requirements that
     incorporate voluntary consensus standards, where such other standards are also found to be
     suitable under the agency’s analysis. See Section 5l concerning the selection of multiple
     standards.

  c. When must my agency use voluntary consensus standards? Your agency must use
     voluntary consensus standards in its regulatory, procurement, and program activities in lieu of
     government-unique standards, unless use of such standards would be inconsistent with
     applicable law or otherwise impractical. In all cases, your agency has the discretion to
     decline to use existing voluntary consensus standards if your agency determines that such
     standards are inconsistent with applicable law or otherwise impractical, and instead to use a
     government-unique standard or other standard.

      In addition to consideration of voluntary consensus standards, this Circular recognizes the
      contributions of standardization activities that take place outside of the voluntary consensus
      standards process. Therefore, in instances where use of voluntary consensus standards
      would be inconsistent with applicable law or otherwise impracticable (e.g., no voluntary
      consensus standard would be effective in meeting agency regulatory, procurement, or
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      program needs), agencies should consider, to the extent consistent with applicable law – as
      an alternative to using a government-unique standard – other standards that meet the
      agency’s regulatory, procurement or program needs, deliver favorable technical and
      economic outcomes (such as improved interoperability) and are widely utilized in the
      marketplace.

      In those circumstances where an agency elects to use or develop a government-unique
      standard in lieu of using a voluntary consensus standard, Section 12(d) of the NTTAA
      requires the agency to submit a report describing the reason(s) to OMB. Under the Circular,
      this report is submitted to OMB through the National Institute of Standards and Technology
      (NIST). For more information on reporting, see Sections 9 -11 of this Circular.

      (i)    “Use” means incorporation of a standard in whole, in part, or by reference for
             procurement purposes; inclusion of a standard in whole, in part, or by reference in
             regulation(s); or inclusion of a standard in whole, in part, or by reference in other
             mission-related activities.
      (ii)   “Impractical” includes circumstances in which such use would fail to serve the
             agency's regulatory, procurement, or program needs; be infeasible; be inadequate,
             ineffectual, inefficient, or inconsistent with the agency mission or the goals of using
             voluntary consensus standards; be inconsistent with a provision of law; or impose more
             burdens, or be less useful, than the use of another standard.

  d. What if no voluntary consensus standard exists? In cases where no suitable voluntary
     consensus standards exist, an agency may use suitable standards that are not developed by
     voluntary consensus bodies. In addition, an agency may develop its own standards or use
     other government-unique standards, solicit interest from qualified standards development
     organizations for development of a standard, or develop a standard utilizing the process
     principles outlined in Section 2e of the Circular. As explained above (see Section 5c of the
     Circular), Section 12(d) of the NTTAA provides that an agency may use a government-
     unique standard in lieu of a voluntary consensus standard if the use of a voluntary consensus
     standard would be inconsistent with applicable law or otherwise impractical. In such cases,
     the agency must file the statutorily required report (see Section 10).

  e. Should my agency give preference to performance standards? Yes. Pursuant to Section
     1(b)(8) of Executive Order 12866 and 19 U.S.C.§ 2532(3), your agency should give
     preference to performance standards where feasible and appropriate. The term “performance
     standard” refers to a standard that states requirements in terms of required results, but without
     stating the methods for achieving the required results. A performance standard may define
     the functional requirements for an item, operational requirements, and/or interface and
     interchangeability characteristics. A prescriptive standard, by contrast, may specify design
     requirements, such as materials to be used, how a requirement is to be achieved, or how an
     item is to be fabricated or constructed. It is important to recognize that, in many instances, a
     standard may contain both performance and prescriptive elements. In such cases, agencies
     should select standards that provide the most flexibility for achieving the desired results. In
     most instances, these will be standards that rely more heavily on performance-based criteria.

  f. What factors should my agency consider to aid the determination of whether a standard
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     is “reasonably available” in a regulatory or non-regulatory context? In determining
     whether a standard is “reasonably available” to regulated and other interested parties,
     agencies should take into account the following factors, given that reasonable availability is
     context-specific. The absence of one or more of these factors alone should not be used as a
     basis for an agency decision not to use the standard. This section shall also be applied in a
     manner consistent with U.S. international obligations to use relevant international standards
     (see Section 5h of the Circular); the “Principles of Regulation” (enumerated in Section 1(b)
     of Executive Order 12866); and the need to “protect public health, welfare, safety, and our
     environment while promoting economic growth, innovation, competitiveness, and job
     creation” (see Section 1 of Executive Order 13563).

      Factors to consider include:

      (i)   whether the standards developer is willing to make read-only access to the standard
            available for free on its website during the comment period to facilitate more effective
            access, because access may be necessary during rulemaking to make public
            participation in the rulemaking process effective;
      (ii) the cost to regulated and other interested parties to access a copy of the material,
            including the cumulative cost to obtain incorporated materials, and their ability to bear
            the costs of accessing such materials in a particular context;
      (iii) the extent particular access is needed to achieve agency policy or to subject the
            effectiveness of agency programs to public scrutiny; and
      (iv) whether the standards developer can provide a summary that explains the content of
            the standard in a way that meets agency needs and is understandable to a member of
            the public who lacks relevant technical expertise.

      When considering incorporation by reference, agencies should include in the preamble of an
      NPRM, final rule, or guidance document an explanation of the incorporated materials, and
      how the agency’s incorporation by reference of the standard would further the agency’s
      regulatory objective (see 79 FR 66267 published November 7, 2014 entitled Incorporation
      by Reference).

      If an agency incorporates by reference material that is already freely available, the agency
      should ensure that the material is available electronically in a location where regulated and
      other interested parties will be able to find it easily by, for example, providing a link to the
      website of the standards body. If an agency incorporates by reference material that is
      copyrighted or otherwise subject to legal protection and not freely available, the agency
      should work with the relevant standards developer to promote the availability of the
      materials, consistent with applicable law, such as through the use of technological solutions,
      low-cost-publication, or other appropriate means, while respecting the copyright owner’s
      interest in protecting its intellectual property. To this end, the agency should explain, in the
      preamble of an NPRM, final rule, or guidance document how such incorporated standards
      may be accessed consistent with OFR’s regulations in 1 CFR Part 51.


  g. How should my agency reference standards? Where your agency seeks to incorporate a
     standard by reference, your agency should reference the standard, along with sources from
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     which a copy of the standard may be obtained, in relevant publications, regulations, and
     related internal documents. The Office of the Federal Register’s regulations at 1 CFR Part
     51 govern the use of incorporation by reference in regulation. For all other uses, your
     agency must determine the most appropriate form of reference. If a standard is used and
     published in an agency document, your agency must observe and protect the rights of the
     copyright holder and meet any other similar obligations, such as those relating to patented
     technology that must be used to comply with the standard.

  h. Are there standards-related international trade obligations that agencies must adhere to
     regarding the use of standards? Yes. There are statutory and international obligations
     governing “standards-related activities.” In particular, agencies should be aware of the
     obligations in 19 U.S.C. § 2532, which provides that “[n]o Federal agency may engage in any
     standards-related activity that creates unnecessary obstacles to the foreign commerce of the
     United States…” and that “[e]ach Federal agency shall ensure, in applying standards-related
     activities with respect to any imported product, that such product is treated no less favorably
     than are like domestic or imported products…” “Standards-related activity” is defined in 19
     U.S.C. § 2571 and covers certain standards and technical regulations as well as conformity
     assessment procedures. These statutory requirements reflect U.S. international obligations
     under the World Trade Organization (WTO) Agreement on Technical Barriers to Trade (TBT
     Agreement). Specifically, Articles 2.1 and 2.2 and Annex 3 of the Agreement commit the
     United States, with respect to standards and technical regulations, to provide no less
     favorable treatment to imported products than like domestic products and to avoid
     unnecessary obstacles to trade.

      In addition, the United States is obligated under the TBT Agreement to use relevant
      international standards, except where such standards would be an ineffective or
      inappropriate means to fulfill the legitimate objective pursued. In particular, the TBT
      Agreement, Article 2.4, provides that: “Where technical regulations are required and
      relevant international standards exist or their completion is imminent, [WTO] Members shall
      use them, or the relevant parts of them, as a basis for their technical regulations except when
      such international standards or relevant parts would be an ineffective or inappropriate means
      for the fulfillment of the legitimate objectives pursued, for instance because of fundamental
      climatic or geographical factors or fundamental technological problems.” In addition, 19
      U.S.C. § 2532 directs Federal agencies, in developing standards, to base the standards on
      international standards if appropriate.

      The WTO TBT Agreement defines “technical regulation” as a document which sets out
      product characteristics or their related processes and production methods, including
      applicable administrative provisions, with which compliance is mandatory, and states that
      the definition may include or deal exclusively with terminology, symbols, packaging,
      marking or labeling requirements as they apply to a product, process, or production method.
      The WTO TBT Agreement excludes services, sanitary and phytosanitary measures, and
      government procurement from its scope. These areas are covered by other WTO agreements
      discussed later in this section.

      The WTO TBT Agreement does not provide a list of bodies that develop international
      standards. However, in 2000, the WTO Committee on Technical Barriers to Trade adopted
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     a decision setting out principles that standards bodies should follow when developing
     international standards (the Decision on Principles for the Development of International
     Standards, Guides and Recommendations with Relation to Articles 2, 5 and Annex 3 of the
     WTO Agreement on Technical Barriers to Trade, hereinafter the Committee Decision).
     Please see the annex to this Circular for additional information.

     In addition, certain U.S. free trade agreements commit the United States to determine
     whether an international standard exists based on the principles set out in the Committee
     Decision. Agencies should, therefore, pay close attention to the Committee Decision and
     consult with USTR when questions arise as to evaluating whether a standard developed by a
     particular standards body is “international.” A voluntary consensus standard may be an
     international standard under the WTO TBT Agreement or provisions of U.S. trade
     agreements applying to technical barriers to trade, if it was developed in accordance with the
     Committee Decision principles.

     The WTO Agreement on the Application of Sanitary and Phytosanitary Measures (SPS
     Agreement), which applies to sanitary and phytosanitary measures (e.g., food safety
     regulations), also addresses the use of relevant international standards. Article 3.1 of the
     WTO SPS Agreement states: “To harmonize sanitary and phytosanitary measures on as wide
     a basis as possible, [WTO] Members shall base their sanitary or phytosanitary measures on
     international standards, guidelines or recommendations, where they exist, except as
     otherwise provided for in this Agreement, and in particular paragraph 3.” Article 3.3 of the
     SPS Agreement also provides that:

            Members may introduce or maintain sanitary or phytosanitary measures which result
            in a higher level of sanitary or phytosanitary protection than would be achieved by
            measures based on the relevant international standards, guidelines or
            recommendations, if there is scientific justification, or as a consequence of the level
            of sanitary or phytosanitary protection a Member determines to be appropriate in
            accordance with the relevant provisions of paragraph 1 through 8 of Article 5.
            Notwithstanding the above, all measures which result in a level of sanitary or
            phytosanitary protection different from that which would be achieved by measures
            based on international standards, guidelines or recommendations shall not be
            inconsistent with any other provisions of this Agreement.

     The WTO SPS Agreement includes a detailed definition of “sanitary or phytosanitary
     measure” and generally covers measures related to food safety and the spread of disease or
     pests. Unlike the WTO TBT Agreement, the WTO SPS Agreement identifies three bodies,
     among others, that develop international standards, guidelines and recommendations for
     purposes of implementing the WTO SPS Agreement. In particular, the SPS Agreement
     identifies the following as international standards, guidelines and recommendations: for food
     safety, those established by the Codex Alimentarius Commission; for animal health and
     zoonoses, those developed under the auspices of the International Office of Epizootics; for
     plant health, those developed in the framework of the International Plant Protection
     Convention; and “for matters not covered by the above organizations, appropriate standards,
     guidelines and recommendations promulgated by other relevant international organizations
     open for membership to all [WTO] Members, as identified by the [SPS] Committee.”
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      The United States also has procurement obligations under the WTO Agreement on
      Government Procurement (GPA) and a number of Free Trade Agreements (see FAR Subpart
      25.4) to base the technical specifications on international standards, where available. Article
      X.2 of the WTO GPA provides:

            In prescribing the technical specifications for the goods or services being procured, a
            procuring entity shall, where appropriate:

            (i)    set out the technical specification in terms of performance and functional
                   requirements, rather than design or descriptive characteristics; and
            (ii)   base the technical specification on international standards, where such exist;
                   otherwise, on national technical regulations, recognized national standards or
                   building codes.

      Agencies should consult with USTR on questions regarding international trade obligations
      relating to regulations, standards, conformity assessment procedures, or procurement or with
      respect to any requests from countries regarding the establishment of mutual arrangements
      with respect to standards-related activities. Pursuant to 19 U.S.C. § 2171 and 2541, USTR
      has statutory authorities and responsibilities in these areas including “for coordinating
      United States discussions and negotiations with foreign countries for the purpose of
      establishing mutual arrangements with respect to standards-related activities.” Agencies
      should consult with the Department of State on questions regarding the application of
      international agreements other than trade agreements.

  i. When should my agency consider using or recognizing a standard used by a trading
     partner? To the extent a standard used by a trading partner is an international standard or
     voluntary consensus standard, agencies should consider and use them as described in this
     Circular (see, e.g., Sections 5a and h). In addition, agencies should consider and use a
     standard used by a trading partner, where, pursuant to an international agreement, the United
     States has agreed to do so (e.g., pursuant to a mutual recognition agreement). Agencies
     should also examine how recognition or use of a standard used by a trading partner would
     impact the policy objectives set out in Section 1 of Executive Order 13609, “Promoting
     International Regulatory Cooperation.” An agency may have additional obligations to
     consider a standard used by a trading partner pursuant to Section 3(d) of Executive Order
     13609.

      In addition, the United States is obligated to adhere to certain international agreements with
      respect to accepting as equivalent standards used in the regulations of U.S. trading partners.
      In particular, the WTO TBT Agreement, Article 2.7, requires the United States and other
      WTO Members to “give positive consideration to accepting as equivalent technical
      regulations of other Members, even if these regulations differ from their own, provided they
      are satisfied that these regulations adequately fulfill the objectives of their own regulations.”

      The WTO SPS Agreement also contains obligations regarding equivalence determinations
      with respect to foreign country sanitary and phytosanitary measures (SPS measures). Article
      4 of the SPS Agreement provides:
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            (i) Members shall accept the sanitary or phytosanitary measures of other Members as
                equivalent, even if these measures differ from their own or from those used by
                other Members trading in the same product, if the exporting Member objectively
                demonstrates to the importing Member that its measures achieve the importing
                Member's appropriate level of sanitary or phytosanitary protection. For this
                purpose, reasonable access shall be given, upon request, to the importing Member
                for inspection, testing and other relevant procedures.

            (ii) Members shall, upon request, enter into consultations with the aim of achieving
                 bilateral and multilateral agreements on recognition of the equivalence of
                 specified sanitary or phytosanitary measures. Agencies should consult with USTR
                 regarding entering into any such consultations.

      U.S. Federal law, as codified at 19 U.S.C. § 2578a, provides that an agency may not
      determine that a foreign country’s sanitary or phytosanitary measure is equivalent to a
      sanitary or phytosanitary measure established under the authority of Federal law unless the
      agency determines the foreign country measure provides the same level of sanitary or
      phytosanitary protection as the U.S. measure.

      See SPS Agreement, Annex A, for the definition of SPS measure.

  j. How does this policy affect my agency's regulatory authorities and responsibilities?
     This policy does not preempt or restrict agencies' authorities and responsibilities to make
     regulatory decisions authorized by statute. Such regulatory authorities and responsibilities
     include determining the level of acceptable risk and risk-management, and due care; setting
     the level of protection; and balancing risk, cost, and availability of alternative approaches in
     establishing regulatory requirements. However, agencies should consider using voluntary
     consensus standards, as described in this Circular, to achieve their regulatory, procurement,
     and program needs, including for test methods, sampling procedures, and protocols, if
     applicable.

  k. How does this policy affect my agency's procurement authority? This policy does not
     preempt or restrict agencies’ authorities and responsibilities to identify the capabilities that
     they need to obtain through procurements. Rather, this policy establishes a preference for
     using a voluntary consensus standard, to the extent a suitable one exists, instead of pursuing
     an identified capability through reliance on a government-unique standard.

  l. What factors should my agency consider when determining whether to allow the use of
     more than one standard? In considering whether to allow the use of more than one
     standard for suppliers to demonstrate that they meet a particular program, procurement, or
     regulatory requirement, your agency should consider whether doing so meets your agency’s
     regulatory, procurement, or program needs (see, e.g., Section 5a). It may be appropriate for
     the agency to allow the use of multiple standards in order, for example, to permit greater
     flexibility for producers and service providers in meeting program, procurement, or
     regulatory requirements, enhance competition in the marketplace, provide greater choice to
     consumers, and enable new innovative solutions to be developed. Allowing the use of more
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     than one standard may also allow producers and service providers to meet both U.S.
     requirements and requirements in different markets simultaneously, thereby reducing burdens
     for manufacturers and service providers while effectively addressing agency objectives.

  m. How should my agency ensure that references to standards incorporated in regulation
     are updated on a timely basis? Consistent with Executive Orders 13563, “Improving
     Regulation and Regulatory Review,” and 13610, “Identifying and Reducing Regulatory
     Burdens,” agencies should, on a regular basis, review and if necessary update references to
     standards that have been incorporated by reference. Each agency should undertake a
     standards-specific review of such incorporated standards every three-to-five years, or when
     stakeholders otherwise provide adequate information that a standards-specific review is
     necessary due to urgent matters of health and safety, the need to remain current with
     technological changes, or for other compelling reasons. For example, regulated entities may
     petition agencies to update incorporated standards.

      In accordance with the retrospective review provisions of Executive Orders 13563 and
      13610, an agency should also consult with stakeholders prior to issuance of an NPRM, for
      example through an Advanced Notice of Proposed Rulemaking (ANPRM) or an RFI. Such
      consultations will help the agency identify which updated or new standards would
      potentially be controversial (if incorporated by reference in regulation) and which ones
      would not, and also whether incorporation of new or updated standards may warrant
      substantive changes to the underlying regulation.

      (i)    In the case of standards for which updating or substituting a new standard or standards
             would not be controversial, the agency should, to the extent permitted by law, consider
             issuing a standards-specific direct final rule.

      (ii)   In the case of other standards for which an agency may wish to update or substitute a
             new standard or standards, the agency should publish a standards-specific NPRM.

      (iii) To promote efficiency, and to the extent feasible and appropriate, an agency is
            encouraged to consolidate proposals to update or substitute standards, rather than
            conducting separate rulemakings for each standard the agency wants to update or
            substitute.

      (iv)   In the case of standards for which updating or substituting a new standard would
             require a substantial re-opening of a rule, such revisions should be addressed in the
             context of a broader-scope “look-back” NPRM (rather than through a standards-
             specific NPRM), where such re-opening meets the objectives and criteria set out in
             Executive Orders 13563 and 13610.

      (v)    If an agency decides not to adopt the most recent version of a standard, the agency
             should explain its reasons in the final rule.

      (vi)   Except in urgent circumstances, and where consistent with law and international
             obligations, agencies must allow a reasonable interval between the publication of final
             rules and their effective dates, in order to provide affected stakeholders sufficient time
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              to adapt their products and methods of production to comply with the updated or new
              standard.

6. What is the Policy for Federal Participation in Standards Bodies?

   Consistent with Section 12(d)(2) of the NTTAA, agencies must consult with voluntary
   consensus standards bodies and must participate with such bodies in the development of
   standards when consultation and participation is in the public interest and is compatible with
   their missions, authorities, priorities, and budgetary resources. In voluntary consensus standards
   development processes, agency participation can be an important contribution to ensuring
   balance is achieved.

   The WTO TBT and SPS Agreements also contain obligations regarding participation in
   international standards developing bodies:

      (i)     TBT Agreement, Article 2.6: “With a view to harmonizing technical regulations on as
              wide a basis as possible, Members shall play a full part, within the limits of their
              resources, in the preparation by appropriate international standardizing bodies of
              international standards for products for which they either have adopted, or expect to
              adopt, technical regulations.”
      (ii)    TBT Agreement, Article 5.5: “With a view to harmonizing conformity assessment
              procedures on as wide a basis as possible, Members shall play a full part, within the
              limits of their resources, in the preparation by appropriate international standardizing
              bodies of guides and recommendations for conformity assessment procedures.”
      (iii)   SPS Agreement, Article 3.4: “Members shall play a full part, within the limits of their
              resources, in the relevant international organizations and their subsidiary bodies, in
              particular the Codex Alimentarius Commission, the International Office of Epizootics,
              and the international and regional organizations operating within the framework of the
              International Plant Protection Convention, to promote within these organizations the
              development and periodic review of standards, guidelines and recommendations with
              respect to all aspects of sanitary and phytosanitary measures.”

   Each agency should arrange for qualified representatives to participate in standards development
   activities, as appropriate. The representatives’ function should be to participate in the standards
   writing and/or, as appropriate, act as a liaison, provide information and expertise, and
   communicate the views of the agency concerning the standards being developed and the
   procedures being followed.

a. Must agency participants be authorized? Agency representatives who, at Government
   expense, participate in activities of standards bodies on behalf of the agency must do so as
   specifically authorized agency representatives. Agency support for, and participation by,
   agency representatives in standards bodies must be in compliance with applicable laws and
   regulations. For example, agency support is subject to legal and budgetary authority and
   availability of funds. Similarly, participation by agency representatives (whether or not on
   behalf of the agency) in the activities of standards bodies is subject to the laws and regulations
   that apply to participation by Federal employees in the activities of outside organizations.

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    Additionally, in considering the applicability of 18 U.S.C. § 208, which addresses Federal
    participation in outside organizations, the Office of Legal Counsel (OLC) of the Department of
    Justice has determined the following: “When the board of an outside organization plays an
    integral role in the process of setting standards, it would therefore frustrate the statute [NTTAA]
    to forbid Federal employees from being on the board. They could not then take the “active” role
    that Congress mandated. To carry out the statute, therefore, employees may serve on these
    outside boards without running afoul of 18 U.S.C. § 208, if the boards are engaged in the
    standard-setting activities in which Congress directed Federal agencies to participate.”5

    Furthermore, in the 2001 amendment to the NTTAA (in Section 1115 of Public Law 107-107
    (which enacted a new paragraph of Section 12(d)), Congress expressly exempted application of
    5 U.S.C. § 5946 (which prohibits payments for membership and conference fees) with respect to
    activities of Federal agencies and personnel in carrying out Section 12(d) of the NTTAA (see 15
    U.S.C. § 272 note). As noted in the previous Section, active agency technical involvement and
    leadership in standards activities is encouraged by this Circular and the NTTAA. However,
    agency representatives should avoid the practice or the appearance of undue influence relating to
    their participation in standards bodies and activities.

b. Does agency participation indicate endorsement of any decisions reached by standards
   bodies? Agency participation in standards bodies does not connote agency endorsement or
   agreement with decisions by such bodies.

c. What forms of support may my agency provide to standards development? The forms of
   agency support may include:

        (i)   direct financial support (e.g., grants, memberships, and contracts);
        (ii)  administrative support (e.g., travel costs, hosting of meetings, and secretarial
              functions);
        (iii) technical support (e.g., cooperative testing for standards evaluation and participation of
              agency personnel in the activities of standards bodies);
        (iv) joint planning with standards bodies to promote identification and development of
              needed standards; and
        (v) participation of agency personnel.

        Federal agencies should give adequate priority in their budgets to the need for agency
        officials to participate in standards development.

d. Do agency representatives participate equally with other members? Consistent with agency
   regulation and policy, agency representatives should participate actively and on an equal basis
   with other members, consistent with the procedures of standards bodies, particularly in matters
   such as establishing priorities, developing procedures for preparing, reviewing and approving
   standards, and developing or adopting new standards. Active participation includes full
   involvement in discussions and technical debates, registering of opinions and, if selected,

5
 See OLC’s opinion of August 24, 1998, on “Application of § 208 to Service by Executive Branch Employees on
Boards of Standard-Setting Organizations,” http://oge.gov/DisplayTemplates/ModelSub.aspx?id=1826.
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   serving as chairpersons (or other leadership positions) or in other official capacities. Agency
   representatives may vote, in accordance with the procedures of the standards body, at each stage
   of the standards development process, unless prohibited from doing so by law or their agencies.

e. How should my agency alert the public of its potential participation in standards
   development activities that could be used as a basis for rulemaking or other mission-
   related activities? In the interest of enhancing transparency and information-sharing, agencies
   should advise the public about ongoing or planned participation in standards development
   activities, when, for instance, doing so to address issues of national priority, or in support of
   significant regulatory action or international regulatory cooperation activities. Methods could
   include publication of a notice in the Federal Register, providing notice on the agency’s public
   website, or using other appropriate mechanisms. The information provided could include, for
   example:

       (i) which body or organization is developing the standard;
       (ii) why the agency’s participation is relevant to the public; and
       (iii) methods by which the public can obtain more information.

   When an agency is unsure of the nature and extent of standards activity that may be relevant for
   an upcoming regulation, procurement, or non-regulatory action, the agency is encouraged to
   request information on standards development through, for example, an RFI or an ANPRM.
   Agencies could also use more informal means, such as contacting relevant bodies directly.

   Note that agency participation in the standards development process is not a prerequisite for
   incorporating or otherwise using a standard.

f. What if a voluntary consensus standards body is likely to publish a suitable standard in
   time for an agency to use it? If a voluntary consensus standards body is in the process of
   developing or adopting a voluntary consensus standard that would likely be practical for an
   agency to use, and would likely be developed or adopted on a timely basis, an agency should not
   develop its own standard and instead should participate in the activities of the voluntary
   consensus standards body (or at least monitor the development of the standard) so that the
   agency is in a position to use the standard at the appropriate time.

7. What is the Policy on Conformity Assessment?

   Section 12(b) of the NTTAA requires the NIST to coordinate Federal, State, and local standards
   activities and conformity assessment activities with private sector standards development and
   conformity assessment activities, with the goal of eliminating unnecessary duplication and
   complexity in the development and promulgation of conformity assessment requirements and
   measures. The Secretary of Commerce, through NIST, issues guidance to the agencies on
   conformity assessment (see www.standards.gov).

   Building upon the NTTAA, U.S. statutory and international obligations, and NIST’s previous
   guidance to agencies on conformity assessment, agencies may develop and use conformity
   assessments procedures that:

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       (i)     are effective and appropriate in carrying out agency missions;
       (ii)    minimize the regulatory and/or conformity assessment burden on regulated entities;
       (iii)   are in accordance with statutory and international obligations;
       (iv)    conserve and leverage agency resources; and
       (v)     increase acceptance of U.S. products in domestic and foreign markets.

   Agencies should be aware that conformity assessment procedures and systems can be used in
   many different ways to support their missions. Conformity assessment procedures and systems
   may be integral to a regulatory agency’s compliance and enforcement system, or the results of
   conformity assessment may be an input to the regulatory system. The agency may have roles
   and responsibilities related to the development and maintenance of conformity assessment
   system requirements and/or the conduct of specific activities in these systems. Flexibility is
   essential when devising an optimal conformity assessment system tailored to the missions of
   regulatory agencies.

   Agencies should also design conformity assessment programs with the objectives of furthering
   outcomes that are closely aligned with market dynamics and otherwise maximize net benefits to
   society. In this context, agencies should recognize the possible contribution of private sector
   conformity assessment activities. When properly conducted, conformity assessments conducted
   by private sector conformity assessment bodies can increase productivity and efficiency in
   government and industry, expand opportunities for international trade, conserve resources, improve
   health and safety, and protect the environment.

   Working closely with NIST and OMB, agencies are encouraged to identify their conformity
   assessment needs in such areas as regulatory compliance and enforcement, procurement, and
   other programmatic contexts and to assess whether the use of private sector conformity
   assessment mechanisms in lieu of or in conjunction with government conformity assessment
   procedures would be beneficial, where such use is feasible and appropriate and not otherwise
   prohibited by law. Agencies should also consider whether reliance on international conformity
   assessment schemes would meet their conformity assessment needs.

   Agencies will continue to have the flexibility of choosing conformity assessment programs,
   whether private, public, or some combination thereof, to best achieve the objectives above.

a. What considerations should my agency make when it is addressing the need for
   conformity assessment? Agencies should consider appropriate agency roles and
   responsibilities to carry out their missions in a way that protects health, safety, welfare, and the
   environment, while promoting economic growth, competitiveness, and job creation, and
   reducing costs and burdens, including the cumulative effects of regulation, on the affected
   public and the U.S. economy. When an agency is evaluating whether to put in place a
   conformity assessment program, it should, consistent with statute, resource constraints, and the
   instruments set out in Section 1 of this Circular, consider certain factors when assessing the
   effectiveness of conformity assessment options and determining the type(s) of conformity
   assessment to employ. These include:

       (i)     the objective(s) of the underlying regulation, procurement, or program activity;
       (ii)    the level of confidence required by the agency to ensure that the agency objective(s)
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               has/have been achieved, weighing the risk of non-compliance and its associated
               consequences with the anticipated costs of demonstrating compliance (including time
               and resources) to the producers, suppliers, consumers, and the agency;
        (iii) whether there are existing private sector conformity assessment activities, acceptance
               schemes or arrangements, that may work in conjunction with or, where appropriate, in
               lieu of governmental conformity assessment activities, except where such activities
               are inconsistent with law, unfit for regulatory or other agency purpose, or otherwise
               impractical;
        (iv) their consistency with statutory and international obligations;
        (v) consideration of the available scientific and technical information, as relevant to the
               selection of the appropriate conformity assessment program;
        (vi) relevant industry practice and experience, and the industry’s history of compliance;
        (vii) the need to reduce duplication and complexity, and ensure consistency and
               coordination with the conformity assessment approaches of other agencies, where
               feasible, appropriate, and consistent with law;6
        (viii) the appropriateness of recognizing the results of private sector conformity assessment
               programs being utilized in State, local, and/or foreign government regulation,
               consistent with subsection (iii); and
        (ix) the degree of transparency to stakeholders and the public of the conformity
               assessment activity.

b. Are there statutory and international obligations concerning conformity assessment?
   There are statutory and international obligations governing standards-related activities, which
   include conformity assessment procedures. In particular, agencies should be aware of the
   obligations in 19 U.S.C. § 2532, which provides that “[n]o Federal agency may engage in any
   standards-related activity that creates unnecessary obstacles to the foreign commerce of the
   United States…” and that “[e]ach Federal agency shall ensure, in applying standards-related
   activities with respect to any imported product, that such product is treated no less favorably
   than are like domestic or imported products…” Additionally, “[e]ach Federal agency shall, with
   respect to any conformity assessment procedure used by it, permit access for obtaining an
   assessment of conformity and the mark of the system, if any, to foreign suppliers of a product on
   the same basis as access is permitted to suppliers of like products, whether of domestic or other
   foreign origin.” 19 U.S.C. § 2532(4). Conformity assessment requirements and procedures are
   also subject to the WTO TBT Agreement, which requires the United States to ensure it does not
   prepare, adopt, or apply conformity assessment procedures with a view to, or with the effect of,
   creating unnecessary obstacles to international trade. Articles 5 through 9 of the WTO TBT
   Agreement set out detailed obligations on conformity assessment procedures falling within the
   scope of the WTO TBT Agreement, including the need to use relevant guides or
   recommendations issued by international standardizing bodies as a basis for conformity
   assessment procedures, except where ineffective or inappropriate, and to ensure that the
   conformity assessment procedures are not more strict or applied more strictly than necessary to
   give adequate assurance that products conform to applicable “technical regulations” or

6
  Pursuant to 15 C.F.R. § 287.1, your agency should work with NIST to “coordinate conformity assessment activities
with those of other appropriate government agencies and with those of the private sector to reduce unnecessary
duplication….This will help ensure more productive use of the increasingly limited Federal resources available to
conduct conformity assessment activities…” Consistent with 15 C.F.R. § 287.4, agencies should also “consider using
the results of other agencies’ conformity assessment procedures (see also Section 7e).”
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     standards, taking into account the risks non-conformity would create. Article 9.1 of the WTO
     TBT Agreement provides:

        Where a positive assurance of conformity with a technical regulation or standard is required,
        Members shall, whenever practical, formulate and adopt international systems for
        conformity assessment and become members thereof or participate therein.

     The United States has also undertaken additional commitments on conformity assessment in
     U.S. free trade agreements (FTA). These include a commitment not to discriminate against
     conformity assessment bodies located in the territories of U.S. FTA partners when it comes to
     accrediting, approving, licensing or otherwise recognizing conformity assessment bodies.
     Agencies are urged to consult with USTR on questions regarding international obligations
     regarding conformity assessment.

c. What obligations does my agency have when considering whether to use a conformity
   assessment procedure used by a trading partner? Agencies should use voluntary consensus
   standards and international guides and recommendations issued by international standardizing
   bodies in their conformity assessment procedures, as described in this Circular, including where
   such standards, guides and recommendations are used by a trading partner. In addition, Article
   6.1 of the WTO TBT Agreement obligates the United States (and other WTO members) to
   accept the results of conformity assessment procedures in other WTO member countries,
   provided it is satisfied that those procedures offer an assurance of conformity equivalent to its
   own procedures. U.S. free trade agreements may also have obligations with respect to
   recognition of trading partners’ conformity assessment procedures. Agencies should consult
   with USTR regarding compliance with these obligations. Agencies should consult with the
   Department of State in the case of other international obligations or to consider what other
   relevant international agreements may apply. Agencies should also examine how such use or
   recognition would impact the policy objectives set out in Executive Order 13609, “Promoting
   International Regulatory Cooperation.” An agency may have additional obligations to consider
   such procedures under Section 3(d) of Executive Order 13609.

d.   How does this policy affect my agency's regulatory authorities and responsibilities? This
     policy does not preempt or restrict agencies’ authorities and responsibilities to make regulatory
     decisions authorized by statute.

e.   When should my agency utilize the retrospective review mechanism with respect to
     conformity assessment? Pursuant to Executive Orders 13563, “Improving Regulation and
     Regulatory Review,” and 13610, “Identifying and Reducing Regulatory Burdens,” and 15
     C.F.R. § § 287.1 and 287.4, your agency should integrate meaningful review of its conformity
     assessment activities into its retrospective review plans on a periodic basis. Consistent with the
     NTTAA, this Circular (particularly Section 1), and NIST guidance, the review should evaluate
     alternative approaches to ensure that current conformity assessment schemes are effective and
     the burden on regulated entities is minimized.

     Agencies are encouraged to consider joint rulemaking to reduce redundancy, complexity, and
     the cumulative effects on the regulated public of needing to comply with different conformity
     assessment procedures where (1) agencies have the same or similar requirements for
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    conformity assessment for the same product/service attributes and (2) demonstrating
    compliance with one agency’s requirement is sufficient to demonstrate that a product or service
    attribute conforms to other agencies’ requirements for the same product or service attribute.
    Consistent with law and the need for agencies to maintain appropriate levels of protection, for
    example, in regulations affecting health, safety, and the environment, agencies should engage
    the regulated public and other stakeholders in public consultation as part of the retrospective
    review process described above before initiating such rulemakings.

8. How will the U.S. Government Coordinate Regulatory Policy with Standards and
   Conformity Assessment Policy?

   The Interagency Committee on Standards Policy (ICSP) shall coordinate with the Trade Policy
   Staff Committee (TPSC), its subcommittee on Technical Barriers to Trade, and the designees, or
   “Seconds,” of the Regulatory Working Group (Working Group) created by Executive Order
   12866, “Regulatory Planning and Review,” with a view to encouraging more strategic and
   coordinated Federal participation in the development and use of standards and in conformity
   assessment activities, in accordance with the objectives of the executive orders set out in Section
   1 of this Circular. USTR has responsibility under 19 U.S.C. §§ 2171 and 2541 for coordinating
   the consideration of international trade policy issues with respect to standards-related activities.

   While a primary focus of this Circular is to encourage agency reliance on voluntary consensus
   standards, OMB recognizes Federal agencies also participate in the development of other
   standards with standards bodies that do not have all of the attributes described in Section 2(e),
   as well as in regulatory collaboration initiatives and encourages such participation. Under
   Section 2(a) of Executive Order 13609, “Promoting International Regulatory Cooperation,” and
   subject to Section 6 of that order, the Working Group serves “as a forum to discuss, coordinate,
   and develop a common understanding among agencies of U.S. Government positions and
   priorities with respect to: (A) international regulatory cooperation activities that are reasonably
   anticipated to lead to significant regulatory actions; . . .” Moreover, under Section 3(a) of
   Executive Order 13609, “if required to submit a Regulatory Plan pursuant to Executive Order
   12866, [each agency shall] include in that plan a summary of its international regulatory
   cooperation activities that are reasonably anticipated to lead to significant regulations, with an
   explanation of how these activities advance the purposes of Executive Order 13563 and
   [Executive Order 13609].” Regular discussions between the Working Group Seconds and the
   ICSP, as well as the TPSC, its subcommittee on Technical Barriers to Trade, and any other
   relevant interagency groups or committees, will help to coordinate U.S. Government activities
   relating to standards and conformity assessment, as well as regulation.

MANAGEMENT AND REPORTING OF STANDARDS USE


9. How Does My Agency Manage and Report on the Implementation of the Circular?

   Your agency should establish a process to identify, manage, and review your agency's activities
   pursuant to the guidance in this Circular. At minimum, your agency must have the ability to
   provide to OMB, through NIST, (1) a report on the agency's use of government-unique standards
   in lieu of voluntary consensus standards, along with an explanation of the reasons for such
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   usage, as required by Section 12(d) of the NTTAA and as described in Section 5c of this
   Circular; and (2) a summary of your agency’s activities undertaken to carry out the provisions of
   this Circular. The summary should contain a link to the agency’s standards-specific website(s)
   where this information is available. This policy establishes two ways – category based reporting
   and transaction based reporting – for agencies to manage and report their use of standards. Your
   agency must report uses of government-unique standards in lieu of voluntary consensus
   standards in one or both ways, pursuant to the following guidance.

   As required by the NTTAA, your agency must report to NIST, no later than December 31 of
   each year, the decisions by your agency in the previous fiscal year to use government-unique
   standards in lieu of voluntary consensus standards. Your agency must include an explanation of
   the reason(s) why use of such voluntary consensus standards would be inconsistent with
   applicable law or otherwise impractical, as described in Sections 5c, 10a(ii), and 11b(ii) of this
   Circular. Your agency must report in accordance with the instructions issued by NIST.

   NIST must maintain the reports received on http://www.nist.gov/standardsgov/ and will report
   the use of government-unique standards in lieu of voluntary consensus standards, along with the
   agency’s explanations for such use, to OMB on an annual basis.

10. What are the Procedures for Reporting My Agency's Use of Standards in Regulations?

   Your agency should use transaction based reporting – that is, report on each use of a
   government-unique standard in lieu of a voluntary consensus standard – in your annual report to
   NIST if your agency issues regulations that use or reference standards. If your agency is issuing
   or revising a regulation that contains a standard, your agency should follow these procedures:

   a. Publish in the preamble of rulemaking notices what steps the agency is taking to follow and
      implement the Circular. Such information should include the following elements if
      applicable:

      (i)   When your agency is proposing or has decided to use a standard, provide a statement
            which identifies such standard and any alternative standards which have been
            identified.
      (ii) When your agency is proposing or has decided to use a government-unique standard in
            lieu of a voluntary consensus standard, provide a statement that identifies such
            standards and provide an explanation for why using the voluntary consensus standard
            would be inconsistent with law or otherwise impractical. Such explanation must be
            also included in the annual report.
      (iii) When your agency is proposing or has decided to use a government-unique standard
            and has not identified a voluntary consensus standard, your agency should include a
            statement to that effect in the preamble of the final rule or guidance document. For
            other rulemaking notices, your agency should invite the public to identify any standard
            and explain why your agency should use such a standard.


   b. For significant regulatory actions, agencies are also encouraged to include in their
      rulemaking notices a discussion in the regulatory preamble of the following elements:
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      (i)   which bodies or organizations the agency consulted with to determine whether there
            are relevant standards in use in the marketplace (or completion of relevant standards is
            imminent) or if standards that are currently incorporated by reference have been
            revised;
      (ii) whether agency officials are participating in the work of such bodies or organizations,
            along with a description of their roles;
      (iii) whether the agency has worked with relevant bodies or organizations to try to ensure
            that the standards meet agency needs, and a description of the agency’s interactions
            with the technical committees and/or technical advisory groups involved; and
      (iv) whether the agency has coordinated its positions in technical advisory groups or
            technical committees of such bodies or organizations with (1) other interested agencies
            that are or should be participating in such work and, (2) where appropriate, foreign
            regulatory agencies that are participating in such work, where the work is relevant to
            regulatory cooperation council work plans described in Section 3(d) of Executive
            Order 13609, “Promoting International Regulatory Cooperation.”

11. What are the Procedures for Reporting My Agency's Use of Standards in Procurements?

   Your agency must report on either a categorical basis or on a transaction basis to identify,
   manage, and review the standards used in your agency's procurements.

   a. How does my agency report the use of standards in procurements on a categorical
      basis? Your agency must use categorical based reporting when your agency identifies,
      manages, and reviews the use of standards by group or category. Category based reporting
      is especially useful when your agency either conducts large procurements or large numbers
      of procurements using government-unique standards, or is involved in long-term
      procurement contracts that require replacement parts based on government-unique
      standards. To report use of government-unique standards on a categorical basis, your
      agency must:

      (i)   maintain a centralized standards management system that identifies how your agency
            uses government-unique, voluntary consensus, and other standards;
      (ii) systematically review your agency's use of government-unique standards for
            conversion to voluntary consensus standards and, where appropriate, other standards;
      (iii) maintain records on the groups or categories for which your agency uses government-
            unique standards in lieu of voluntary consensus standards, including an explanation of
            the reasons for such use, which must be transmitted according to Sections 5c and 9;
            and
      (iv) enable potential offerors to suggest voluntary consensus standards and, where
            appropriate, other standards that can replace government-unique standards.

   b. How does my agency report the use of standards in procurements on a transaction
      basis? Your agency should report on a transaction basis when your agency identifies,
      manages, and reviews the use of standards on a transaction basis rather than a category
      basis. Transaction-based reporting is especially useful when your agency conducts
      procurement involving mostly commercial products and services, but is occasionally
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       involved in a procurement involving government-unique standards. To report use of
       government-unique standards on a transaction basis, your agency must follow the following
       procedures:

       (i)    in each solicitation that references government-unique standards, the solicitation must
              identify such standards and provide potential offerors an opportunity to suggest
              alternative voluntary consensus standards (or, where appropriate, other standards) that
              meet the agency's requirements; and
       (ii)   if such suggestions are made and the agency decides to use government-unique
              standards in lieu of voluntary consensus standards, the agency must explain in its
              annual report to OMB through NIST, as described in Sections 5c and 9, why using
              such voluntary consensus standards is inconsistent with applicable law or otherwise
              impractical.

       The requirements in this Section do not apply to those solicitations that are for: (1)
       commercial-off-the-shelf products (COTS), (2) products or services that rely on voluntary
       consensus standards or other standards, or (3) products that otherwise do not rely on
       government-unique standards.


  AGENCY RESPONSIBILITIES


12. What are the Responsibilities of the Secretary of Commerce?

   The Secretary of Commerce:

   a. coordinates and fosters executive branch implementation of this Circular and, as
      appropriate, provides administrative guidance to assist agencies in implementing this
      Circular, including guidance on identifying voluntary consensus standards bodies and
      voluntary consensus standards;
   b. sponsors and supports the ICSP, chaired by NIST, which considers agency views and
      advises the Secretary and agency heads on the Circular;
   c. reports to the Director of OMB concerning the implementation of the policy provisions of
      this Circular; and
   d. issues guidance to the agencies to improve coordination on conformity assessment in
      accordance with Section 7 of this Circular.

13. What are the Responsibilities of the Heads of Agencies?

   The Heads of Agencies:
   a. implement the policies of this Circular in accordance with the procedures described;
   b. ensure agency compliance with the policies of the Circular is a top priority and implement
      appropriate organizational changes as necessary to achieve such compliance;
   c. in the case of an agency that uses standards for regulatory, procurement, or other mission-
      related activities, designate a senior level official as the Agency Standards Executive who

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      will be responsible for the agency's implementation of this Circular, including the
      responsibilities outlined in 15 C.F.R. 287.5; represent the agency on the ICSP; and be
      situated in the agency’s organizational structure such that he or she is kept regularly apprised
      of the agency’s regulatory, procurement, and other mission-related activities and has
      sufficient authority within the agency to ensure compliance with the Circular; and
   d. transmit the annual report prepared by the Agency Standards Executive as described in
      Section 9 of this Circular.

14. What are the Qualifications and Responsibilities of Agency Standards Executives?

   An Agency Standards Executive, consistent with applicable law:

   a. Should be a senior level official; have demonstrated knowledge of, and experience in, the
      areas of standards, standardization processes and procedures, and conformity assessment; be
      broadly engaged in the agency’s standards and conformity assessment related activities so as
      to ensure intra-agency coordination; and be broadly familiar with how the agency uses
      standards and conformity assessment in its mission and how it participates in activities of
      standards bodies and conformity assessment systems, including international systems of
      conformity assessment.

   b. Promotes the following goals in the context of agency participation in the work of standards
      bodies and in conformity assessment activities:

      (i)   effective use of agency resources and participation in standards bodies;
      (ii)  the development of agency positions that are in the public interest and are coordinated
            across units;
      (iii) the development of agency positions that are consistent with Administration policy;
      (iv) the development of agency technical and policy positions that are clearly defined and
            coordinated with other Federal participants in a given standards activity; and
      (v) the development of agency policies on conformity assessment to implement the
            provisions of Section 7 of this Circular, consistent with 15 C.F.R. § 287.

   c. Coordinates the agency’s participation in standards bodies by:

      (i)   establishing procedures to ensure that agency representatives who participate in
            standards bodies will, to the extent possible, ascertain the views of the agency on
            matters of paramount interest and express views and positions that are not inconsistent
            or in conflict with established agency views and positions;
      (ii) consulting other relevant agencies, as appropriate, to avoid to the extent practicable
            expressing views or positions in standards bodies that are inconsistent or in conflict
            with established views or positions of such other agencies;
      (iii) ensuring that the agency's participation in standards bodies is consistent with agency
            missions, authorities, priorities, and budget resources;
      (iv) coordinating with standards bodies, and notifying such bodies when the agency has
            incorporated their standards by reference in regulation;
      (v) ensuring, when two or more agencies participate in a given standards activity, that they
            coordinate their views on matters of paramount importance so as to present, whenever
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             feasible, a single, unified position and, where not feasible, a mutual recognition of
             differences;
      (vi) cooperating with the head of the agency or his or her designee in carrying out his or
             her responsibilities under this Circular;
      (vii) consulting with the head of the agency or his or her designee, as necessary, in the
             development and issuance of internal agency procedures and guidance implementing
             this Circular;
      (viii) preparing, as described in Sections 9 through 11 of this Circular, a report on uses of
             government-unique standards in lieu of voluntary consensus standards, and a report
             on the status of agency standards policy activities;
      (ix) establishing a process for ongoing review of the agency’s use of standards for
             purposes of updating or substituting, pursuant to Section 5m;
      (x) coordinating with appropriate agency offices (e.g., budget and legal offices) to ensure
             that effective processes exist for the review of proposed agency support for, and
             participation in, standards bodies, so that agency support and participation will comply
             with applicable laws and regulations;
      (xi) making agency employees aware of available standards training opportunities and
             providing training (consistent with an agency’s budgetary and other considerations) for
             agency employees participating in standards and conformity assessment activities so
             that participation is effective, efficient, and in keeping with the rules of the
             organizations in which they are participating;
      (xii) providing ongoing assistance and policy guidance to agency employees and managers
             on significant issues in standardization and conformity assessment; and
      (xiii) coordinating with the TPSC TBT Subcommittee or other relevant TPSC
             subcommittees on the trade implications of standardization.

   d. Ensures that agency rulemaking, procurement, and other programmatic activities are
      consistent with this Circular by, for example:

      (i)   providing ongoing assistance, training, and policy guidance to agency employees and
            managers on the Circular;
      (ii) being engaged in the development of the agency’s rulemakings, procurements, and
            other programmatic activities that have a standards and/or conformity assessment
            component and providing advice on compliance with the Circular; and
      (iii) participating in the ICSP and consulting on a regular basis with NIST, other Agency
            Standards Executives, USTR (and, if applicable, your agency’s representatives to the
            relevant subcommittee of the TPSC), and the desk officer for your agency in OMB’s
            OIRA.

  SUPPLEMENTARY INFORMATION


15. When Will This Circular Be Reviewed?

   This Circular will be reviewed for effectiveness no later than five years from the date of
   issuance.

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16. What Is the Legal Effect of This Circular?

   This Circular is not intended to delay the administrative process, and this Circular does not
   provide new grounds for judicial review, or create new rights or benefits, substantive or
   procedural, enforceable at law or equity by a party against the United States, its agencies or
   instrumentalities, or its officers or employees. Authority for this Circular is based on 31 U.S.C.
   § 1111, which gives OMB broad authority to establish policies for the improved management of
   the Executive Branch. This Circular is intended to implement section 12(d) of the NTTAA (15
   U.S.C. § 272 note) and other instruments set out in Section 1 of the Circular; establish policies
   that will improve the internal management of the Executive Branch; and, in so doing, improve
   regulatory and other policy outcomes.

17. Do You Have Further Questions?

   For information concerning this Circular, contact the Office of Management and Budget, Office
   of Information and Regulatory Affairs at CircularA-119@omb.eop.gov.




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                                            ANNEX A


Decision Of The Committee On Principles For The Development Of International
Standards, Guides And Recommendations With Relation To Articles 2, 5 And Annex 3
Of The Agreement

Decision7

The following principles and procedures should be observed, when international standards, guides
and recommendations (as mentioned under Articles 2, 5 and Annex 3 of the TBT Agreement for the
preparation of mandatory technical regulations, conformity assessment procedures and voluntary
standards) are elaborated, to ensure transparency, openness, impartiality and consensus,
effectiveness and relevance, coherence, and to address the concerns of developing countries.

The same principles should also be observed when technical work or a part of the international
standard development is delegated under agreements or contracts by international standardizing
bodies to other relevant organizations, including regional bodies.


Transparency

All essential information regarding current work programmes, as well as on proposals for standards,
guides and recommendations under consideration and on the final results should be made easily
accessible to at least all interested parties in the territories of at least all WTO Members. Procedures
should be established so that adequate time and opportunities are provided for written comments.
The information on these procedures should be effectively disseminated.

In providing the essential information, the transparency procedures should, at a minimum, include:

         (a) The publication of a notice at an early appropriate stage, in such a manner as to enable
             interested parties to become acquainted with it, that the international standardizing body
             proposes to develop a particular standard;

         (b) The notification or other communication through established mechanisms to
             members of the international standardizing body, providing a brief description of the
             scope of the draft standard, including its objective and rationale. Such
             communications shall take place at an early appropriate stage, when amendments can
             still be introduced and comments taken into account;

         (c) Upon request, the prompt provision to members of the international standardizing body
             of the text of the draft standard;

         (d) The provision of an adequate period of time for interested parties in the territory of at
             least all members of the international standardizing body to make comments in writing

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     G/TBT/9, 13 November 2000, para. 20 and Annex 4.
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           and take these written comments into account in the further consideration of the
           standard;

       (e) The prompt publication of a standard upon adoption; and

       (f) To publish periodically a work programme containing information on the standards
           currently being prepared and adopted.

It is recognized that the publication and communication of notices, notifications, draft standards,
comments, adopted standards or work programmes electronically, via the Internet, where feasible,
can provide a useful means of ensuring the timely provision of information. At the same time, it is
also recognized that the requisite technical means may not be available in some cases, particularly
with regard to developing countries. Accordingly, it is important that procedures are in place to
enable hard copies of such documents to be made available upon request.

Openness

Membership of an international standardizing body should be open on a non- discriminatory basis to
relevant bodies of at least all WTO Members. This would include openness without discrimination
with respect to the participation at the policy development level and at every stage of standards
development, such as the:

       (a) Proposal and acceptance of new work items;

       (b) Technical discussion on proposals;

       (c) Submission of comments on drafts in order that they can be taken into account;

       (d) Reviewing existing standards;

       (e) Voting and adoption of standards; and

       (f) Dissemination of the adopted standards.

Any interested member of the international standardizing body, including especially
developing country Members, with an interest in a specific standardization activity should be
provided with meaningful opportunities to participate at all stages of standard development. It is
noted that with respect to standardizing bodies within the territory of a WTO Member that have
accepted the Code of Good Practice for the Preparation, Adoption and Application of Standards by
Standardizing Bodies (Annex 3 of the TBT Agreement) participation in a particular international
standardization activity takes place, wherever possible, through one delegation representing all
standardizing bodies in the territory that have adopted, or expected to adopt, standards for the
subject-matter to which the international standardization activity relates. This is illustrative of the
importance of participation in the international standardizing process accommodating all relevant
interests.

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Impartiality and Consensus

All relevant bodies of WTO Members should be provided with meaningful opportunities to
contribute to the elaboration of an international standard so that the standard development process
will not give privilege to, or favour the interests of, a particular supplier/s, country/ies or region/s.
Consensus procedures should be established that seek to take into account the views of all parties
concerned and to reconcile any conflicting arguments.

Impartiality should be accorded throughout all the standards development process with respect to,
among other things:

        (a) Access to participation in work;

        (b) Submission of comments on drafts;

        (c) Consideration of views expressed and comments made;

        (d) Decision-making through consensus;

        (e) Obtaining of information and documents;

        (f) Dissemination of the international standard;

        (g) Fees charged for documents;

        (h) Right to transpose the international standard into a regional or national standard; and

        (i) Revision of the international standard.

Effectiveness and Relevance

In order to serve the interests of the WTO membership in facilitating international trade and
preventing unnecessary trade barriers, international standards need to be relevant and to effectively
respond to regulatory and market needs, as well as scientific and technological developments in
various countries. They should not distort the global market, have adverse effects on fair
competition, or stifle innovation and technological development. In addition, they should not give
preference to the characteristics or requirements of specific countries or regions when different
needs or interests exist in other countries or regions. Whenever possible, international standards
should be performance based rather than based on design or descriptive characteristics.

Accordingly, it is important that international standardizing bodies:

        (a) Take account of relevant regulatory or market needs, as feasible and appropriate, as well
            as scientific and technological developments in the elaboration of standards;
        (b) Put in place procedures aimed at identifying and reviewing standards that have become
            obsolete, inappropriate or ineffective for various reasons; and
        (c) Put in place procedures aimed at improving communication with the World Trade
                                                   42

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           Organization.

Coherence

In order to avoid the development of conflicting international standards, it is important that
international standardizing bodies avoid duplication of, or overlap with, the work of other
international standardizing bodies. In this respect, cooperation and coordination with other relevant
international bodies is essential.

Development Dimension

Constraints on developing countries, in particular, to effectively participate in standards
development, should be taken into consideration in the standards development process. Tangible
ways of facilitating developing countries' participation in international standards development
should be sought. The impartiality and openness of any international standardization process
requires that developing countries are not excluded de facto from the process. With respect to
improving participation by developing countries, it may be appropriate to use technical assistance,
in line with Article 11 of the TBT Agreement. Provisions for capacity building and technical
assistance within international standardizing bodies are important in this context.




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                                                                                                                                                             Friday, November 7, 2014



                                             This section of the FEDERAL REGISTER                    of the Federal Register, at Fedreg.legal@               regulations were first issued require that
                                             contains regulatory documents having general            nara.gov, or 202–741–6030.                              material IBR’d into the CFR be available
                                             applicability and legal effect, most of which           SUPPLEMENTARY INFORMATION: The Office                   online and free of charge.
                                             are keyed to and codified in the Code of                                                                           The petition further suggested that
                                                                                                     of the Federal Register (OFR or we)
                                             Federal Regulations, which is published under                                                                   our regulations need to apply at the
                                             50 titles pursuant to 44 U.S.C. 1510.
                                                                                                     published a request for comments on a
                                                                                                     petition to revise our regulations at 1                 proposed rule stage of agency
                                             The Code of Federal Regulations is sold by              CFR part 51 1 (part 51). The petition                   rulemaking projects and that the
                                             the Superintendent of Documents. Prices of              specifically requested that we amend                    National Technology Transfer and
                                             new books are listed in the first FEDERAL               our regulations to: (1) Define                          Advancement Act of 1995 (NTTAA) and
                                             REGISTER issue of each week.                            ‘‘reasonably available’’ and (2) include                the Office of Management and Budget’s
                                                                                                     several requirements related to the                     (OMB) Circular A–119 distinguish
                                                                                                     statutory obligation that material                      between regulations that require use of
                                             OFFICE OF THE FEDERAL REGISTER                          incorporated by reference (IBR) be                      a particular standard and those that
                                                                                                     reasonably available. Our original                      ‘‘serve to indicate that one of the ways
                                             1 CFR Part 51                                           request for comments had a 30-day                       in which a regulation can be met is
                                             [Docket Number: OFR–2013–0001]                          comment period. After requests from                     through use of a particular standard
                                                                                                     several interested parties, we extended                 favoring the use of standards as non-
                                             RIN 3095–AB78                                           the comment period until June 1, 2012.2                 binding ways to meet compliance.’’ 7 In
                                                                                                        Our current regulations require that                 addition, the petition argued that Veeck
                                             Incorporation by Reference                              agencies provide us with the materials                  v. S. Bldg. Code Cong. Int’l, 293 F.3d
                                                                                                     they wish to IBR. Once we approve an                    791 (5th Cir. 2002) casts doubt on the
                                             AGENCY: Office of the Federal Register,
                                                                                                     IBR request, we maintain the IBR’d                      legality of charging for standards IBR’d.
                                             National Archives and Records                           materials in our library until they are                 Finally, the petition stated that in the
                                             Administration.                                         accessioned to the National Archives                    electronic age the benefits to the federal
                                             ACTION: Final rule.                                     and Records Administration (NARA)                       government are diminished by
                                                                                                     under our records schedule).3 NARA                      electronic publication as are the benefits
                                             SUMMARY: In this document, we are
                                                                                                     then maintains this material as                         to the members of the class affected if
                                             revising our regulations on                             permanent Federal records.
                                             incorporation by reference to require                                                                           they have to pay high fees to access the
                                                                                                        We agreed that our regulations needed                standards. Thus, agencies should at
                                             that agencies seeking the Director of the               to be updated and published a proposed
                                             Federal Register’s approval of their                                                                            least be required to demonstrate how
                                                                                                     rule on October 2, 2013.4 However, we                   they tried to contain those costs.
                                             incorporation by reference requests add                 stated that the petitioners’ proposed
                                             more information regarding materials                                                                               The petitioners proposed regulation
                                                                                                     changes to our regulations go beyond                    text to enact their suggested revisions to
                                             incorporated by reference to the                        our statutory authority. The petitioners
                                             preambles of their rulemaking                                                                                   part 51. The petitioners’ regulation text
                                                                                                     contended that changes in technology,                   would require agencies to demonstrate
                                             documents. Specifically, agencies must                  including our new Web site
                                             set out, in the preambles of their                                                                              that material proposed to be IBR’d in the
                                                                                                     www.federalregister.gov, along with                     regulation text was available throughout
                                             proposed and final rules, a discussion of               electronic Freedom of Information Act 5
                                             the actions they took to ensure the                                                                             the comment period: (1) In the Federal
                                                                                                     (E–FOIA) reading rooms, have made the                   Docket Management System (FDMS) in
                                             materials are reasonably available to                   print publication of the Federal Register
                                             interested parties and that they                                                                                the docket for the proposal or interim
                                                                                                     unnecessary. They also suggested that                   rule; (2) on the agency’s Web site or; (3)
                                             summarize the contents of the materials                 the primary, original reason for allowing
                                             they wish to incorporate by reference.                                                                          readable free of charge on the Web site
                                                                                                     IBR was to limit the amount of material                 of the voluntary standards organization
                                             DATES: This rule is effective January 6,                published in the Federal Register and                   that created it during the comment
                                             2015.                                                   Code of Federal Regulations (CFR).6 The                 period of a proposed rule or interim
                                             ADDRESSES: You may find information                     petitioners argued that with the advent                 rule. The petition suggested revising
                                             on this rulemaking docket at Federal                    of the Internet and online access our                   § 51.7—’’What publications are
                                             eRulemaking Portal: http://                             print-focused regulations are out of date               eligible’’—to limit IBR eligibility only to
                                             www.regulations.gov. Docket materials                   and obsolete. The petition then stated                  standards that are available online for
                                             are also available at the Office of the                 that statutory authority and social                     free by adding a new (c)(3) that would
                                             Federal Register, 800 North Capitol                     development since our current                           ban any standard not available for free
                                             Street NW., Suite 700, Washington, DC                                                                           from being IBR’d. It also appeared to
                                             20002, 202–741–6030. Please contact                       1 77 FR 11414 (February 27, 2012).
                                                                                                                                                             revise § 51.7(a)(2) to include documents
                                                                                                       2 77 FR 16761 (March 22, 2012).
                                             the persons listed in the FOR FURTHER                                                                           that would otherwise be considered
                                                                                                       3 http://www.archives.gov/federal-register/cfr/ibr-
                                             INFORMATION CONTACT section to                                                                                  guidance documents. And, it would
                                                                                                     locations.html last visited August 11, 2014.
                                             schedule your inspection of docket                                                                              revise § 51.7(b) to limit our review of
rmajette on DSK2VPTVN1PROD with RULES




                                                                                                       4 78 FR 60784 (October 2, 2013). We extended the
                                             materials. The Office of the Federal                    comment period on this proposal until January 31,       agency-created materials to the question
                                             Register’s official hours of business are               2014. See, 78 FR 69006 (November 18, 2013) and          of whether the material is available
                                             Monday through Friday, 8:45 a.m. to                     78 FR 69594 (November 20, 2013).
                                                                                                       5 Public Law 104–231 (1996).
                                                                                                                                                             online. The petition would then revise
                                             5:15 p.m., excluding Federal holidays.                    6 In fact, agencies were incorporating material by    § 51.9 to distinguish between required
                                             FOR FURTHER INFORMATION CONTACT:                        reference long before we were assigned the task of
                                             Miriam Vincent, Staff Attorney, Office                  normalizing the process.                                 7 NARA–12–0002–0002.




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                                                                                                                           A-44
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                                             standards and those that could be used                  This runs counter to the central                agencies may decide to request approval
                                             to show compliance with a regulatory                    publication system for Federal                  for different standards at the final rule
                                             requirement. Finally, the petition would                regulations envisioned by Congress              stage based on changed circumstances,
                                             add a requirement that, in the electronic               when it enacted the FRA and the APA.10          including public comments on the
                                             version of a regulation, any material                      Finally, the petition didn’t address         NPRM, requiring a new approval at the
                                             IBR’d into that regulation be                           the enforcement of these provisions.            final rule stage. Or, agencies could
                                             hyperlinked.                                            Agencies have the expertise on the              decide to withdraw the NPRM. These
                                                The petitioners wanted us to require                 substantive matters addressed by the            factors make review and approval at the
                                             that: (1) All material IBR’d into the CFR               regulations. To remove or suspend the           proposed rule stage impractical.
                                             be available for free online; and (2) the               regulations because the IBR’d material is          In our discussion of the copyright
                                             Director of the Federal Register (the                   no longer available online would create         issues raised by the petitioners and
                                             Director) include a review of all                       a system where the only determining             commenters, we noted that recent
                                             documents that agencies list in their                   factor for using a standard is whether it       developments in Federal law, including
                                             guidance, in addition to their                          is available for free online. This would        the Veeck decision 14 and the
                                             regulations, as part of the IBR approval                minimize and undermine the role of the          amendments to FOIA, and the NTTAA
                                             process. We find these requirements go                  Federal agencies who are the                    have not eliminated the availability of
                                             beyond our statutory authority. Nothing                 substantive subject matter experts and          copyright protection for privately
                                             in the Administrative Procedure Act                     who are better suited to determine what         developed codes and standards
                                             (APA) (5 U.S.C. chapter 5), E–FOIA, or                  standard should be IBR’d into the CFR           referenced in or incorporated into
                                             other statutes specifically address this                based on their statutory requirements,          federal regulations. Therefore, we
                                             issue. If we required that all materials                the entities they regulate, and the needs       agreed with commenters who said that
                                             IBR’d into the CFR be available for free,               of the general public.                          when the Federal government references
                                             that requirement would compromise the                      Additionally, the OFR’s mission              copyrighted works, those works should
                                             ability of regulators to rely on voluntary              under the FRA is to maintain orderly            not lose their copyright. However, we
                                             consensus standards, possibly requiring                 codification of agency documents of             believed the responsible government
                                             them to create their own standards,                     general applicability and legal effect.11       agency should collaborate with the
                                             which is contrary to the NTTAA and the                  As set out in the FRA and the                   standards development organizations
                                             OMB Circular A–119.                                     implementing regulations of the                 (SDOs) and other publishers of IBR’d
                                                Further, the petition didn’t address                 Administrative Committee of the                 materials, when necessary, to ensure
                                             the Federal Register Act (FRA) (44                      Federal Register (ACFR) (found in 1             that the public does have reasonable
                                             U.S.C. chapter 15), which still requires                CFR chapter I), only the agency that            access to the referenced documents.
                                             print publication of both the Federal                   issues the regulations codified in a CFR
                                             Register and the CFR, or 44 U.S.C. 4102,                                                                Therefore, we proposed in the NPRM to
                                                                                                     chapter can amend those regulations. If         require that agencies discuss how the
                                             which allows the Superintendent of                      an agency took the IBR’d material
                                             Documents to charge a reasonable fee                                                                    IBR’d standards are reasonably available
                                                                                                     offline, OFR could only add an editorial        to commenters and to regulated entities.
                                             for online access to the Federal                        note to the CFR explaining that the
                                             electronic information, including the                                                                   One way to make standards reasonably
                                                                                                     IBR’d material was no longer available          available, if they aren’t already, is to
                                             Federal Register.8 The petition                         online without charge. We could not
                                             suggested that the Director monitor                                                                     work with copyright holders.
                                                                                                     remove the regulations or deny agencies
                                             proposed rules to ensure that the                                                                          We also proposed to review agency
                                                                                                     the ability to issue or revise other
                                             material proposed to be IBR’d is                                                                        NPRMs to ensure that the agency
                                                                                                     regulations. Revising our regulations as
                                             available during the comment period of                                                                  provides either: (1) An explanation of
                                                                                                     proposed by the petition would simply
                                             a proposed rule. Then, once a rule is                                                                   how it worked to make the proposed
                                                                                                     add requirements that could not be
                                             effective, we monitor the agency to                                                                     IBR’d material reasonably available to
                                                                                                     adequately enforced and thus, likely
                                             ensure that the IBR’d materials remain                                                                  commenters or; (2) a summary of the
                                                                                                     wouldn’t be complied with by agencies.
                                             available online. This requirement that                    In our document announcing that we           proposed IBR’d material. We proposed
                                             OFR continue monitoring agency rules                    received a petition to revise our               that agencies include a discussion in
                                             is well beyond the current resources                    regulations in part 51, we specifically         their final rule preambles regarding the
                                             available to this office.                               requested comments on nine issues.12            ways it worked to make the
                                                As for the petition’s limitation on                  We received comments on each of those           incorporated materials available to
                                             agency-created material, the Freedom of                 issues and addressed them in our                interested parties. We stated that this
                                             Information Act (FOIA), at 5 U.S.C.                     NPRM.13                                         process would not unduly delay
                                             552(a) (section 552(a)), mandates                          In our NPRM, we stated our concerns          publication of agency NPRMs or Final
                                             approval by the Director of material                    regarding several of the petitioners’           Rules and did not go beyond OFR’s
                                             proposed for IBR to safeguard the                       suggested revisions to our regulations.         statutory authority.
                                             Federal Register system. Thus, OFR                      We stated that while OFR does have the             Several commenters were concerned
                                             regulations contain a provision that                    authority to review NPRMs to ensure             that our NPRM didn’t go far enough—
                                             material IBR’d must not detract from the                our publication requirements are met, a         specifically noting that the proposed
                                             legal and practical attributes of that                  substantive review of IBR’d materials           rule wouldn’t require agencies to
                                             system.9 An implied presumption is                      referenced in a proposed rule, as               provide free access to standards
                                             that material developed and published                   implied by the petition, is beyond our          incorporated by reference into the CFR.
                                             by a Federal agency is inappropriate for                authority and resources. We also noted          The issue of ‘‘reasonable availability’’
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                                             IBR by that agency, except in limited                   that the OFR has not reviewed IBR’d             continued to elicit comments related to
                                             circumstances. Otherwise, the Federal                   material in NPRMs for approval because          the NPRM and we will discuss this
                                             Register and CFR could become a mere                                                                    issue, along with other comments,
                                             index to material published elsewhere.                    10 47 FR 34107 (August 6, 1982).              below.
                                                                                                       11 44 U.S.C. 1505 and 1510.
                                               8 See also 44 U.S.C. 4101.                              12 77 FR 11414 (February 27, 2012).             14 Veeck v. Southern Building Code Congress
                                               9 See also 44 U.S.C. 4101.                              13 78 FR 60784 (October 2, 2013).             International, Inc., 293 F.3d 791 (5th Cir. 2002).



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                                                Based on comments to our NPRM, we                    approval procedures.21 These proposals          to determine who is within the class of
                                             have modified the regulation text                       were not challenged on this issue, so the       persons affected by a regulation or
                                             slightly so that we now require that if                 final rules removing regulations from           regulatory program on a case-by-case
                                             agencies seek the Director’s approval of                the ACFR chapter and establishing a             basis to respond to specific situations.
                                             an IBR request, they must set out the                   new chapter for the Director were
                                                                                                                                                     Reasonably Available
                                             following information in the preambles                  published on November 4, 1972 at 37
                                             of their rulemaking documents: (1)                      FR 23602 and 23614, respectively. Thus,            Several commenters agreed with the
                                             Discussions of how the materials are                    it is appropriate for the Director, not the     petitioners that reasonably available
                                             reasonably available and, if they aren’t,               ACFR, to issue the regulations found in         means for free to anyone online, but
                                             the actions the agency took to make the                 1 CFR part 51.                                  they provided little or no additional
                                             materials reasonably available to                          As for this commenter’s concerns             comment on this point. Many of the
                                             interested parties and; (2) summaries of                regarding following the rulemaking              SDOs supported our proposal and
                                             the content of the materials the agencies               requirements, we believe that we have           discussed how they are already
                                             wish to IBR.                                            followed the proper rulemaking                  providing access to their standards that
                                                                                                     procedures as we are required to do and         have been IBR’d. One commenter who
                                             Discussion of Comments
                                                                                                     that we have taken into consideration           supported our NPRM noted that
                                             Authority of the Director To Issue                      the impact of our revisions on both             reasonably available was highly content-
                                             Regulations Regarding IBR                               federal agencies and the public.                driven and felt the agency issuing the
                                                One commenter again alleged that the                 Class of Persons Affected                       rule should ensure that the standards
                                             OFR does not have the proper authority                                                                  are reasonably available.24 Another
                                                                                                        A few commenters suggested that we           agreed with our proposal, stating that
                                             to amend the regulations in 1 CFR part
                                                                                                     define ‘‘class of persons affected’’ to         agency subject matter experts are suited
                                             51.15 As we stated in the NPRM, we
                                                                                                     mean all interested parties. At least one       to determine if a standard should be
                                             disagree with the commenter. Because
                                                                                                     commenter claimed that section 552(a)’s         IBR’d.25
                                             section 552(a) specifically states that the
                                                                                                     reference to ‘‘class of persons affected’’         However, some commenters alleged
                                             Director will approve agency requests
                                                                                                     is broader than just those who must             that the only way for OFR to meet its
                                             for IBR and that material IBR’d is not set
                                                                                                     comply with the regulation—that it              statutory obligation was to deny IBR
                                             out in regulatory text, the Director has
                                             the sole authority to issue regulations                 includes anyone with a ‘‘stake in the           approval for all standards there were not
                                             governing the IBR-approval request                      content of the IBR materials.’’ 22 The          available for free online. A couple of
                                             procedures. We have maintained this                     commenter based this claim on the               commenters modified their stance and
                                             position since the IBR regulations were                 phrase in the undesignated paragraph,           claimed that OFR has a duty to deny
                                             first issued in the 1960’s.                             which provides that if the document             IBR approval for all standards that were
                                                The regulations on the IBR approval                  doesn’t publish in the Federal Register         not available at no cost to all interested
                                             process were first issued by the Director               and the person doesn’t have actual              persons. Another suggested that,
                                             in 1967 and found at 1 CFR part 20.16                   notice of the document that person may          because of the internet, reasonably
                                             Even though this part was within the                    be ‘‘adversely affected’’ by the agency         available ‘‘with respect to the law must
                                             ACFR’s CFR chapter, the preamble to                     document. This commenter claimed that           now be understood to mean available
                                             the document stated ‘‘the Director of the               this provision, along with the provision        with not more than the minimal cost or
                                             Federal Register hereby establishes                     in 5 U.S.C. 702 (allowing persons who           effort required to travel to a public or
                                             standards and procedures governing his                  have been ‘‘adversely affected’’ by an          government depository library.’’ 26
                                             approval of instances of incorporation                  agency action to seek judicial review),            One commenter commented generally
                                             by reference.’’ 17 And, while these                     demonstrates that ‘‘class of persons            on the U.S. tradition to provide
                                             regulations appeared in the ACFR’s CFR                  affected,’’ as stated in the provision          ‘‘inexpensive and widespread access to
                                             chapter, this final rule was issued and                 allowing IBR, should be read more               the law.’’ 27 This tradition is tied to the
                                             signed solely by the Director. These                    broadly ‘‘to require availability to those      current Administration’s goal of
                                             regulations were later republished,                     simply ‘affected’ by the terms of the           transparency and accountability. This
                                             along with the entire text of Chapter I,                incorporated material.’’ 23                     commenter further stated that the
                                             by the ACFR in 1969; 18 however the                        However, the IBR provision contains          government’s decision to regulate by
                                             ACFR stated that the republication                      a slight language change that modifies          incorporating expensive standards into
                                             contained no substantive changes to the                 ‘‘affected’’ by adding the phrase ‘‘class       regulations is similar to charging filing
                                             regulations. In 1972, the ACFR proposed                 of persons.’’ This addition could be read       fees and poll taxes and sends a
                                             a major substantive revision of Chapter                 as an indication that the IBR material          damaging message to the public. Other
                                             I.19 In that proposed rule, the ACFR                    must be reasonably available to those           commenters suggested that our proposal
                                             proposed removing the IBR regulations                   who must directly comply with the               unlawfully delegates the reasonably
                                             from Chapter I because ‘‘part 20. . . is                regulation. Under the statute, it is            available determination to agencies. At
                                             a regulation of the Director of the                     acceptable to have material reasonably          least one commenter stated that OFR is
                                             Federal Register rather than the                        available beyond the class of persons           bound by statute to ensure that
                                             Administrative Committee.’’ 20 In that                  affected but it is not required.                materials are reasonably available
                                             same issue of the Federal Register, the                    We continue to have concerns that            ‘‘regardless of the effect on the use of
                                             Director issued a proposed rule                         any definition will fail because it is          voluntary standards.’’ 28
                                             proposing to establish a new Chapter II                 either too broad to be meaningful or too
                                                                                                                                                        Two other commenters vehemently
                                             in Title 1 of the CFR that governed IBR                 restrictive to capture a total class.
                                                                                                                                                     argued that in order to be reasonably
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                                                                                                     Therefore we decline to define the
                                               15 OFR–2013–0001–0027.                                phrase ‘‘class of persons affected.’’            24 OFR–2013–0001–0030.
                                               16 32 FR 7899 (June 1, 1967).                         Thus, agencies maintain the flexibility          25 OFR–2013–0001–0038.
                                               17 Id.                                                                                                 26 OFR–2013–001–0029 at page 5.
                                               18 34 FR 19106 at 19115 (December 2, 1969).             21 37 FR 6817 (April 4 1972).                   27 OFR–2013–0001–0036, see also OFR–2013–
                                               19 37 FR 6804 (April 4, 1972).                          22 OFR–2013–0001–0029 at page 13.             0001–0029.
                                               20 Id.                                                  23 OFR–2013–0001–0029 at page 13.               28 OFR–2013–0001–0037 at page 2.




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                                             available, IBR’d standards must be                      statutory criterion for IBR approval so                 agencies to discuss how IBR’d materials
                                             accessible to all interested parties.29                 all other considerations must be                        were made available to parties
                                             Both suggested that it is not enough to                 considered secondarily.32 This                          (including where those materials are
                                             have material available to be examined                  commenter went on to state that it is not               located) and to summarize those
                                             at the OFR. One commenter was                           enough that agencies are required to                    materials in the preambles of their
                                             concerned that our proposal merely asks                 simply announce the location of IBR’d                   rulemaking documents. We added the
                                             agencies how they worked with SDOs                      material.33 The commenter added that                    summary requirement, not as a
                                             and other publishers on the access                      our proposal won’t work, because                        replacement for access to the IBR’d
                                             issue.30 This commenter went on to                      requiring a summary of the standards in                 standard, but to give the public enough
                                             state that this requirement won’t                       the preamble does nothing for interested                information to know if they need access
                                             provide more consistent availability of                 parties 34 ‘‘and would simply represent                 to the standard. We believe the
                                             standards or ensure that the public has                 another wasteful check-off process in                   requirements set out in this rule provide
                                             enough information to submit an                         the Federal Register publication                        flexibility needed for agencies to
                                             effective comment. The commenter                        process.’’ 35                                           determine that IBR’d documents are
                                             expressed concern that agencies may, in                    It is unfortunate that this commenter                reasonably available.
                                             an effort to save money or time                         believed that the publication                              Some commenters made a distinction
                                             (negotiating with SDOs), decide that                    requirements of the ACFR and Director                   between reasonably available at
                                             despite unsuccessful attempts to make a                 (found in 1 CFR chapters I and II) are                  different stages of rulemaking,
                                             standard reasonably available, it would                 just wasteful check-off processes. The                  suggesting that materials need to be
                                             still request IBR approval, which we                    FRA established the ACFR, in part to                    more widely available at no cost during
                                             would grant. The commenter further                      provide that there was consistency on                   the comment period of a proposed
                                             stated ‘‘[a]t root then, access to all                  how agency documents publish in the                     rule.38 These commenters’ suggested
                                             incorporated matter should be free, if                  Federal Register. When this Act was                     that reasonably available would be more
                                             the evils of ‘secret law’ OFR was                       amended in 1938 to create the CFR, it                   limited during the effective period of
                                             established to resist are to be                         provided that the ACFR would issue                      the rule, in part to ease the burden on
                                             avoided.’’ 31                                           regulations to carry out the codification               OFR resources.39 We disagree;
                                                These commenters appeared to have a                  of agency documents of general                          distinguishing between the proposed
                                             fundamental issue with agencies’ ability                applicability and legal affect.36 As                    rule and final rule stages of agency
                                             to IBR materials into the CFR. We                       discussed throughout this rule, the                     rulemakings will require development
                                             decline to address whether or not                       FOIA gave the Director the authority to                 of a more elaborate approval process
                                             agencies should be allowed to IBR                       approve agency requests to IBR                          that will place additional burdens on
                                             materials into the CFR. This is beyond                  materials into their regulations.37 Both                agency and OFR staff. In the late 1970s
                                             our authority. In this rule, we balanced                the ACFR and the Director have                          we attempted a more complex approval
                                             our statutory obligations regarding                     throughout the years worked hard to                     process that was too difficult to
                                             reasonable availability of the standards                ensure that the publication                             maintain so we revised the IBR approval
                                             with: (1) U.S. copyright law, (2) U.S.                  requirements they issue provide the                     process in 1982.40
                                             international trade obligations, and (3)                agencies and the public clarity,                           One commenter suggested that we
                                             agencies’ ability to substantively                      uniformity, and consistency to maintain                 provide a ‘‘safe harbor’’ by declaring
                                             regulate under their authorizing                        an orderly publication system for                       that any standards provided for free
                                             statutes. To achieve this balance, this                 federal agency documents and minimize                   online are deemed reasonably available
                                             rule requires that agencies to discuss                  busy work for the agencies.                             by the Director.41 This commenter
                                             how IBR’d materials were made                              With respect to this commenter’s                     would place the burden of proof on the
                                             available to parties (and where those                   other issues concerning the Director’s                  agency to demonstrate that the materials
                                             materials are located) and to provide a                 authority, as we stated in our NPRM, we                 were reasonably available if they were
                                             summary of those materials in the                       are a procedural agency. We do not have                 not available for free online. We decline
                                             preambles of their rulemaking                           the subject matter expertise (technical or              to follow this suggestion; it creates an
                                             documents. These requirements oblige                    legal) to tell another agency how they                  uncertainty in the law because no one
                                             agencies to provide more information on                 can best reach a rulemaking decision.                   knows whether an IBR is enforceable or
                                             how they made IBR’d material available                  There must be a balance between                         not. It is not clear what would happen
                                             and a summary of the material, so the                   procedural requirements and agencies’                   if the material was no longer available
                                             readers can, if they like, find and review              substantive statutory authority and                     for free online and the agency didn’t
                                             the standards. This rule continues to                   requirements. To achieve this balance,                  certify that it was reasonably available.
                                             require that agencies provide the OFR                   we are issuing rules that require                       Under ACFR regulations, we cannot
                                             with a copy of the standard and                                                                                 amend another agency’s CFR provisions,
                                             maintain a copy at the agency for public                  32 OFR–2013–0001–0004.                                so at best we would need to add an
                                             inspection; therefore we disagree that                     33 Id. At page 1. Citing Senator report No 88–1219   editorial note after each CFR provision
                                             this rule is an unlawful delegation of                  at 4 (1964) and the 1967 Attorney General’s             that included IBR’d material that was no
                                             authority to the agencies.                              Memorandum on the Public Information Section of
                                                                                                     the Administrative Procedure Act (1967).
                                                                                                                                                             longer approved. We would also need to
                                                Another commenter adamantly stated                      34 This commenter goes on to claim that OFR is       monitor all IBR’s to ensure that some
                                             that the Director of the Federal Register               wrong to assume that agencies would remove              information regarding the status of
                                             has the sole authority to set procedures                online access to IBR’d materials, while in the same     IBR’d materials were maintained.
                                             for the approval of agency requests for                 comment, stating that the proposal provides                At least 2 commenters complained
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                                                                                                     agencies no practical incentive to make IBR’d
                                             IBR. This commenter stated that                         materials reasonably available, implying that           that the proposed rule didn’t address
                                             ‘‘reasonably available’’ is the sole                    without OFR specifically requiring IBR’d materials
                                                                                                     be available for free online, agencies will do            38 OFR–2013–0001–0022 and OFR–2013–001–
                                               29 OFR–2013–001–0024 and OFR–2013–001–                nothing to improve access to standards.                 0007.
                                             0029.                                                      35 OFR–2013–0001–0004 at page 4.                       39 OFR–2013–001–0007 at page 3.
                                               30 OFR–2013–001–0029.                                    36 44 U.S.C. 1510.                                     40 47 FR 34108 (August 6, 1982).
                                               31 OFR–2013–001–0029 at page 3.                          37 5 U.S.C. 552(a).                                    41 OFR–2013–001–0007 at page 6.




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                                             the reasonable availability of the                      safeguard to agency capture and other           long as the rule is effective. Since it is
                                             standards once the final rules were                     government issues.’’ 46 Other                   hard to access the copies at the National
                                             codified in the CFR. One commenter                      commenters generally agreed with our            Archives, we require that agencies
                                             stated that ‘‘the CFR has been                          NPRM, stating that reasonable                   maintain a copy of the documents they
                                             transformed from a mechanism to                         availability and transparency did not           IBR. We retained the requirements in
                                             inform citizens into a profit opportunity               automatically mean free access 47 and           this rule that agencies retain a copy of
                                             for a few private organizations.’’ 42                   supporting the idea that agencies need          the IBR’d standard for inspection and
                                             Another commenter suggested that                        flexibility to work with the SDOs to            provide the OFR a copy of IBR
                                             agencies post the text of the standards                 provide access to standards.48                  standards.
                                             on their Web sites to ensure that text of                  A number of SDOs commented                      Another commenter believed that
                                             the IBR’d standards is available while                  specifically on access and discussed            access to standards on SDOs Web sites
                                             the rule is codified in the CFR.43 As an                how they make their standards available         is insufficient to meet the reasonably
                                             alternative, the commenter states that                  online.49 One stated that access should         available requirement at any stage of the
                                             materials could be posted on SDOs Web                   not require the loss of copyright               rulemaking process because the SDO
                                             sites so long as agencies certify, each                 protection.50 One SDO board stated that         can remove the standard or charge for
                                             year, that IBR’d materials are still on the             they make standards available in the            access to it at any time.56 In addition,
                                             SDOs Web site.                                          following ways: Online sales; classes;          this commenter believed that SDOs
                                                We note that even if agencies decide                 limited-time, no-cost, no-print                 requirement that individuals sign a
                                             to repackage the text of standards they                 electronic access; membership in the            release to access the read-only standard
                                             wish to IBR, they must ensure that this                 organization, and the ability to request        may deter the public or small businesses
                                             repackaged text meets the requirements                  fee waivers.51 Another standards                from accessing standards. If the SDO
                                             in 51.7 and 51.9 or we will not approve                 organization stated that its standards are      does remove standards from its Web
                                             the agency’s IBR request. As for the                    available through third party vendors.52        site, the only option, according to this
                                             suggestion that agencies annually certify               It also stated that the headings and            commenter, is to travel to our offices in
                                             that IBR materials are reasonably                       outlines of its standards are freely            Washington, DC to review them.
                                             available—we have already                               available and that it also provides read-          We have no authority to require SDOs
                                             demonstrated that is not a viable option.               only online access to its standards.            to upload and maintain their standards
                                             From 1979 through 1982, we approved                     Another also stated that it provides no-        on their Web sites, and while this is one
                                             material IBR’d on a yearly basis, as part               cost read-only online access to its             way to demonstrate access, it is not the
                                             of a comprehensive review of all                        standards and also provides scopes and          only way to show reasonable
                                             material IBR’d and a review of the                      summaries of each standard on its Web           availability. To improve access to
                                             overall approval process.44 It soon                     site.53 One stated that access is               standards and provide the public more
                                             became clear that a one-year review was                 important but shouldn’t undermine or            information on how to access the
                                             neither practical nor efficient. We chose               dismantle the public-private partnership        standards, this rule requires that
                                             not to extend the program but to return                 that currently exists to create high-           agencies discuss how the standards
                                             to the original process. As we stated                   quality technical standards.54 To               were made available during the life-
                                             above, the orderly codification                         support access and agency efforts to            cycle of the rule. We also require that
                                             requirements of the FRA and the ACFR                    update standards referenced in                  agencies provide a summary of the
                                             prohibit us from amending another                       regulations, it makes immediate past            standard in the preamble to allow
                                             agency’s regulations so it is not clear                 versions of its standards available for         readers to make their determination on
                                             how the expiration of an IBR approval                   review in online in RealRead. Further,          whether to access a standard to assist in
                                             would be identified in the CFR without                                                                  drafting a comment on a particular
                                                                                                     older standards can be purchased and it
                                             undermining orderly codification and                                                                    rulemaking project. We disagree with
                                                                                                     will work with agencies to expand its
                                             without returning to an approval system                                                                 the commenter’s assertion that the only
                                                                                                     titles in RealRead.55
                                             that has already failed.                                   OFR applauds all the efforts of these        place interested parties can access
                                                                                                     private organizations to make their             standards, if they aren’t available
                                             Access                                                                                                  online, is at our office in Washington,
                                                                                                     IBR’d standards available to the public.
                                                Several commenters specifically                      We encourage agencies and SDOs to               DC. As mentioned above, we kept the
                                             discussed access as part of their                       continue to ensure access to IBR’d              requirement that agencies retain a copy
                                             comments addressing reasonably                                                                          of the IBR’d standard for inspection and
                                                                                                     standards.
                                             available. Many commenters agreed                          One commenter stated that                    provide the OFR a copy of IBR’d
                                             with the petitioners, stating that the law              summarizing the documents isn’t                 standards. Further, material remains
                                             must be accessible and free to use,                     enough; regulated entities must have            available through SDOs and usually, if
                                             therefore IBR’d standards should also be                access to the actual documents and              a standard has been discontinued,
                                             freely available to anyone wishing to                   these documents must be available free          through resellers.
                                             review them. One commenter stated that                                                                     Another commenter recommended
                                                                                                     to the public in at least one location as
                                             free access to IBR’d standards                                                                          that OFR adopt an IBR approval
                                             strengthens the capacity of public                        46 OFR–2013–0001–0029 at page 11.
                                                                                                                                                     program based on contingent approvals.
                                             interest groups to engage in the                          47 OFR–2013–0001–0033.                        The commenter suggested that OFR’s
                                             rulemaking process and work on                            48 OFR–2013–0001–0020 and OFR–2013–0001–      IBR approval be effective only as long as
                                             solutions to public policy issues.45                    0018.                                           the standard is freely available. If the
                                             Another stated that the public’s right to
                                                                                                       49 See, OFR–2013–001–0017, OFR–2013–001–
                                                                                                                                                     public can’t access a standard for free,
                                                                                                     0020, OFR–2013–001–0027 and OFR–2013–001–
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                                             access the content of regulations,                                                                      then the IBR approval ‘‘would
                                                                                                     0028.
                                             including IBR’d material, is ‘‘a critical                 50 OFR–2013–0001–0018.
                                                                                                                                                       56 OFR–2013–0001–0036. The commenter also
                                                                                                       51 OFR–2013–001–0023.
                                               42 OFR–2013–0001–0012 at page 5.                        52 OFR–2013–001–0035.
                                                                                                                                                     asserted that the SDO standards development
                                                                                                                                                     processes doesn’t balance all interests reliably so
                                               43 OFR–2013–0001–0024.                                  53 OFR–2013–001–0025.
                                                                                                                                                     the public needs complete access to the standards
                                               44 44 FR 18630, as corrected at 44 FR 19181.            54 OFR–2013–0001–0028.
                                                                                                                                                     to make sure the agencies are ‘‘acting appropriately
                                               45 OFR–2013–0001–0031.                                  55 Id.                                        in relying upon these standards.’’ At page 5.



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                                             evaporate.’’ 57 The standard would not                 there was a need to charge a reasonable                stated that OFR needs to review the
                                             be legally IBR’d and would be                          fee to recover printing costs, this no                 standards for costs to the affected
                                             unenforceable. The commenter stated                    longer applies where technology now                    industries and look for any potential
                                             that the statute doesn’t prohibit an                   enables the storage and retrieval of large             conflicts in regulations along with
                                             approval that would be revoked                         amounts of data at virtually no cost.63                formally defining ‘‘reasonably
                                             automatically and that revocation could                This commenter suggested that giving                   available.’’ 70
                                             be privately enforced by individuals                   the public free access to the standards                   One commenter stated that free and
                                             using the Federal courts. The                          would not ‘‘undermine incentives to                    online would compromise the ability of
                                             commenter asserted that these                          participate in the voluntary standards                 regulators to rely on voluntary
                                             contingent approvals would not drain                   development process.’’ 64                              consensus standards.71 This commenter
                                             OFR resources because the revocation of                   As we stated in our NPRM, these                     stated that revenue from sales, along
                                             the IBR approval would be automatic                    materials may not be as easily accessible              with providing salaries, benefits
                                             and immediate. It would provide an                     as the commenters would like, but they                 facilities, global development and
                                             incentive for both the agencies and the                are described in the regulatory text in                training, and also supports the broader
                                             SDOs to ensure continued free online                   sufficient detail so that a member of the              mission of professional engineering
                                             access because standards that weren’t                  public can identify the standard IBR’d                 societies and funds research for
                                             freely available online would not be                   into the regulation. OFR regulations also              standards and technology. Finally, this
                                             enforceable.                                           require that agencies include publisher                commenter suggested that there may
                                                We disagree with these commenters’                  information and agency contact                         also be a potential downstream impact
                                             assertion that we can delegate our                     information so that anyone wishing to                  threatening billions of dollars in global
                                             enforcement authority to private entities              locate a standard has contact                          trade and the development of
                                             without ‘‘final reviewing authority over               information for the both the standard’s                internationally harmonized safety
                                             the private party’s actions.’’ 58 Even if              publisher and the agency IBRing the                    requirements.
                                             we could, it would create uncertainty in               standard.                                                 Another commenter supported
                                             the law because no one would know                         A couple of commenters suggested                    purchasing standards at the final rule
                                             whether an IBR is effective and                        that OFR needs to proceed with caution                 stage.72 This commenter expressed
                                             enforceable or not. There is no way we                 and consider the costs of IBR’d                        concern that organizations that rely on
                                             can track and review all Federal court                 standards, including extra compliance                  sales of standards may go out of
                                             cases for IBR’d material. We also can’t                costs for small businesses in highly                   business if they can’t raise revenue from
                                             resolve conflicts between Circuits.                    regulated areas.65 At least 2 commenters               sales of standards. The commenter
                                             Finally, even with a definitive court                  suggested that OFR must consider the                   noted that corporate sponsors could be
                                             decision, we couldn’t amend another                    cost of the standard and the price of                  used to raise the revenue needed but
                                             agency’s regulations. So the system this               access, including the cost of travel to                that this might lead to standards that
                                             commenter suggested is less transparent                Washington DC to examine the                           favored the corporate sponsor, whereas
                                             and accessible than the current IBR                    standard, when deciding whether to                     obtaining the revenue from the
                                             approval process.                                      approve an agency request to IBR                       government could lead to the
                                                                                                    standards.66                                           development of standards based on
                                             Costs of Standards                                        Expanding on this idea, one                         politics.
                                                Several commenters discussed the                    commenter stated that OFR is allowing                     To address the concerns mentioned in
                                             costs of the standards in their comments agencies to IBR standards that must be                               comments from SDOs, one commenter
                                             on our NPRM.59 Some raised concerns                    purchased, therefore OFR needs to make                 stated that the SDOs whose business
                                             that SDOs were charging monopoly                       sure the regulatory requirements are set               models are based on sales of their
                                             prices for standards 60 or using                       out in the rule in enough detail that                  standards may have some negative
                                             copyright as a device to make money                    people can understand those                            economic impact in the short term.73
                                             and fund SDO operations.61 Others were requirements.67 This commenter also                                    This commenter saw no long term
                                             of the opinion that any charge for an                  insisted that, as part of the approval                 negative economic impact on the SDOs,
                                             IBR’d standard effectively hides the law process, agencies must state the cost of                             because requiring the standards to be
                                             behind a pay wall which is illegal and                 the standard before they receive                       posted as read-only files still allows
                                             means the standard is not available.62 At approval and certify that if the price                              SDOs to sell hard copies as business
                                             least one commenter stated that while                  changes or if the standard isn’t available             will still need to highlight and annotate
                                                                                                    the regulation is unenforceable to                     the standard.74 Additionally, SDOs exist
                                               57 OFR–2013–0001–0004 at pages 4–5.
                                                                                                    ensure the reasonable availability of the              to fill a business needs that are separate
                                               58 National Park and Conservation Ass’n v.
                                                                                                    IBR’s standard during the entire
                                             Stanton, 54 F.Supp2d 7, 18 (D.D.C. 1999).                                                                     from government regulation and these
                                                                                                    lifecycle of the rule.68
                                               59 At least 2 comments stated that FOIA                                                                     needs continue to exist even if read-only
                                             envisioned that IBR’d standards would be
                                                                                                       Another commenter stated generally
                                                                                                    that the cost of buying the standard is                access is given to standards. In cases
                                             commercially available through a subscription
                                             service, not held for individual sale, suggesting that less than the cost of complying with the               where the standard wasn’t developed to
                                             purchasing a subscription could be more affordable     regulation.69 One of these commenters                  become part of regulations, agencies
                                             than purchasing each individual standard, see                                                                 should seek a license, although the
                                             OFR–2013–001–0024 and OFR–2013–001–0029. We                                                                   commenter admitted that the licensing
                                                                                                       63 OFR–2013–001–0034.
                                             note that we received comments to our initial
                                             request for comments on the petition that suggested       64 OFR–2013–001–0034.                               fees could be cost- prohibitive for small
                                             obtaining access to subscriptions services for            65 OFR–2013–001–0019 and OFR–2013–001–              agencies.
                                             certain IBR’d materials is not substantially cheaper    00319. See also OFR–2013–001–0029, this                  While technological (and publication)
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                                             and sets up other road blocks for entities wishing      commenter specifically referenced technical           costs continue to decrease, these
                                             to purchase only one particular standard.               standards, saying they must be available to the
                                               60 OFR–2013–001–0012.                                 public, and stating that the compliance obligations
                                                                                                                                                            70 OFR–2013–001–0023.
                                               61 OFR–2013–001–0019.                                 are same.
                                                                                                       66 OFR–2013–001–0021.                                71 OFR–2013–001–0038.
                                               62 See generally, OFR–2013–001–0024, OFR–
                                                                                                       67 OFR–2013–001–0029.                                72 OFR–2013–001–0022.
                                             2013–001–0036, OFR–2013–001–0029, OFR–2013–
                                                                                                       68 Id.                                               73 OFR–2013–001–0029.
                                             001–0004, OFR–2013–001–0021, and OFR–2013–
                                             001–0037.                                                 69 OFR–2013–001–0023.                                74 Id.




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                                             commenters addressed only the cost of                   commenter stated that access to the                  therefore not ‘‘amenable to
                                             making something available online and                   standards in Washington, DC is not                   copyright.’’ 79
                                             did not address costs associated with                   sufficient when the rule applies                        Several commenters appeared to
                                             creating the standard or providing free                 nationwide, because people have to                   argue that the Veeck case demonstrates
                                             access to it. OFR staff do not have the                 travel to DC to view the standard and                that SDOs have survived and grown
                                             experience to determine how costs                       traveling costs money. Therefore, they               over the years despite not having
                                             factor into development of, or access to,               argued, OFR needed to take those travel              copyright protection awarded by a court
                                             a standard for a particular regulated                   costs into account when approving                    because SDOs still create and charge for
                                             entity or industry. Thus, this rule                     agency requests to incorporate                       standards even after the Veeck decision;
                                             doesn’t specifically address the costs                  documents by reference into the CFR.                 that the complexity of the modern age
                                             associated with an IBR’d standard,                         Constitutional issues were raised in              requires that agencies standardize across
                                             which allows the agencies flexibility to                earlier documents as well. Commenters                the Federal government, thus
                                             address cost concerns when exercising                   to the request for comments on the                   compelling the use of standards; and
                                             their authority to issue regulations.                   petition argued that the government                  that SDOs can annotate their standards
                                                As we stated in our proposed rule,                   could simply exercise the Takings                    and charge fees for those annotations.
                                             OFR is a procedural agency. We do not                   Clause of the 5th Amendment.76                       These commenters’ conclusion seemed
                                             have the subject matter expertise                          While we don’t speak for the Federal              to be that SDOs will continue to create
                                             (technical or legal) to tell another                    Government as a whole, we see no                     standards and push for their
                                             agency how they can best reach a                        reason why the government would                      incorporation into Federal regulations.
                                             rulemaking decision. Further, we do not                 exercise the Takings Clause. However,                Therefore, OFR must require that only
                                             have that authority. Neither the FRA,                   we note that this rule continues to                  standards available for free online are
                                             the FOIA, nor the APA authorizes us to                  require that agencies provide us a copy              eligible for IBR approval.
                                             review proposed and final rulemaking                    of all documents they wish to IBR into                  One commenter referenced the
                                             actions for substance. We agree that                    the CFR. Agencies must also maintain at              NTTAA 80 and stated that since this
                                             agencies should consider many factors                   least one copy of all IBR’d standards for            statute says agencies shouldn’t use
                                             when engaging in rulemaking, including                  public inspection at their agency. They              standards in a way inconsistent with
                                             assessing the cost of developing and                    must also provide their contact                      applicable law, therefore if agencies
                                             accessing the standard. Thus, we are                    information along with contact                       can’t use the standard without violating
                                             requiring agencies to explain why                       information for the OFR and the                      copyright law, then the agency
                                             material is reasonably available and                    standards’ publishers in the regulatory              shouldn’t IBR that standard.81
                                             how to get it, and to summarize the                     text. Anyone can contact any of these 3                 As we stated in our NPRM, recent
                                             pertinent parts of the standard in the                  groups with questions regarding access               developments in Federal law, including
                                             preamble of both proposed and final                     to the documents IBR’d by an agency                  the Veeck decision 82 and the
                                             rules.                                                  into the CFR, so access is not restricted            amendments to FOIA, and the NTTAA
                                                                                                     to the Office of the Federal Register in             have not eliminated the availability of
                                             Other Issues                                                                                                 copyright protection for privately
                                                                                                     Washington, DC.
                                             a. Constitutional Issues                                   Further, nothing in this rule prevents            developed codes and standards that are
                                             b. Copyright Issues                                                                                          referenced in or incorporated into
                                             c. Outdated standards IBR’d into the CFR
                                                                                                     the public from discussing or criticizing
                                                                                                     any Federal regulations. By requiring                federal regulations. Therefore, we
                                             d. Incorporation of guidance documents and                                                                   cannot issue regulations that could be
                                                the use of safe harbors                              agencies to add to the preamble a
                                             e. Indirect IBR’d standards                             discussion of how to examine or obtain               interpreted as removing copyright
                                             f. Data and studies used to create standards            copies of standards referenced in their              protection from IBR’d standards. We
                                             g. Section-by-section analysis of the                   rulemaking documents, along with                     recommend that the responsible
                                                regulatory text                                      summaries of those standards, we are                 government agency collaborate with the
                                                                                                     ensuring that members of the public                  SDOs and other publishers of IBR’d
                                             a. Constitutional Issues                                have more information for determining                materials to ensure that the public does
                                                A couple of commenters suggested                     if the summary is sufficient or if they              have reasonable access to the referenced
                                             that our proposal was Constitutionally                  need (or just want) to contact the                   documents. Therefore, in this final rule
                                             suspect, claiming that it violates Due                  agencies with questions on how to                    we require that agencies discuss how
                                             Process, Equal Protection, and First                    access the IBR’d standards.                          the IBR’d standards are reasonably
                                             Amendment rights.75 They claimed that                                                                        available to commenters and to
                                             the public’s inability to access standards              b. Copyright Issues                                  regulated entities. One way to make
                                             for free online creates due process                        Several commenters claimed that                   standards reasonably available, if they
                                             concerns, because due process requires                  once a standard is IBR’d into a                      aren’t already, is to work with copyright
                                             notice of obligations before the                        regulation it becomes law and loses its              holders.
                                             imposition of sanctions. Having to pay                  copyright protection and, therefore, that               One commenter stated that since it is
                                             fees for standards creates obstacles and                IBR’d standards must be available for                the text of standards that must be
                                             impacts notice, which in turn creates                   free online without any further                      available (citing Veeck for the
                                             due process problems. They claimed                      discussion. Other commenters 77 stated               proposition that the law is not subject
                                             there might be a First Amendment issue                  that the public is the owner and author              to copyright law), agencies should copy
                                             because the public can’t discuss or                     of the regulations and thus has the right            the text of IBR’d standards and place the
                                             criticize regulations if they don’t know                to know the law, relying on the Veeck
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                                                                                                                                                            79 OFR–2013–0001–0012.
                                             what they are. Finally they argued that                 case.78 At least one commenter stated                  80 15 U.S.C. 3701 et seq.
                                             equal protection and due process are                    that the law is in the public domain and               81 OFR–2013–0001–0004.
                                             jeopardized when some people can                                                                               82 One commenter stated that OFR needs to show
                                             purchase the law and others can’t. One                    76 78 FR 60791 (October 2, 2013).
                                                                                                                                                          that the 5th Circuit didn’t consider specific
                                                                                                       77 OFR–2013–0001–0029.
                                                                                                                                                          arguments, and, that if we don’t, we can’t reject the
                                               75 OFR–2013–0001–0029 and OFR–2013–0001–                78 Veeck v. Southern Building Code Congress        decision of the court. See OFR–2013–0001–0021.
                                             0036.                                                   International, Inc., 293 F.3d 791 (5th Cir. 2002).   We disagree.



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                                             text online. In a footnote, the                         program at the end of 3 years but to                commenter then listed the merits of
                                             commenter suggested that OFR require                    return instead to the original process.87           IBR’ing of guidance documents, for
                                             agencies to place the text of their                       As we stated above, the orderly                   example, no copyright issues and ease
                                             ‘‘regulatory obligations’’ in their online              codification requirements of the FRA                for agencies to update the reference
                                             dockets. This way the ‘‘text of the legal               and the ACFR prohibit us from                       when the standards are updated.
                                             obligation and not the standard as such’’               amending another agency’s                              Agencies are not required to request
                                             is available online for free.83                         regulations 88 so it is not clear how the           IBR approval for guidance documents
                                                                                                     expiration of an IBR approval would be              referenced in their regulations.
                                                We leave it to the agencies to
                                                                                                     identified in the CFR without                       Currently, if materials that are
                                             determine if they should follow this
                                                                                                     undermining orderly codification and                published elsewhere are referenced as
                                             commenter’s suggestion. We do note
                                                                                                     without returning to an approval system             guidance documents in regulatory text
                                             that agencies requesting IBR approval
                                                                                                     that has already failed.                            or a CFR appendix, agencies are not
                                             must follow the requirements set out in
                                                                                                                                                         required to submit an IBR request; they
                                             part 51, including § 51.9, requiring very               d. Incorporation of Guidance
                                                                                                                                                         must simply add information on how to
                                             specific information about the standard,                Documents and the Use of Safe Harbors
                                                                                                                                                         obtain the guidance material in the
                                             so that the standard and ‘‘regulatory                      While some of the commenters                     regulatory text. This requirement is less
                                             obligations’’ can be clearly identified.                approved of our proposal and its                    stringent than IBR approval and we see
                                             c. Outdated Standards IBR’d Into the                    rejection of the notion that IBR                    no reason to change our policy at this
                                             CFR                                                     standards should be removed from                    time. While this commenter is correct
                                                                                                     regulations and incorporated into                   that in the past we have approved IBR
                                               A few commenters again mentioned                      agency guidance,89 one commenter                    in limited instances for guidance
                                             that some of the standards IBR’d into                   modified the argument and suggested                 documents, there has never been a
                                             the CFR were outdated or expressed                      that OFR needs to adopt the formal                  requirement in our regulations that
                                             concern that agencies were failing to                   stance that ‘‘incorporated standards do             guidance documents must obtain IBR
                                             update the IBR references in the CFR.                   not create legal obligations, as such,              approval; that is because not all agency
                                             The orderly codification requirements of                rather identify appropriate means for               guidance documents or the materials
                                             the FRA and the ACFR prohibit us from                   achieving compliance with regulatory                referenced in those documents are
                                             amending another agency’s                               requirements that are independently                 published or referenced in the Federal
                                             regulations,84 so we cannot take                        and fully stated in public law.’’ 90 This           Register. Regardless, any requests for
                                             unilateral action. Further, we don’t have               commenter suggested that adopting this              IBR must still meet the requirements of
                                             the authority to decide that a newer                    proposition would bring our                         part 51 and any changes to the CFR or
                                             version of a particular standard serves                 requirements in line with the European              a CFR appendix must publish in the
                                             the same purpose as an older version;                   Union’s stance on incorporation by                  Rules and Regulations section of the
                                             that determination is solely for the                    reference. The commenter then went on               Federal Register. That publication
                                             agency. However, we continue to                         to describe the way the EU countries                requirement will increase the time it
                                             provide support and assistance to                       develop standards and recommended                   takes to update IBR’d guidance
                                             agencies that are implementing or                       that the U.S. adopt that model of                   documents and may not provide the
                                             updating regulations with IBR’d                         standards development. However, the                 flexibility to update guidance the
                                             material. We contact agencies and let                   OFR has no statutory authority to                   commenter hoped for.
                                             them know if we hear from someone                       completely change the way standards                    This commenter also suggested that
                                             that a standard is difficult to find. We                are developed in the U.S. We continue               we don’t understand the law and that
                                             also refer callers to our agency contacts.              to maintain that the explicit statutory             we believe that guidance documents
                                                                                                     language of section 552(a) applies when             aren’t regulatory.93 However, we do
                                               One commenter stated that two-thirds
                                                                                                     agencies request to IBR materials into              understand the concept that guidance
                                             of IBR’d standards were published in
                                                                                                     the CFR. Therefore, we have no                      documents are not requirements and if
                                             1995 or earlier, thus, these standards are
                                                                                                     authority to approve IBRs of standards              agencies try to enforce them as binding,
                                             no longer available except at the
                                                                                                     into agency guidance documents.                     private entities can sue the agency.
                                             National Archives and Records                              The commenter continued by stating                  Both the FRA and the APA require
                                             Administration.85 The commenter                         that OFR cannot, in its regulations,                that documents of general applicability
                                             suggested that to address this issue OFR                allow materials that are copyrighted to             and legal effect be published in the
                                             needs to include a sunset provision in                  become binding legal requirements                   Federal Register and codified in the
                                             part 51 to limit the duration of an IBR                 through IBR. They also stated that OFR              CFR. In general, agencies are not
                                             approval or to require that agencies                    needs to accept the IBR of guidance                 required to codify their guidance
                                             certify for each annual edition of the                  documents that are not legally binding              documents, policy letters, or directives
                                             CFR that standards IBR’d are still                      and limit the IBR’ing of required                   in the CFR and thus, they might not be
                                             available. From 1979 through 1982, we                   standards to ones that are available for            published in the Federal Register.94 Nor
                                             approved material IBR’d on a yearly                     free online.91
                                             basis, as part of a comprehensive review                   This commenter went on to state that               93 Id. at page 8.
                                             of all material IBR’d and a review of the               section 552(a)(1) clearly allows for the              94 ACUS Recommendation 76–2 (41 FR 29653,

                                             overall approval process.86 We initially                IBR of guidance documents, stating that             July 19, 1976) recommends that agencies publish
                                             established the annual review for only                                                                      their statements of general policy and
                                                                                                     ‘‘part 51’s refusal to consider these IBRs          interpretations of general applicability in the
                                             3 years, but it soon became clear that a                is unprincipled and unjustified.’’ 92 This          Federal Register citing 5 U.S.C. 522(a)(1)(D). This
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                                             one-year review was neither practical                                                                       recommendation further recommends that when
                                             nor efficient. We chose not extend the                    87 47 FR 34108.                                   these documents are of continuing interest to the
                                                                                                       88 OFR–2013–001–0024.                             public they should be ‘‘preserved’’ in the CFR. 41
                                               83 OFR–2013–001–0024 footnote 23 at page 8.             89 OFR–2013–001–0030.
                                                                                                                                                         FR 29654. The recommendation also suggests that
                                                                                                                                                         agencies preserve their statements of basis and
                                               84 44 U.S.C. 1510 and 1 CFR part 21.                    90 OFR–2013–001–0024 at page 2.
                                                                                                                                                         purpose related to a rule by having them published
                                               85 OFR–2013–001–0024.                                   91 Id. at page 2, OFR–2013–001–0004.
                                                                                                                                                         in the CFR at least once in the CFR edition for the
                                               86 44 FR 18630, as corrected at 44 FR 19181.            92 Id. at page 3.                                 year rule is originally codified. Many agencies have



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                                             are they required to formally request                   instances, agencies reference third-party       decline to revise the regulations to
                                             approval for standards referenced in the                standards in their NPRMs, so both the           require that the materials used to
                                             CFR that are not binding requirements.                  general public and the regulated public         develop standards be available for free
                                             OFR has long interpreted section                        can review and comment on those                 online.
                                             552(a)’s use of the term ‘‘affected’’ to be             standards before they are formally IBR’d
                                                                                                                                                     g. Section-by-Section Analysis of the
                                             related to binding requirements that                    in the CFR. We do not review material
                                                                                                                                                     Regulatory Text
                                             have an effect on parties. Thus, we                     submitted for IBR to determine if that
                                             haven’t required that references in the                 material also has other materials                  Several commenters had comments
                                             CFR to standards for guidance purposes                  included; we look only at the criteria set      on specific sections set out in our
                                             go through IBR approval. We do not                      out in our regulations. Determining that        NPRM. We address those comments by
                                             have the staff or other resources needed                an agency intends to require some type          section below.
                                             to approve IBR requests for documents                   of compliance with documents                    Section 51.1(b)
                                             that are guidance rather than documents                 referenced in third-party standards is
                                             that are requirements. As we mentioned                  outside our jurisdiction; similarly, we           Some commenters suggested that we
                                             above, agencies can already reference                   cannot determine whether or not the             add the E–FOIA and the E-Government
                                             those documents in the CFR without                      subject matter of a third-party standard        Act 97 to our list of authorities in
                                             going through the formal IBR review                     is appropriate for any given agency.            § 51.1(b), claiming that our refusal to do
                                             process. Thus, is not clear why agencies                   What these commenters suggested              so ‘‘reveal[s] OFR’s regrettable
                                             would need IBR approval for these non-                  would require that OFR substantively            indifference to the realities of the
                                             regulatory documents.                                   review each standard IBR’d to                   Information Age.’’ 98 It is not clear
                                               One commenter stated that there is no                 determine if it references other                where these commenters would have us
                                             distinction between a regulatory                        standards and then determine if those           reference these statutes. Our statutory
                                             standard and a safe harbor.95 This                      standards are required to comply with           authority appropriately references
                                             commenter stated that a safe harbor in                  the IBR’d standard and the agency’s             section 552(a), which grants the Director
                                             regulatory text will bind the agency to                 regulations. That is beyond the                 the authority to approve agency requests
                                             accept actions that are within the safe                 authority and subject matter expertise of       for IBR into the CFR. If the commenters
                                             harbor as compliance. Thus, the safe                    this office and would increase the              were focusing on the text of § 51.1(b),
                                             harbor will dominate as the compliance                  review time required to process IBR             what they fail to take into account is
                                             method. Therefore, this commenter                       approval requests. Therefore, we                that this section specifically lists
                                             believed that all requirements suggested                continue our practice of reviewing              authorities that directly relate to the
                                             for IBR’d standards (most importantly                   approval requests only for standards            requirement that certain documents be
                                             that they must be available for free                    directly IBR’d into the CFR.                    published in the Federal Register.
                                             online) also apply to safe harbors. We                                                                  Paragraph (b)(4) allows for us to review
                                             agree that this is a concern, however we                f. Data and Studies Used To Create              based on Acts other than the FRA that
                                             don’t see that this specific issue is                   Standards                                       require publication in the Federal
                                             covered by part 51.                                        At least 2 commenters suggested that         Register. Since this paragraph (b)(4) can
                                                                                                     a condition of IBR approval must be that        be read broadly to include many
                                             e. Indirect IBR’d Standards
                                                                                                     data and studies relied on to create the        different statutes, we do not believe we
                                                At least 4 commenters raised the issue               standard must be available for free             need to specifically reference these
                                             that some of the IBR’d standards also                   online during the comment period of             statutes.
                                             reference other standards in their text. A              the NPRM, citing Portland Cement
                                             couple of these comments suggested                      Ass’n v. Ruckelshaus 486 F.2d 375 (DC           Section 51.1(e)
                                             that the OFR deny IBR approval unless                   Cir 1973). They also stated that agencies          One commenter stated that paragraph
                                             all standards are available for free                    should be required in their NPRM                (e) of § 51.1 was confusing because it
                                             online, including those referenced                      preambles to ‘‘include specification of         states that use of the phrase
                                             within the standard the agency is                       the means by which would-be                     ‘‘incorporation by reference’’ by itself
                                             seeking IBR approval for. At least, one                 commenters can gain access to the               does not mean the Director has
                                             of the commenters stated that obtaining                 studies and data on which the standard          approved an agency request for
                                             IBR’d material can cost several                         proposed to be incorporated is based’’          incorporation by reference. The
                                             thousands of dollars a year.                            without incurring a significant fee.96          commenter suggested that this
                                                As we stated in our proposed rule, our               They claimed that without this                  paragraph be removed.
                                             regulations have never contained any                    requirement interested persons cannot              The CFR uses the phrase
                                             provision to allow for IBR of anything                  meaningfully comment on an agency’s             ‘‘incorporation by reference’’ throughout
                                             but the primary standards and, as a                     NPRM.                                           its titles even when this phrase does not
                                             practical matter, we have no mechanism                     The APA, other statutory authorities,        mean incorporation by reference
                                             for approving anything but those                        and case law have continually stood for         pursuant to section 552(a). For example,
                                             primary standards. The OFR is a                         the proposition that the publishing             the Federal Acquisition regulations in
                                             procedural agency and we do not have                    agencies, not the OFR, are responsible          Title 48 of the CFR and 40 CFR 1502.21
                                             subject matter or policy jurisdiction                   for ensuring that the public has                (which discusses incorporating
                                             over any agency or SDO. We must                         appropriate information to provide              materials by reference into agency
                                             assume that agencies have fully                         comments on their proposed rules. The           environmental impact statements) both
                                             considered the impact of any document                   task of ensuring agencies provide access        use the phrase ‘‘incorporation by
                                             (including material IBR’d) that they
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                                                                                                     to data and to the studies that were used       reference’’ in ways unrelated to the use
                                             publish in the Federal Register. In many                to develop materials incorporated by            of the ‘‘incorporation by reference’’
                                                                                                     reference is beyond our statutory               described, in section 552(a). Paragraph
                                             not followed this recommendation, most likely
                                             because some of the material is published in the        authority and resources. Therefore, we          (e) clarifies that if the Director’s
                                             United States Government Manual or they find the
                                             cost prohibitive.                                         96 OFR–2013–0001–0024 and OFR–2013–0001–       97 Public Law 107–347 (2002).
                                               95 OFR–2013–0001–0029.                                0029.                                            98 OFR–2013–0001–0029.




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                                             approval language is not linked to the                   reviews of rulemaking documents with               Another commenter stated that the
                                             IBR reference in the CFR, that use of the                IBR.                                            proposed regulatory text in § 51.5 was
                                             term IBR has not been approved by the                       One commenter expressed concerns             too focused on the reasonable
                                             Director and may be unrelated to section                 that the requirement to summarize               availability issue. This commenter
                                             552(a) and the regulations found in part                 standards in preambles is not specific          claimed that the NPRM suggests that
                                             51. Therefore, because this phrase is                    enough. This commenter wanted more              there are ‘‘varying degrees’’ of
                                             used in multiple ways in the CFR, we                     specificity on what constitutes                 reasonable availability when in reality
                                             decline to remove paragraph (e) from                     reasonable availability. The commenter          material is either reasonably available or
                                             § 51.1.                                                  said that requiring too much detail is a        it is not.101 The commenter objected to
                                                                                                      problem, because the summary doesn’t            the proposed language in § 51.5 because,
                                             Section 51.5                                             replace the actual text of the standard         the commenter claimed, that by
                                                                                                      and agencies shouldn’t be placed in a           requiring agencies to discuss how they
                                                One commenter, when discussing                        position to argue or litigate whether           worked with publishers to make
                                             §§ 51.3 and 51.5, stated that our                        there was enough detail in the                  material reasonably available, we are
                                             proposal would reduce ‘‘reasonably                       summary. The summary should alert               suggesting a link between reasonably
                                             available’’ to formality that doesn’t                    readers to go to the standard. We agree         available and free online. This
                                             encourage agencies to comply with                        that this summary of the standard needs         commenter recommended changing the
                                             section 552(a) or with 5 U.S.C. 553.                     to give readers enough information to           focus of the text from the reasonably
                                             They argued that OFR is not paying                       decide if they need to read the standard        available requirement to instead require
                                             enough attention to the public’s ability                 for more detail or not, thus we kept the        that agencies discuss all the factors they
                                             to comment on NPRMs (other                               regulatory text flexible to allow agencies      considered, including availability, when
                                             commenters also suggested that the OFR                   to write these summaries in ways that           proposing to IBR a standard. The
                                             should require rulemaking documents                      best meet the needs of their readers.           commenter believed that this language
                                             be understandable without the need for                      Another commenter, while agreeing            better articulates federal policy.
                                             the reader to rely on the IBR’d                          that ‘‘reasonably available’’ might not            Section 552(a) specifically mentions
                                             material 99). The commenter believed                     mean free online, stated that it does           reasonable availability without
                                             that a discussion of how the agency                      mean more than the agency simply                addressing other factors agencies used
                                             made the material reasonably available                   having a copy available for examination         to determine if they wished to request
                                             doesn’t go far enough. This commenter                    in its Washington, DC headquarters.100          IBR approval for particular standards.
                                             recommended that we change the text to                   This commenter stated that the OFR              Therefore, this section properly focuses
                                             require that agencies explain what they                  needs to define reasonably available and        on a discussion of how the materials are
                                             propose to require in their rulemaking.                  let the public comment on that                  available. Nothing in this rule prohibits
                                             Along this same line, another                            proposed definition. It also stated that        agencies from discussing, in their
                                             commenter wanted a detailed abstract of                  OFR needs to provide agencies with              preambles, what factors they considered
                                             the IBR’d materials.                                     guidance on how we expect them to               when determining if and what materials
                                                It is the responsibility of the agency                comply with this requirements. This             they would request approval for. Thus,
                                             issuing the regulations to ensure that it                commenter further urged that OFR                we decline to revise this section to make
                                             complies with the requirements of the                    define ‘‘reasonably available’’                 this commenter’s suggested changes.
                                             APA. Our intent with these changes is                    differently, depending on where in the             One commenter stated that using the
                                             to provide the public more information                   rulemaking process the regulation is.           term ‘‘or’’ instead of ‘‘and’’ in the
                                             regarding standards IBR’d, both how to                   Thus, this commenter recommended                proposed rule text violates the statute
                                             access these standards and to get a                      that ‘‘reasonably available’’ be defined        because the material must be made
                                             summary of what the standard is about.                   at the proposed rule stage to mean the          reasonably available under the
                                             The OFR can’t ensure that every agency                   material proposed to be IBR’d be                statute.102 The commenter continued,
                                             complies with the requirements of the                    available to review for free online. At         stating that it’s the Director who
                                             APA; we are not subject matter experts                   the final rule stage, and while the rule        determines reasonable availability and
                                             in all areas of federal law so we can’t                  is effective ‘‘reasonably available’’           not the agencies. Therefore, the
                                             make a determination on whether an                       would mean that IBR’d material could            proposed language puts the reasonable
                                             agency’s preamble provides enough                        be purchased from the publisher.                availability determination on the wrong
                                             information for the public to                               We decline to define ‘‘reasonably            party. The commenter assumes agencies
                                             thoughtfully comment on agencies’                        available.’’ Much like the request to           will develop different criteria for
                                             proposals. This commenter’s suggested                    define ‘‘class of persons affected,’’ we        determining whether something is
                                             language would require OFR to do a                       are concerned that any definition will          reasonably available. The NPRM stated
                                             substantive review of all preambles in                   fail because it is either too broad to be       that agencies might not be able to IBR
                                             rulemakings where the agencies propose                   meaningful or too restrictive, impeding         SDO standards if we require that they be
                                             to IBR materials into their regulations.                 agencies’ ability to work with SDOs and         available for free; the commenter
                                             This is beyond our authority; we can’t                   other publishers to make the material           disagreed with this statement.
                                             do it for documents without IBR and                      available to wide audience either during           We disagree with the commenter’s
                                             nothing in section 552(a) gives us                       the comment period of a proposed rule           assessment of this proposal. The OFR
                                             special authority to perform substantive                 or while a regulation is in effect. The         (including the Director) does not have
                                                                                                      absence of a too-broad or too-narrow            the subject matter expertise or the
                                               99 See, OFR–2013–0001–00024 and OFR–2013–
                                                                                                      definition allows agencies to maintain          familiarity with the affected parties to
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                                             0001–00032. One commenter alleges that it is a           flexibility in making IBR’d materials           make a case-by-case analysis of
                                             ‘‘mere phantasm if the agency can meet the               ‘‘reasonably available’’ during the life-       ‘‘reasonable availability.’’ We must rely
                                             requirement by stating that a copy of the                cycle of a regulation and their regulatory      on the analysis of the agency. The
                                             publication has been placed at the bottom of a           programs on a case-by-case basis to
                                             locked filing cabinet . . .’’, see OFR–2013–0001–
                                                                                                                                                      revisions to this section now require
                                             0037. We can’t assume, as this commenter appears         respond to specific situations.
                                                                                                                                                       101 OFR–2013–0001–0026.
                                             to do, that agencies will willfully obstruct access to
                                             the standards they’ve IBR’d.                               100 OFR–2013–0001–0022.                        102 OFR–2013–0001–0021.




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                                             that agencies provide at least part of that              and that it supplement the regulatory           IBR into the CFR. Thus, we decline to
                                             analysis instead of simply asserting that                text, not be a substitute for it. The           remove this paragraph entirely. We have
                                             the material is ‘‘reasonably available.’’                commenter also stated that OFR must             modified the language slightly with the
                                             Nothing in the proposal removes the                      review both the regulatory text and the         phrase ‘‘as applicable’’ to indicate to
                                             requirement that IBR’d materials be                      standards to ensure the IBR material            agencies that submit hard copies of their
                                             maintained at the agency and at the                      doesn’t replace the requirements set out        IBR’d material this requirement still
                                             OFR. And, the summary provides                           in regulatory text.                             applies. Further, the numbering and
                                             information to people so they can                           This commenter was, in effect,               ordering requirement may still apply to
                                             determine if they want to review the IBR                 suggesting that OFR conduct a                   electronic material. We are not unduly
                                             material at the agency or the OFR or                     substantive review of both the                  focused on print publications, but until
                                             elsewhere.                                               regulatory text and the standards. A            no standards are available in print, we
                                                One commenter supported our                           review of this nature would require a           have to consider both print and
                                             revisions to § 51.5 because these                        substantive review of agency                    electronic publications.
                                             requirements will bring attention to the                 regulations, something that is beyond             Finally, we restructured paragraph (a)
                                             availability issue and suggested that                    our authority, so, while we clarified           into a more logical order.
                                             agencies will ‘‘proactively seek to                      § 51.7(a)(2) to require that standards
                                                                                                      IBR’d be technical standards, we decline        Regulatory Analysis
                                             improve the availability of IBR materials
                                             throughout the rulemaking process.’’ 103                 to make these suggested changes that              We developed this rule after
                                             This commenter recommended that                          would require us to review the materials        considering numerous statutes and
                                             OFR strengthen this provision by                         to ensure that they didn’t include              Executive Orders related to rulemaking.
                                             removing the ‘‘or’’ and replacing it with                regulatory obligations not set out in the       Below is a summary of our
                                             an ‘‘and.’’ This would require agencies                  regulatory text.                                determinations with respect to this
                                             to discuss both the substance of the                        Another concern raised by some of            rulemaking proceeding.
                                             standard and how they worked to make                     the commenters was that completely
                                                                                                      removing the requirement that IBR               Executive Orders 12866 and 13563
                                             the standard reasonably available. This
                                             recommendation is also consistent with                   standards be technical in nature ‘‘will            The rule was drafted in accordance
                                             ACUS’ recommendation 2011–5.104                          spur further inappropriate                      with Executive Order 12866, section
                                                We agree that this provision should be                incorporations by reference.’’ 106              1(b), ‘‘Principles of Regulation’’ and
                                             strengthened so we replaced the ‘‘or’’                      At least one other commenter                 Executive Order 13563 ‘‘Improving
                                             with an ‘‘and.’’ And, we have removed                    specifically referenced § 51.7(a) and           Regulation and Regulatory Review.’’ We
                                             the requirement that the agency discuss,                 expressed concern that the proposal             sent the rule to OMB under section
                                             in the final rule, how the incorporated                  removed the requirement that IBR’d              6(a)(3)(E) of Executive Order 12866 and
                                             material was reasonably available at the                 standards be technical in nature. The           it was determined to be a significant
                                             proposed rule stage. We require, at both                 commenter stated that this requirement          regulatory action as defined under
                                             the proposed and final rule stages, that                 reduces the risk that agencies will IBR         section 3(f) of Executive Order 12866.
                                             agencies include language in their                       standards that are regulatory in nature.
                                                                                                      This commenter suggested that the               Regulatory Flexibility Act
                                             rulemaking preambles that both discuss
                                             the availability of the standards and                    requirement was the public-private                 This rule will not have a significant
                                             provide a summary of the standards                       equivalent of our prohibition on                impact on small entities since it
                                             themselves.                                              agencies IBR’ing their own publications.        imposes requirements only on Federal
                                                                                                         We understand these concerns                 agencies.107 Members of the public can
                                             Section 51.7                                             regarding the proposed language, so we          access Federal Register publications for
                                                At least 2 commenters suggested that                  modified the language in § 51.7(a)(2) to        free through the Government Printing
                                             we remove the requirement that                           retain the original language of this            Office’s Web site. Accordingly, the head
                                             standards be technical in nature to                      paragraph, while modifying the                  of the agency certifies that the rule will
                                             receive IBR approval in an attempt to                    structure to emphasize that standards           not, if promulgated, have a significant
                                             limit the number of printed Federal                      cannot detract from the Federal Register        economic impact on a substantial
                                             Register and CFR pages.105 One                           publication system. So, much like our           number of small entities.
                                             commenter also expressed a concern                       provision addressing agency-produced
                                                                                                      documents, these changes allow us the           Federalism
                                             that by removing the requirement that
                                             IBR’d standards must be technical in                     flexibility to work with agencies on the          This rule has no Federalism
                                             nature, OFR is allowing agencies to                      types of materials IBR’d.                       implications under Executive Order
                                             remove essential requirements from the                      There were a couple of commenters            13132. It does not impose compliance
                                             regulatory text so that the legal                        who specifically referenced proposed            costs on state or local governments or
                                             obligation is hidden within the IBR’d                    revisions to § 51.7, explaining what            preempt state law.
                                             standard merely to save printed pages in                 types of documents are eligible for IBR
                                                                                                      approval. One commenter objected to             Congressional Review
                                             the Federal Register. This commenter
                                             argued that agency regulations need to                   the language in § 51.7(a)(3) claiming that        This rule is not a major rule as
                                             be sufficiently and adequately set out to                OFR does not need to include                    defined by 5 U.S.C. 804(2). We will
                                             allow the reader to know and be able to                  requirements for usability in the
                                             meet the regulatory obligations. This                    regulations because the requirements               107 One commenter suggests that OFR needs to do

                                                                                                      seem print-focused and are irrelevant in        a complete regulatory flexibility analysis on the
                                             commenter claimed that OFR needs to                                                                      issues surrounding IBR within the federal
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                                             add a provision to part 51 requiring that                the age of the Internet.                        government, see OFR–2013–0001–0024 footnote 10
                                             the IBR material be technical in nature                     Despite the commenter’s attempt to           at page 4. Because the only new action in this rule
                                                                                                      show that the OFR is out-of-touch with          is to require that agencies provide more information
                                                                                                      the information age, we still receive           in their preambles regarding IBR’ing of standards
                                               103 OFR–2013–001–0030.
                                                                                                                                                      we do not believe that it has a monetary impact on
                                               104 77 FR 2257 (January 17, 2012).                     hard copies of the materials agencies           small businesses or increases their burden.
                                               105 OFR–2013–0001–0024 and OFR–2013–001–                                                               Therefore, we decline to follow the commenter’s
                                             0029.                                                      106 OFR–2013–0001–0029.                       suggestion.



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                                             submit a rule report, including a copy                  § 51.5 How does an agency request               § 51.9 What is the proper language of
                                             of this rule, to each House of the                      approval?                                       incorporation?
                                             Congress and to the Comptroller General                    (a) For a proposed rule, the agency             (a) The language incorporating a
                                             of the United States as required under                  does not request formal approval but            publication by reference must be
                                             the congressional review provisions of                  must:                                           precise, complete, and clearly state that
                                             the Small Business Regulatory                              (1) Discuss, in the preamble of the          the incorporation by reference is
                                             Enforcement Fairness Act of 1986.                       proposed rule, the ways that the                intended and completed by the final
                                                                                                     materials it proposes to incorporate by         rule document in which it appears.
                                             List of Subjects in 1 CFR Part 51                       reference are reasonably available to           *      *      *    *     *
                                               Administrative practice and                           interested parties or how it worked to             (c) If the Director approves a
                                             procedure, Code of Federal Regulations,                 make those materials reasonably                 publication for incorporation by
                                             Federal Register, Incorporation by                      available to interested parties; and            reference in a final rule, the agency
                                             reference.                                                 (2) Summarize, in the preamble of the        must include—
                                                                                                     proposed rule, the material it proposes            (1) The following language under the
                                               For the reasons discussed in the                      to incorporate by reference.                    DATES caption of the preamble to the
                                             preamble, under the authority at 5                         (b) For a final rule, the agency must        final rule document (See 1 CFR 18.12
                                             U.S.C. 552(a), the Director of the Federal              request formal approval. The formal             Preamble requirements):
                                             Register amends chapter II of title 1 of                request package must:                              The incorporation by reference of
                                             the Code of Federal Regulations as set                     (1) Send a letter that contains a            certain publications listed in the
                                             forth below:                                            written request for approval at least 20        regulations is approved by the Director
                                                                                                     working days before the agency intends          of the Federal Register as of llll.
                                             PART 51—INCORPORATION BY                                to submit the final rule document for
                                             REFERENCE                                                                                                  (2) The preamble requirements set out
                                                                                                     publication;                                    in 51.5(b).
                                                                                                        (2) Discuss, in the preamble of the             (3) The term ‘‘incorporation by
                                             ■ 1. The authority citation for part 51                 final rule, the ways that the materials it      reference’’ in the list of index terms (See
                                             continues to read as follows:                           incorporates by reference are reasonably        1 CFR 18.20 Identification of subjects in
                                                Authority: 5 U.S.C. 552(a).                          available to interested parties and how         agency regulations).
                                                                                                     interested parties can obtain the
                                                                                                     materials;                                       Dated: November 3, 2014.
                                             ■ 2. Revise 51.3 to read as follows:
                                                                                                        (3) Summarize, in the preamble of the        Amy P. Bunk,
                                             § 51.3 When will the Director approve a                 final rule, the material it incorporates by     Acting Director, Office of the Federal Register.
                                             publication?                                            reference;                                      [FR Doc. 2014–26445 Filed 11–6–14; 8:45 am]
                                               (a)(1) The Director will informally                      (4) Send a copy of the final rule            BILLING CODE 1505–02–P
                                             approve the proposed incorporation by                   document that uses the proper language
                                             reference of a publication when the                     of incorporation with the written
                                             preamble of a proposed rule meets the                   request (See § 51.9); and                       OFFICE OF PERSONNEL
                                             requirements of this part (See § 51.5(a)).                 (5) Ensure that a copy of the                MANAGEMENT
                                                                                                     incorporated material is on file at the
                                               (2) If the preamble of a proposed rule
                                                                                                     Office of the Federal Register.                 5 CFR Part 843
                                             does not meet the requirements of this                     (c) Agencies may consult with the
                                             part, the Director will return the                      Office of the Federal Register at any           RIN 3206–AM99
                                             document to the agency (See 1 CFR 2.4).                 time with respect to the requirements of
                                               (b) The Director will formally approve                                                                Federal Employees’ Retirement
                                                                                                     this part.
                                             the incorporation by reference of a                                                                     System; Present Value Conversion
                                                                                                     ■ 4. In § 51.7, revise paragraph (a) to         Factors for Spouses of Deceased
                                             publication in a final rule when the                    read as follows:
                                             following requirements are met:                                                                         Separated Employees
                                               (1) The publication is eligible for                   § 51.7   What publications are eligible?        AGENCY: Office of Personnel
                                             incorporation by reference (See § 51.7).                   (a) A publication is eligible for            Management.
                                                                                                     incorporation by reference under 5              ACTION: Final rule.
                                               (2) The preamble meets the
                                                                                                     U.S.C. 552(a) if it—
                                             requirements of this part (See
                                                                                                        (1) Conforms to the policy stated in         SUMMARY: The Office of Personnel
                                             § 51.5(b)(2)).
                                                                                                     § 51.1;                                         Management (OPM) is adopting its
                                               (3) The language of incorporation                        (2)(i) Is published data, criteria,          proposed rule to revise the table of
                                             meets the requirements of this part (See                standards, specifications, techniques,          reduction factors for early commencing
                                             § 51.9).                                                illustrations, or similar material; and         dates of survivor annuities for spouses
                                               (4) The publication is on file with the                  (ii) Does not detract from the               of separated employees who die before
                                             Office of the Federal Register.                         usefulness of the Federal Register              the date on which they would be
                                               (5) The Director has received a written               publication system; and                         eligible for unreduced deferred
                                                                                                        (3) Is reasonably available to and           annuities, and to revise the annuity
                                             request from the agency to approve the
                                                                                                     usable by the class of persons affected.        factor for spouses of deceased
                                             incorporation by reference of the
                                                                                                     In determining whether a publication is         employees who die in service when
                                             publication.
                                                                                                     usable, the Director will consider—             those spouses elect to receive the basic
                                               (c) The Director will notify the agency                  (i) The completeness and ease of             employee death benefit in 36
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                                             of the approval or disapproval of an                    handling of the publication; and                installments under the Federal
                                             incorporation by reference in a final rule                 (ii) Whether it is bound, numbered,          Employees’ Retirement System (FERS)
                                             within 20 working days after the agency                 and organized, as applicable.                   Act of 1986. These rules are necessary
                                             has met all the requirements for                        *       *     *    *    *                       to ensure that the tables conform to the
                                             requesting approvals (See § 51.5).
                                                                                                     ■ 5. In 51.9, revise paragraphs (a) and (c)     economic and demographic
                                             ■ 3. Revise 51.5 to read as follows:                    to read as follows:                             assumptions adopted by the Board of


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              94TH CONGRESS} HOUSE OF REPRESENTATIVES {     REPORT
                 ed Session                             No. 94-1476




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                                   COPYRIGHT LAW REVISION


              SEPTEMBER 3, 1976.-Commltted      to the Committee ot the Whole House on the
                                State ot the Union and ordered to be printed



                     Mr. KASTENl'tIEIER, from the Committee on the Judiciary,
                                      submitted the following

                                                 REPORT
                                                  together with
                                          ADDITIONAL VIEWS
                                              [To accompany S. 22]
                 The Committee on the Judiciary, to whom was referred the bill
              (S. 22) for the general revision of the copright law, title 17 of the
              United States Code, and for other purposes, having considered the
              same, report favorably thereon with an amendment in the nature of a
              substitute and recommend that the bill as amended do pass.
                 The amendments are as follows:
                 Strike all after the enacting clause and insert in lieu thereof the
              following:
                 SEC. 101. Title 17 of the United States Code, entitled "Copyrights",
              is hereby amended in its entirety to read as follows:
                                            TITLE 17-COPYRIGHTS
              Chapter                                                                                 Sec.
              1. Subject Matter and Scope of CopyrlghL                                      -     _   101
              2. CopyrIght OwnershIp and Transfer                                                 _   201
              3. Duration of Copyrhl'hL                                                           _   301
              4. Copyright Notice. Deposit. and ReA'lstratlon                                     _   401
              II. Copyrll!'ht InfrIngement and R.medles                                           _   1101
              6. I\lanufaclurlnA' RequIrement and Importatlon                                     _   601
              7. CopyrIght Oftlce                                                                 _
              8. CopyrIght Royalty CommlssloD              .•                                     _   701
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                     Chapter I.-SUBJECT MATTER AND SCOPE OF COPYRIGHT
              Sec.
              101. DefinItIons.
              102. Subject matter of copyrIght: In general.
              108. Subject matter of copyrIght: Compilations and derIvative works.
              104. Subject matter of copyrIght: National origIn.
              1011. Subject matter of copyrIght: United States Government works..
              106. Exclusive rIghts In copyrll!'hted works.
              107. LImitations on exelustve rtents : FaIr use.
              108. LlmltatloDs on exclusIve rll!'hts : Rf>productlon by Itbrn rtes nnd archtves,
              109. LimItations on excluBlve rlA'htB: Elfect of transfer of particular copy or phonorecord.
              110. Limitations on exclusIve rlll'htR : Exemntlon of certaIn performances and dIsplays.
              111. LImitations on exctustve rlA'hts : Secondary transmIssions.
              112. Limitations on exclusive rIghts: Ephemeral recordIngs.




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             Sec.
             113. Scope of exeluslve        In ptctortal, graphic, and sculptural works.
             114. Scope of exeluslve rtghts In sound recordlngs.
             115. Scope of exeluslve rlghts In non dramatic muslcal works: Compulsory license for
                    making and dtatrlbutmg phonorecords.
             116. Scope of exeluslve           In nondramattc musleal works: Public performances by
                    means of coin-operated phonorecord players.
                                                                                                               •
            .117. Scope of exeluslve rIghts: Use In conjunction wIth computers and sImilar Information
            118.                    rights: Use of certaIn works In connection wIth noncommerelal
                   broadcasting.
            § 101. Definitions
               As used in this title, the following terms and their variant forms mean the
            following:
                    An "anonymous work" is a work on the copies or phonorecords of which                       •
                 no natural person is identified as author,
                    "Audiovisual works" are works that consist of a series of related images
                 which are intrinsically intended to be shown by the use of machines or de-
                 vices such as projectors, viewers, or electronic equipment, together with
                 accompanying sounds, if any, regardless of the nature of the material ob-
                  jects, such as films or tapes, in which the works are embodied.
                    The "best edition" of a work is the edition, published in the United States
                 at any time before the date of deposit, that the Library of Congress deter-
                 mines to be most suitable for its purposes,
                    A person's "children" are that person's immediate off-spring, whether
                 legitimate or not, and any children legally adopted by that person.
                    A "collective work" is a work, such as a periodical issue, anthology, or
                 encyclopedia, in which a number of contributions, constituting separate and
                  independent works in themselves, are assembled into a collective whole.
                    A "compilation" is a work formed by the collection and assembling of pre-
                 existing materials or of data that are selected, coordinated, or arranged in
                 such a way that the resulting work as a whole constitutes an original work
                 of authorship. The term "compilation" includes COllective works.
                    "Copies" are material objects, other than phonorecords, in which a work
                 is fixed by any method now known or later developed, and from which the
                 work can be perceived, reproduced, or otherwise communicated, either di-
                  rectly or with the aid of a machine or device. The term "copies" includes
                 the material object, other than a phonorecord, in which the work is first
                 fixed.
                    "Copyright owner", with respect to anyone of the exclusive rights com-
                 prised in a copyright, refers to the owner of that particular right.
                    A work is "created" when it is fixed in a copy or phonorecord for the first
                 time; where a work is prepared over a period of time, the portion of it that
                  has been fixed at any particular time constitutes the work as of that time,
                 and where the work has been prepared in different versions, each version
                 constitutes a separate work.
                    A "derivative work" is a work based upon one or more pre-existing works,
                 such as a translation, musical arrangement, dramatization, fictionalization,
                 condensation, or any other form in which a work may be recast, trans-
                 formed, or adapted. A work consisting of editorial revisions, annotations,
                 elaborations, or other modifications which, as a whole, represent an origi-
                  nal work of authorship, is a "derivative work".
                    A "device", "machine", or "process" is one now known or later developed,
                    To "display" a work means to show a copy of it, either directly or by
                 means of film, slide, television image, or any other device or process or, in
                 the case of a motion picture or other audlov lsual work, to show individual
                 images nonsequentially,
                    A work is "fixed" in a tangible medium of expression when its embodi-
                 ment in a copy or phonorecord, by or under the authority of the author, is
                 sufficiently permanent or stable to permit it to be perceived, reproduced, or
                 otherwise communicated for a pertod of more than transitory duration. A
                 work consisting of sounds. images, or both, that are being transmitted, is
                 "fixed" tor purposes of this title it 'Ii fixation of the work Is being made simul-
                 taneously with its transmission,
                    The terms "including" and "such as" are illustrative and not limitative.
                    A "joint work" is a work prepared by two or more authors with the In-
                 tention that their contributions be merged Into inseparable or interdependent
                 parts of a unitary whole.




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            of the U.S. Code, to operate a clearinghouse for the collection and
            dissemination of scientific, technical and engineering information.
            Under its statute, NTIS is required to be as self-sustainmg as posisble,
            and not to force the general public to bear publishing costs that are for
            private benefit. The Department urged an amendment to section 105
            that would allow it to secure copyright in             publications both in
            the United States and abroad, noting that a precedent exists in the
            Standard Reference Data Act (15 USC § 290 (e) ).
               In response to this request the Committee adopted a limited excep-
            tion to the general prohibition in section 105, permitting the Secretary
            of Commerce to "secure copyright for a limited term not to exceed
            five years, on behalf of the United States as author or copyright owner"
            in any NTIS publication disseminated pursuant to 15 U.S.C. Chapter
            23. In order to "secure copyright" in a work under this amendment the
            Secretary would be required to publish the work with a copyright
            notice, and the five-year term would begin upon the date of first
            publication.
            Proposed saving clause
               Section 8 of the statute now in effect includes a saving clause intended
            to make clear that the copyright protection of a private work is not
            affected if the work is published by the Government. This provision
            serves a real purpose in the present law because of the ambiguity of
            the undefined term "any publication of the United States Government."
            Section 105 of the bill, however, uses the operative term "work of the
            United States Government" and defines it in such a way that privately
            written works are clearly excluded from the prohibition; accordingly,
            a saving clause becomes superfluous.
               Retention of a saving clause has been urged on the ground that the
            present statutory provision is frequently cited, and that having the
             provision expressly stated in the law would avoid questions and ex-
            planations. The committee here observes: (1) there is nothing in section
            105 that would relieve the Government of its obligation to secure
            permission in order to publish a copyrighted work; and (2) publica-
            tion or other use by the Government of a private work would not affect
            its copyright protection in any way. The question of use of copyrighted
             material in documents published by the Congress and its Committees
            is discussed below in connection with section 107.
             Works of the Tlnited States Postal Service
               The intent of section 105 is to restrict the prohibition against Gov-
            ernment copyright to works written by ernployeesof the United States
             Government within the scope of their official .duties. In accordance
            with the objectives of the Postal Reorganization Act of 1970, this
             section does not apply to works created by employees of the United
             States Postal Service. In addition to enforcing the criminal statutes
             proscribing the forgHy or counterfeiting of postage stamps, the
             Postal Service could, if it chooses, use the copyright law to prevent
             the reproduction of postage stamp designs for private or commercial
             non-postal services (for example. in philatelic publications and cata-
             logs, in general advertising, in art reproductions, in textile designs,
             and so forth). However, any copyright claimed by the Postal Service
             in its works, including postage stamp designs, would be subject to the
             same conditions, formalities, and time limits as other copyrightable
             works.




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                                                                                     113TH CONGRESS                                                                                          REPT. 113–152
                                                                                                    " HOUSE OF REPRESENTATIVES                                                           !
                                                                                        1st Session                                                                                             Part 1




                                                                                     AMENDING TITLE 49, UNITED STATES CODE, TO MODIFY REQUIREMENTS
                                                                                      RELATING TO THE AVAILABILITY OF PIPELINE SAFETY REGULATORY
                                                                                      DOCUMENTS, AND FOR OTHER PURPOSES



                                                                                         JULY 16, 2013.—Committed to the Committee of the Whole House on the State of
                                                                                                            the Union and ordered to be printed




                                                                                              Mr. SHUSTER, from the Committee on Transportation and
                                                                                                      Infrastructure, submitted the following


                                                                                                                                      R E P O R T
                                                                                                                                   [To accompany H.R. 2576]

                                                                                                        [Including cost estimate of the Congressional Budget Office]

                                                                                       The Committee on Transportation and Infrastructure, to whom
                                                                                     was referred the bill (H.R. 2576) to amend title 49, United States
                                                                                     Code, to modify requirements relating to the availability of pipeline
                                                                                     safety regulatory documents, and for other purposes, having consid-
                                                                                     ered the same, report favorably thereon without amendment and
                                                                                     recommend that the bill do pass.
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                                                                                           29–006




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                                                                                                                     PURPOSE OF LEGISLATION
                                                                                       H.R. 2576 amends title 49, United States Code, to modify re-
                                                                                     quirements relating to the availability of pipeline safety regulatory
                                                                                     documents. The bill corrects an unintended consequence of the
                                                                                     Pipeline Safety, Regulatory Certainty, and Job Creation Act of
                                                                                     2011.
                                                                                                         BACKGROUND AND NEED FOR LEGISLATION
                                                                                        For many years, government agencies have used standards and
                                                                                     other materials published by standards development organizations
                                                                                     (SDOs) as one means of satisfying regulatory objectives. In 1982,
                                                                                     the Office of Management and Budget (OMB) promulgated OMB
                                                                                     Circular A–119, which required federal agencies to use privately
                                                                                     developed voluntary consensus standards in lieu of government-
                                                                                     unique standards in their procurement and regulatory activities,
                                                                                     except where inconsistent with law or otherwise impractical. The
                                                                                     use of such standards, whenever practicable and appropriate, was
                                                                                     intended to achieve the following goals: (1) eliminate the cost to the
                                                                                     government of developing its own standards and decrease the cost
                                                                                     of goods procured and the burden of complying with agency regula-
                                                                                     tion; (2) provide incentives and opportunities to establish standards
                                                                                     that serve national needs; (3) encourage long-term growth for U.S.
                                                                                     enterprises and promote efficiency and economic competition
                                                                                     through harmonization of standards; and (4) further the policy of
                                                                                     reliance upon the private sector to supply government needs for
                                                                                     goods and services.
                                                                                        In 1996, Congress passed the National Technology Transfer and
                                                                                     Advancement Act, codifying the requirements contained in the
                                                                                     OMB Circular into law. Therefore, by law, federal agencies are re-
                                                                                     quired to use such voluntary consensus standards, instead of ex-
                                                                                     pending resources to create their own, unless use of such standards
                                                                                     would be inconsistent with applicable law or otherwise impractical.
                                                                                     Oftentimes, instead of reprinting the standards into the federal
                                                                                     regulations, agencies simply reference the voluntary consensus
                                                                                     standards by name, a practice more commonly known as ‘‘incorpo-
                                                                                     ration by reference.’’ SDOs maintain that the practice of incorpora-
                                                                                     tion by reference has a number of benefits, including dramatically
                                                                                     reducing costs to the government of developing its own standards,
                                                                                     preventing duplicative and conflicting government-imposed stand-
                                                                                     ards, and allowing agencies to use standards that are already rec-
                                                                                     ognized and accepted in the United States and around the world,
                                                                                     which result in a public-private partnership that enhances public
                                                                                     safety and health while saving government agencies and taxpayers
                                                                                     money. Many safety advocates, universities, researchers, and state
                                                                                     and local communities, however, have raised concerns about the
                                                                                     lack of transparency and openness in reviewing the voluntary con-
                                                                                     sensus standards, particularly when incorporated into federal safe-
                                                                                     ty regulations.
                                                                                        In 2011, the bipartisan Pipeline Safety, Regulatory Certainty,
                                                                                     and Job Creation Act of 2011 (Pipeline Safety Act) became law. In
                                                                                     an effort to ensure public access to pipeline standards, section 24
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                                                                                     of the Pipeline Safety Act included a provision, codified at section
                                                                                     60102(p) of title 49, United States Code, that requires the Pipeline
                                                                                     and Hazardous Materials Safety Administration (PHMSA) to make




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                                                                                     any document, or portion thereof, incorporated by reference into
                                                                                     PHMSA regulations or guidance publicly available, free of charge,
                                                                                     on an internet website. Acting in good faith, the intent was to en-
                                                                                     sure transparency and openness in government regulation, but an
                                                                                     unintended consequence arose with regard to some SDOs whose
                                                                                     business model could be jeopardized by allowing internet access to
                                                                                     its standards. H.R. 2576 will ensure that the provisions of the Pipe-
                                                                                     line Safety Act support broader public availability of voluntary con-
                                                                                     sensus standards and related information to the general public for
                                                                                     non-commercial purposes—consistent with existing law and regula-
                                                                                     tions—while also maintaining the invaluable public-private part-
                                                                                     nership between the private sector and government agencies. H.R.
                                                                                     2576 provides PHMSA with the flexibility necessary to continue to
                                                                                     work with SDOs to improve regulatory outcomes and ensure that
                                                                                     materials incorporated by reference are made available to the pub-
                                                                                     lic.
                                                                                                                                HEARINGS
                                                                                         No hearings were held on H.R. 2576.
                                                                                                         LEGISLATIVE HISTORY AND CONSIDERATION
                                                                                       On June 28, 2013, Representatives Bill Shuster, Jeff Denham,
                                                                                     Nick Rahall, and Corrine Brown introduced H.R. 2576 to ensure
                                                                                     the protection of intellectual property and copyrights of standard
                                                                                     development organizations while providing public access to docu-
                                                                                     ments incorporated by reference into pipeline safety regulations.
                                                                                     On July 10, 2013, the Committee on Transportation and Infrastruc-
                                                                                     ture met in open session and ordered the bill reported favorably to
                                                                                     the House by voice vote.
                                                                                                                         COMMITTEE VOTES
                                                                                        Clause 3(b) of rule XIII of the Rules of the House of Representa-
                                                                                     tives requires each committee report to include the total number of
                                                                                     votes cast for and against on each record vote on a motion to report
                                                                                     and on any amendment offered to the measure or matter, and the
                                                                                     names of those members voting for and against. There were no
                                                                                     record votes taken in connection with consideration of H.R. 2576.
                                                                                                                 COMMITTEE OVERSIGHT FINDINGS
                                                                                       With respect to the requirements of clause 3(c)(1) of rule XIII of
                                                                                     the Rules of the House of Representatives, the Committee’s over-
                                                                                     sight findings and recommendations are reflected in this report.
                                                                                                      NEW BUDGET AUTHORITY AND TAX EXPENDITURES
                                                                                        Clause 3(c)(2) of rule XIII of the Rules of the House of Represent-
                                                                                     atives does not apply where a cost estimate and comparison pre-
                                                                                     pared by the Director of the Congressional Budget Office under sec-
                                                                                     tion 402 of the Congressional Budget Act of 1974 has been timely
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                                                                                     submitted prior to the filing of the report and is included in the re-
                                                                                     port. Such a cost estimate is included in this report.




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